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                                            CASE No. 25-2028



                      In THE UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT


                                  ASHLEY M. GJQVIK, an z'ndz'vz'duaZ,
                                              P!az'nt   AppeZZant

                                                        v.
                                        APPLE INC ., 0 corporation,
                                             Defendant-Appellee.


                               On Appeal from the United States District Court
                                     for the Northern District of California
                                              No. 3:23-CV-04597
                                    The Honorable ]udge Edward M. Chen



                               APPELLANT'S EXCERPTS oF RECQRD
                                   VQLUME III | OBJECTIONS


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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFQRNIA




               ASHLEY M. GJOVIK, an individual,   Case No. 3:23-CV-04597-EMC


                    Plaintiff,                    Discovery Judge:
                                                  The Honorable judge Westmore
                  vs.
                                                  PLA1NTIFF'S OBJECTIONS
                                                  TO DEFENDANT'S FILING AT
               APPLE INC. a corporation,
                                 7                DKT. 178 RE: DISCOVERY
                                                  DISPUTES
                    Defendant.




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        1
        2                                       OB _LECTIONS
        3            1.     Plaintiff, Ashley Gjovik, respectfully submits the following
        4    Objections to Defendant's filing at Dkt. No. 178. Defendant Apple Inc. has
        5    repeatedly misrepresented its position regarding meet-and-confer efforts,
        6    discovery obligations, and judicial oversight. Apple has:
        7        • Refused to meet and confer in good faith while falsely claiming it has always
        8            been willing.
        9        • Failed to engage in required discovery discussions while simultaneously
        10           accusing Plaintiff of delay.
        11       • Contradicted       its own statements regarding discovery deadlines ;
        12           misrepresenting court deadlines to hold Plaintiff accountable for deadlines
        13
                     the Plaintiff never received; claimed discovery obligations still exist despite
                     a stay, while refusing to engage in discussions about those obligations.
        14
                 • Attempted to obstruct judicial oversight to avoid accountability, and while
        15
                     refusing to cooperate.
        16
                 .   Set arbitrary conditions on meet-and-confers to limit transparency and to
        17
                     obstruct progress. Set financial barriers to transcription.
        18
                 • Failed to provide privilege logs and discovery responses, while demanding
        19
                     compliance from Plaintiff; refused to create a discovery plan, in violation
        20           of the court's repeated directives.
        21       .   Misrepresented facts to the court regarding discovery disputes.
        22
        23       1. APPLE FALSELY CLAIMS IT WAS ALWAYS
                     WILLING TO MEET AND CONFER
        24
        25           2.     In Apple's objections, Apple asserts that it has "always been willing"
        26 to meet and confer with Plaintiff. However, Apple's own email communications
        27 refute this claim. Whenever Plaintiff repeatedly reached out for structured
        28 discussions       Apple either ignored her, delayed responses, or outright refused.
                                                       _ 1_
                            PLA1NT1F1='S OB]ECT1ONS | CASE No. 3:23-CV-04597-EMC
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        1       Date                Apple's Written Statement
        2      Sept. 72023          Civil lawsuit filed
        3      ]uly 7, 2024         "We remain willing to meet and confer with you in real-time on
                                    Monday, July 8 as scheduled regarding issues in the N.D. Cal.
        4
                                    matter, hut do not agree to your recording that conversation nor
        5
                                    to your inviting an individual unaffiliated with the ease to
        6                           attend."
        7      ]uly 10, 2024        "We do not see the necessity for a meeting at this stage and
        8                           prefer to proceed with written eommunieations."
        9       August 3, 2024      "We will get hale to you regarding a meeting after reviewing
        10                          internal matters."

        11      August 13,          "We thine it is unlileely that the magistrate judge will
                2024                proactively reach out to the parties, hut instead will get involved
        12
                                    at the parties' request."
        13
                September 10,       "As discovery has not officially begun, we find your requests
        14      2024                premature."
        15      September 25,       "We will seele Magistrate Judge Westmore's assistance at the
        16      2024                appropriate time. "
        17      September 25,       "We do not believe those topics are ripe for discussion, as
        18      2024                discovery has been stayed."
                September 25,       "We will not he drafting joint statement to Judge Westmore at
        19
                2024                this time."
        20
                October 7,          "We do not consent to involving the court at this juncture."
        21      2024
        22     Feb.7,2025           "Once Judge Chen rules on the motion to dismiss und modiwes
        23                          the Ootoher 1 Order, we ure dlso hoppy to confer with 3iou on d
        24                          discovery plan."

        25     Feb. 27 2025         "Apple hds dlzvdys been did rem dins willing to [meet did
                                    confer]. Pldin tiff 's Motion for Reoonsiderdtion therefore should
        26
                                    he denied."
        27
        28
                                                        _ 2_
                             PLA1NT1F1='S OB]ECT1ONS | CASE No. 3:23-CV-04597-EMC
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        1              3.   Apple claims it has always been willing to meet and confer, but they
        2    also expressly refuse to meet. FRCP requires meaningful meet-and-confer
        3    discussions, not just unilateral written statements. Apple asserts that Plaintiff did
        4    not attempt to meet and confer before filing her motion. However, Plaintiff
        5    repeatedly sought Apple's participation. Plaintiff's emails show repeated requests
        6    for meet-and-confer discussions, which Apple ignored. The plaintiff explicitly
        7    asked for Apple's par ticipation before escalating the matter to the court. Apple
        8  cannot claim the Plaintiff failed to meet and confer when they were the ones
        9 stalling the process.
        10       4.     Apple refuses to discuss key discovery issues by claiming they are not
        11 'ripe, even though discovery obligations continue. They refuse to participate
                   J



        12 while simultaneously demanding Plaintiff produce documents. This is
        13   Schrodinger's Discovery-it both exists and doesn't, depending on what benefits
        14 Apple.
        15      5.          Apple asserts that court supervision is unnecessary, yet its repeated
        16 obstruction tactics necessitate judicial intervention. Apple misrepresents the role
        17 of the magistrate judge, implying that oversight is optional and controlled by
        18   Apple. Apple threatens to involve ]udge Westmore "at the appropriate time" but
        19 delays when Plaintiff requests oversight. Apple refuses to draft a joint discovery
        20 statement, even though court rules and ]udge Westmore expects par ties to work
        21 together before presenting disputes. Apple's refusal blocks a fair process, as joint
        22 statements allow the court to efficiently address issues.
        23             6.   Apple suggests that oversight from ]udge Westmore is entirely
        24 discretionary, implying that the court will only intervene if Apple allows it. The
        25 court has an independent role in managing discovery disputes, and Apple's
        26 attempt to downplay that role is improper. Apple later claims that Plaintiff does
             not need court intervention-even though Apple previously acknowledged it
        3;   would be necessary.

                                                      _ 3_
                            PLA1NT1F1='S OB]ECT1ONS | CASE No. 3:23-CV-04597-EMC
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        1            7.     Apple threatens to involve the judge selectively, only when it benefits
        2    them. Meanwhile, they oppose judicial supervision when Plaintiff requests it.
        3    Defendants do not control when judicial intervention is warranted. Apple opposes
        4    court oversight while refusing to meet and confer, effectively blocking any
        5    meaningful progress. Emails prove that Apple has engaged in obstruction and bad-
        6    faith litigation tactics. Apple only objects to court supervision because they do
        7    not want accountability. Given Apple's extensive resources and history of
        8    procedural gamesmanship, judicial oversight is essential.
        9

        10 Legal Precedent:
        11   • Haeger v. Goodyear Tire 8 Rubber Co., 813 F.3d 1233 (9th Cir. 2016) - The
                     Ninth Circuit upheld sanctions where a party engaged in bad faith by
        12        refusing to cooperate in discovery - including contradictory and obstructive
        13        litigation conduct.
                • Transameriea Life Ins. Co. v. Aruzj/un)/an, 2024 WL 1238402 (9th Cir. 2024)
        14           - Court sanctioned par ties for failing to comply with meet-and-confer
        15           obligations before filing discovery motions.
        16           Northern District of California Local Rule 37-1(a) - Requires parties to meet
                     and confer in good faith before discovery disputes are raised with the court.
        17      .    Northern District of California Local Rule 37-3 - Recognizes judicial
        18           intervention when one party refuses to participate in discovery oversight.
        19       •   FRCP 11(b)(3) -- False or Misleading Statements to the Court
                 •   FRCP 16(f) - Failure to Participate in Pretrial Conferences in Good Faith
        20       •   FRCP 16(f) -- Sanctions for Discovery Abuse
        21       •   FRCP 16(f) -- Court's Authority to Supervise Discovery
        22       •   FRCP 16(f) --Sanctions for Failing to Participate in Required Case
                     Management Procedures
        23       •   FRCP 26(f) -- Meet and Confer Obligation
        24       •   FRCP 26(f) -- Fair Meet and Confer Practices
                 •   FRCP 26(f) -- Misleading Statements About Discovery Procedures
        25
                 •   FRCP 26(f) - Confusing and Misleading Discovery Communications
        26      .    FRCP 26(f) - Failure to create a discovery plan in good faith.
        27       •   FRCP 16(f) -- Misrepresenting the Role of the Magistrate ]udge in Case
                     Management
        28
                                                       _ 4_
                            PLA1NT1F1='S OB]ECT1ONS | CASE No. 3:23-CV-04597-EMC
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        1       .    FRCP 26(g)(1) - Duty to Engage in Discovery in Good Faith
                 •   FRCP 37(a)(3)(B) -- Failure to Par ticipate in Discovery in Good Faith
        2
                 •   FRCP 37(a)(4) - Sanctions for failing to cooperate in discovery.
        3        •   FRCP 37(a)(4) -- Sanctions for Discovery Gamesmanship
        4        •   FRCP 37(b)(2) -- Sanctions for Failing to Comply with Discovery Orders
        5
        6       11. CONCLUSION
        7
        8            8.  Apple's documented refusals to meet and confer, contradictory
        9    statements, and obstructionist behavior violate the FRCP and legal precedent.
        10 Plaintiff respectfully requests that the Court:
                     Grant Plaintiff's motion for reconsideration.
        11
                     Order Apple to engage in discovery in good faith under judicial
        12
                     supervision.
        13
        14
             Dated: Feb. 28 2025
        15
        16
        17
        18
                                       \
        19
        20
             /s/ Ashley M. Gjovik
        21   Pro Se PZaim'iff
        22
        23
        24 Email: legal@ashleygjovik.com
        25 Physical Address:
        26 Boston, Massachusetts
           Mailing Address:
        27 2108 N St. Ste. 4553 Sacramento, CA, 95816
        28 Phone: (408) 883-4428
                                                    _5_
                            PLA1NT1F1='S OB]ECT1ONS | CASE No. 3:23-CV-04597-EMC
                                                                                    ERVIII 8
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFQRNIA




             ASHLEY M. GJOVIK, an individual,               Case No. 3:23-CV-04597-EMC


                  Plaintiff,                                PLAINTIFF'S NOTICE OF
                                                            INTENTION TO FILE A
                vs.                                         MOTION TO STRIKE &
                                                            OBJECTIONS RE: DKT 176


             APPLE INC. a corporation,
                               7




                  Defendant.




                                                     _ 1_
                               PLA1NT11=F'S NOTICE | CASE No. 3:23-CV-04597-EMC
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                  1.     Plaintiff, Ashley Gjovik, respectfully submits the following Notice of
            her intent to file a Motion to Strike the fourth non-party Declaration filed to this
           case, added to Dkt No. 176 today at 9:53 AM today.
                  2.     The Declaration at Dkt. No. 176 makes numerous demonstrably false
           statements that are material and highly prejudicial to the Plaintiff, and that can
            rebutted by on-hand evidence, which will be included in the Plaintiff's
            Declaration supporting the Motion to Strike.
                  3.     Because a decision on Defendant's Motion to Dismiss is pending, and
            the Declaration was in support of Defendant's Motion to Dismiss (assumably the
            IIED - Outrageous Conduct claim), the Plaintiff respectfully asks the court to
           please wait to issue the Decision (ifit is to consider the content in this latest non-
           party Declaration), until the Plaintiff can file the Motion to Strike. The Plaintiff
           intends to file the Motion to Strike and supporting Declaration by end of day
           Sunday March 2nd 2025, if not sooner.


           Dated: Feb. 27 2025




                                  I-
                                       N

            /s/ Ashley M. Gjovik
            Pro Se Plaintiff

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            Physical Address:
            Boston, Massachusetts
            Mailing Address:
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            Phone: (408) 883-4428

                                                     _ 2_
                               PLA1NT11=F'S NOTICE | CASE No. 3:23-CV-04597-EMC
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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFQRNIA




               ASHLEY M. GJOVIK, an individual,          CAND No. 3:23-CV-04597-EMC
                                                         9th Cir No.: 24-6058
                   Plaintiff,
                                                         DISCOVERY DISPUTE
                  vs.
                                                         PLA1NTIFF'S MOTION FOR
                                                         RECONSIDERATION
               APPLE INC. a corporation,
                                7


                                                         Fed. R. Civ. P. 26, 37
                    Defendant.                           Civ. L.R. 26, 37
                                                         Prof. Conduct. Sect. 9




                                                 _ 1 _
                PLA1NT11=F'S MOTION FOR RECONS 1DERAT1ON | CASE No. 3:23-CV-04597-EMC
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                                 MOTION FOR RECONSIDERATION
                   1.     Plaintiff, Ashley Gjovik, respectfully submits the following Motion
             for Reconsideration to ]udge Westmore pertaining to the Order at Docket No. 170.
                   2.     This litigation has been ongoing since ]uly 2021. Plaintiff has
             repeatedly tried to meet and confer with the Defendant, including the counsel on
             this civil lawsuit, but every time the Plaintiff tried, the Defendant would not
             engage in good faith. There are hundreds of pages of transcripts and email records
             the Plaintiff can provide the court to prove this is true, if the court will allow it.
                   3.     Further, last year, the Defendant (via these counsel) made unlawful
             threats and coercive statements to the Plaintiff during a meet and confer (captured
             in multiple NLRB charges against the Defendant, see Exhibit B), and then also
             attempted to misrepresent the meet and confer conversations as some sort of
             misconduct by the Plaintiff (also captured in NLRB charges, see Exhibit C),
             followed by illegal demands to the Plaintiff for the Plaintiff to delete evidence of
             the meet and confer meeting that proved the allegations against the Plaintiff were
             false and made with malice (as reported to the FBI and NLRB, see Exhibit D).
                   4.     On]uly 16 2024, in response to complaints made by the Plaintiff about
             these issues, The Honorable ]udge Chen addressed these open disputes and the
             Plaintiff's concerns, by ordering the following:
                   THE COURT: I'm going to allow the magistrate judge to determine
                   what is the best process for you all to meet-and-confer, whether
                   you meet and confer in a physical place, maybe with a magistrate
                   judge, or, you know, you can talk to the magistrate judge about the
                   disputes you've had and whether it makes any sense or not, at this
                   point, until fur then developments.
             See, Exhibit A.
                   5.     The document filed by Defendant at Docket No. 168 (a document not
             authorized by the Standing Order at all) made multiple demonstrably false
             statements and asset rations against the Plaintiff, which appear to have prejudiced
             the court against the Plaintiff, without an opportunity for the Plaintiff to defend

                                                      _ 2 _
                PLA1NT11=F'S MOTION FOR RECONS 1DERAT1ON | CASE No. 3:23-CV-04597-EMC
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                   Case 3=£?€£&§9%85/0%8838e9¥WW' 8%8'39'6é?s of gggge 3 of 3




             herself or to be heard.
                   6.    The Plaintiff respectfully please requests reconsideration of her
             request for a ]udge-supervised meet and confer telephone conference, as
             prescribed by the Honorable ]udge Chen last year, due to the open and ongoing
             discovery disputes between the par ties.
                   7.     Plaintiff attempted to comply with ]udge Westmore's Standing Order
             in every other way she could, including paying $75.00 in order to have physical
             copies other letters delivered to the Courthouse as Chambers Copies. See, Exhibit
             E. Thank you for reconsidering this matter.


             Dated Feb. 20 2025


             Respectfully:




                                Da-
                                       \

             /s/ Ashley M. Gjovik
             Pro Se Plaintiff



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             Mailing Address:
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                                                    _ 3_
                PLA1NT11=F'S MOTION FOR RECONS 1DERAT1ON | CASE No. 3:23-CV-04597-EMC
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFQRNIA




             ASHLEY M. GJOVIK, an individual,           CAND No. 3:23-CV-04597-EMC
                                                        9th Cir No.: 24-6058
                  Plaintiff,
                                                        DISCOVERY DISPUTE
                vs.
                                                        PLA1NTIFF'S DECLARATION &
                                                        REQUEST FOR TELEPHONIC
             APPLE INC. a corporation,
                               7
                                                        CONFERENCE


                  Defendant.                            Fed. R. Civ. P. 26, 37
                                                        Civ. L.R. 26, 37
                                                        Prof. Conduct. Sect. 9




                                                                                 ERVIII 16
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                   Case 328489-b3\§9%9ln85/0?l88391e9l"Fé3W' 8%32988 of gggge 2 of 7




       1                             DISCOVERY DISPUTE #1
       2
       3       REQUEST FUR COURT-SUPERVISED DISCGVERY
       4                     CONFERENCE
       5
               1. INTRODUCTION
       6
       7          l.    Pursuant to Federal Rules of Civil Procedure 26 and 37, and in
       8    accordance with the Northern District of California's Local Rules and Magistrate
       9    ]udge Westmore's Standing Order, Plaintiff Ashley Gjovik respectfully moves this
       10 Court to schedule a telephonic conference to resolve ongoing discovery disputes.
       11 Defendant Apple Inc. has engaged in a pattern of obstructive discovery tactics,
       12 including refusals to meet and confer in good faith, failure to produce relevant
       13 documents, and improper privilege assertions.
       14         2.    Apple has systematically refused to comply with discovery obligations
       15 while simultaneously making overbroad demands of Plaintiff. These tactics are
       16 designed not only to obstruct the fact-finding process but also to disadvantage
       17 Plaintiff by forcing her to respond to excessive and invasive discovery requests
       18 while Apple withholds essential information.
       19       3.    A discovery conference with ]udge Westmore is necessary to break
       20 this impasse and enforce Apple's compliance with the Federal Rules of Civil
       21 Procedure. Plaintiff also requests guidance from ]udge Westmore on how, if, and
       22 when she would like exhibits filed - as Plaintiff did not file exhibits today as she
       23 does not have permission from the court yet to modify the meet and confer
            requirements.
       24
       25     II. APPLE'S REFUSAL TO BRING DISPUTES TO JUDGE
                   WESTMORE
       26
       27
       28
                                                   _ 1_
                            REQUEST FOR CONE. | CASE No. 3:23-CV-04597-EMC
                                                                                  ERVIII 17
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       1          4.     Plaintiff has made numerous requests that Defendant Apple Inc. bring
       2    unresolved discovery disputes before ]udge Westmore for resolution. Apple has
       3    consistently refused, instead choosing to escalate its obstructionist tactics.
       4           - Apple has refused to meet and confer in good faith, despite Plaintiff's
       5               repeated written requests.
       6           - Apple has refused to acknowledge its discovery obligations while
       7              simultaneously demanding full General Order 71 production from
       8               Plaintiff.
       9           - Apple has used discovery conferences as a pretext to falsely accuse
       10              Plaintiff of misconduct while refusing to substantively discuss disputes.
       11          - Apple has refused to specify what documents it required before the
       12             settlement conference, only to later accuse Plaintiff of withholding
       13              discovery materials after the conference had ended.
       14         5.     This deliberate refusal to engage in a good-faith resolution process
       15   has severely delayed discovery and obstructed Plaintiff's ability to litigate this
       16 case effectively.
       17    111. CONTRADICTORY STATEMENTS ABOUT DISCOVERY
       18           SCOPE & COMPLIANCE

       19         6.     Apple has taken inconsistent and contradictory positions regarding
       20 discovery, demonstrating bad faith and warranting judicial intervention.
       21 Furthermore, Plaintiff has filed a Motion to Disqualify Defendant's legal counsel,
       22 arguing that Apple's law firm is a fact witness in this case. This includes being a
       23 direct fact witness to decisions and acts of harassment and retaliation. Apple's
       24 broad privilege assertions suggest an attempt to shield fact-based evidence that
       25 should not be privileged, fur then justifying court intervention.
       26
                 A. Contradictions on Discovery Start Date
       27
       28
                                                    _ 2_
                             REQUEST FOR CONE. | CASE No. 3:23-CV-04597-EMC
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       1          7.     Apple initially claimed that discovery had not yet started and
       2    requested a stay. Apple then demanded full General Order 71 production from
       3    Plaintiff while maintaining that discovery had not begun. Apple now asserts that
       4    Plaintiff must comply with discovery requests issued before the settlement
       5    conference, despite Apple refusing to produce its own discovery, not needing the
       6    documents for the conference, and the settlement conference completing.
       7           B.   False Accusations Regarding Settlement Conference Discovery
       8
       9          8.     Apple insisted that Plaintiff produce documents for the settlement
       10   conference but refused to specify what was required. After the conference, Apple
       11   accused Plaintiff of failing to comply with discovery, despite its own failure to
       12   identify relevant materials in advance. Apple misrepresented its request for the
       13   settlement conference, falsely stating to the judge that Plaintiff had demanded it
       14   solely to harass Apple.

       15          C. Overbroad and Abusive Discovery Demands

       16         9.     Apple has sought years of Plaintiff's medical records, personal
       17   diaries, and confidential documents, while refusing to provide basic employment
       18   records. Apple has invoked privilege improperly to withhold factual information
       19   related to Plaintiff's termination. Apple has claimed that all of its internal
       20   documents are privileged, even where no attorney was involved. These tactics are
       21   clear evidence of bad faith and warrant the Court's intervention.
       22
             IV. REQUESTED RELIEF
       23
       24         10.    Plaintiff respectfully requests the following relief:
       25               A our t-supervised telephonic discovery conference to address and

       26               resolve ongoing disputes.
       27               An order compelling Apple to comply with its discovery obligations,
       28
                        including full Rule 26(a)(1) disclosures.
                                                     _ 3_
                            REQUEST FOR CONE. | CASE No. 3:23-CV-04597-EMC
                                                                                  ERVIII 19
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       1                Possibly consider sanctions under Rule 37 for Apple's bad-faith
       2                litigation conduct.
       3                A clear ruling on privilege assertions and redactions, including a
       4                requirement that Apple produce a detailed privilege log.
       5          II.    An order requiring Apple to negotiate a reasonable discovery plan in
       6    good faith, in compliance with Rule 26(f).
       7
               v . CONCLUSION
       8
       9          12.  Apple's continued refusal to engage in discovery in good faith, its
       10 contradictory positions, and its obstructive conduct necessitate court
       11 intervention. Plaintiff has made good-faith efforts to resolve these disputes, while
       12 Apple has used every opportunity to delay and manipulate the process. A
       13 telephonic conference with ]udge Westmore is necessary to ensure compliance
       14 with the Federal Rules and facilitate a fair discovery process.
       15       13. Plaintiff lives in Boston, MA and will need to attend via telephone or
       16 video chat, please. (See Exhibit A). Plaintiff does not have any conflicts she cannot
       17 move over the next month and can make herself available for a conference when is
       18 convenient for the court. It is unclear what Apple's schedule is because they will
       19 not communicate in a productive way.

       20
          I declare under penalty of perjury under the laws of the United States that the
       21 foregoing is true and correct and that this declaration was executed on Feb. 11
       22 2025 in Boston, Massachusetts.
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                            REQUEST FOR CONE. | CASE No. 3:23-CV-04597-EMC
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       1    Dated: Feb. 11 2025
       2
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                               Da-
                                       \
       5
       6
       7    /s/ Ashley M. Gjovik
       8    Pro Se Plaintiff
       9
       10
            Email: legal@ashleyg1ovik.com
       11
            Physical Address: Boston, Massachusetts
       12
            Mailing Address: 2108 N St. Ste. 4553 Sacramento, CA, 95816
       13
            Phone: (408) 883-4428
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             Ashley M. Gjovik, _ID
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             legal@ashleygjovik.com



                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFQRNIA




             ASHLEY M. GJOVIK, an individual,               CAND No. 3:23-CV-04597-EMC
                                                            9th Cir No.: 24-6058
                  Plaintiff,
                                                            DISCOVERY DISPUTE
                vs.                                         PLA1NTIFF'S LETTER 1/3


                                                            REQUESTS FOR PRODUCTION
             APPLE INC. a corporation,
                               7


                                                            Fed. R. Civ. P. 26, 37
                  Defendant.                                Civ. L.R. 26, 37
                                                            Prof. Conduct. Sect. 9




             Meet and Confer Requirement: Defendant repeatedly refused to meet/confer
             in good faith & also refused to agree to file a joint letter. Please see concurrently
             filed Request for a Telephonic Conference (or for the court of fashion an
             alternative procedure).




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       1                   DISCOVERY DISPUTE #1 - PRODUCTION
       2          l. Plaintiff Ashley Gjovik respectfully submits this letter requesting
       3    judicial intervention regarding Defendant Apple Inc.'s refusal to comply with its
       4    discovery obligations. Apple has engaged in a pattern of stonewalling, obstruction,
       5    and contradictory assertions-claiming at times that discovery is both completed
       6    and nonexistent, while simultaneously demanding sweeping discovery from
       7    Plaintiff. Given Apple's refusal to engage in good-faith discussions and its
       8    continued obstruction of discovery, Plaintiff respectfully requests that the Court
       9    compel Apple to comply with its obligations under the Federal Rules of Civil
       10   Procedure and applicable local rules.
       11         2.      Since the referral of discovery disputes to this Court (Dkt. No. 83 at
       12 1), Apple has refused to meet and confer in good faith. Plaintiff requested a joint
       13 letter as required by this Court's Standing Order, yet Apple declined,
       14 necessitating this unilateral submission alongside a Request for 61 Telephonies
       15   Conference to enforce compliance with meet-and-confer requirements.

       16       I. STATEMENTS OF FACTS
       17
       18         3.     Plaintiff Ashley Gjovik submits this filing in ongoing litigation
            against Defendant Apple Inc., arising from claims of whistleblower retaliation,
       19   toxic torts, intentional infliction of emotional distress, and unfair business
       20   practices. After raising concerns about toxic chemical exposure, labor violations,
       21   and corporate misconduct, Plaintiff faced a series of severe retaliatory actions,
       22   including termination, denylisting, surveillance, and reputational harm.
       23          4.    Since the filing of this lawsuit, Defendant has yet to file an answer in
       24   this case-despite 17 months of civil litigation-and has instead engaged in
       25 extensive motion practice, including five successive motions to dismiss under Rule
       26 12(b)(6), while simultaneously resisting discovery obligations. This case is also
       27 inter twined with parallel proceedings, including an adjudication before the U.S.
       28
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       1    Department of Labor's Office of Administrative Law ]udges and a pending appeal
       2    before the Ninth Circuit. Additionally, federal agencies such as the NLRB and
       3    EPA have substantiated core allegations in this matter, underscoring the necessity
       4    of comprehensive discovery.1
       5          5.      Since ]uly 2021, Plaintiff has voluntarily provided Defendant with
       6    hundreds of documents supporting her claims and has continuously supplied
       7    updates and detailed outlines to ensure efficiency in the litigation process. In an
       8    effort to keep the case moving forward despite Defendant's resistance, Plaintiff
       9    independently sought and obtained relevant records through FOIA requests and
       10 other research, uncovering critical evidence that Defendant has refused to
       11 produce.
       12         6.       Defendant, however, has failed to reciprocate these efforts, declining
       13 to create a discovery plan and asserting contradictory positions- at times
       14 claiming that discovery has already been completed, while simultaneously arguing
       15 that discovery has not yet begun and will not proceed without a court order.
       16 Defendant has further withheld key documents, asserted broad and unsupported
       17 privilege claims, and repeatedly delayed compliance. This filing addresses these
       18 ongoing discovery deficiencies and seeks appropriate relief to ensure that
       19   Defendant meets its obligations under the Federal Rules of Civil Procedure.

       20       11. ISSUES TO BE DECIDED
       21          A. Defendant's Refusal to Produce Core Documents
       22
       23         7.       Apple has refused to produce the majority of documents related to its
       24 decision to terminate Plaintiff, its internal communications about her
       25 whistleblowing, and records supporting its pretextual justifications. Apple argues
            these records are "privileged" or "irrelevanz"', despite their direct relation to
       26   Plaintiff's claims.
       27
       28   1


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                       PRODUCTION - Dis covaRy DISPUTE | CASE No. 3:23-CV-04597-EMC
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       1          8.      Relief Requested: Plaintiff requests that the Court order Apple to
       2    produce all non-privileged documents related to Plaintiff's employment
       3    termination, internal investigations, and related whistleblowing concerns.
       4
                   B.     Apple's Contradictory Positions on General Order 71
       5
       6          9.      Apple unilaterally applied General Order 71 in December 2023, only

       7    informing Plaintiff after its supposed deadline had passed, in an attempt to coerce

       8
          production of documents without proper review. Apple simultaneously argues
          "there is no iiiseovery ongoing in this ease" while demanding Plaintiff produce
       9
          thousands of pages of employment-related documents under General Order 71.
       10
                10. Relief Requested: Plaintiff seeks clarification from the Court on
       11
          whether General Order 71 applies independently or should be incorporated into
       12
            broader discovery timelines.
       13
       14          c. Defendant's Refusal to Engage in Discovery Planning
       15       II. The Court ordered both parties to develop a discovery plan. Plaintiff
       16 has repeatedly requested to do so; Apple has refused.
       17       12. Relief Requested: Plaintiff requests that the Court order Apple to
       18 meaningfully engage in the discovery planning process and cooperate in
       19 scheduling depositions and document production.
       20
             111. APPLE'S PATTERN OF BAD FAITH LITIGATION
       21
       22         13. Apple has taken irreconcilable positions in this case, designed to
       23   obstruct discovery and force Plaintiff into an untenable position:
                  - "Discovery has not began." (Email from Apple Counsel, November 3,
       24
                      2023)
       25
                      "Discovery is already complete." (Apple's Motion to Dismiss, November
       26
                     14, 2023)
       27             "Plaintiff has foiled to comply with General Order 71." (Email from
       28             Apple Counsel, February 2024)
                                                      _3_
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       1             "There is no aiiseovery ongoing in this case. J) (Apple's Responses to RFPs,

       2             December 2024)

       3    These contradictory positions are not merely inconsistent-they are calculated
       4    efforts to manipulate discovery obligations and obstruct Plaintiff's ability to
       5  litigate her claims.
       6         14. Furthermore, Apple's refusal to produce records concerning
       7  Plaintiff's protected activities, Apple's knowledge of those activities, and its
       8  pretextual justifications runs afoul of established Ninth Circuit precedent. Courts
       9  have consistently compelled production of such documents in retaliation cases.
       10 See Yanozvitz 7). L'Oreal USA, In., 36 Cal. 4th 1028, 1042 (2005); Keyser v.
       11 Sacramento City Uni
       12 Sanderson Plumbing Pro's., In., 530 U.S. 133, 148 (2000).
       13    Iv. CONCLUSION
       14
       15         15. Defendant's actions constitute an intentional and coordinated effort
            to obstruct discovery. Apple's refusal to engage in good-faith negotiations, its
       16   contradictory positions, and its outright defiance of Court-ordered discovery
       17   obligations demand judicial intervention.
       18         16. Accordingly, Plaintiff respectfully requests that this Court:
       19            Order Apple to produce non-privileged documents relating to
       20            Plaintiff's employment termination and whistleblowing activities.
       21            Clarify the applicability of General Order 71 in relation to broader
       22            discovery obligations.
       23            Compel Apple to par ticipate in discovery planning and abide by its
       24            obligations under Rule 26.
       25
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       1          17.    Plaintiff remains committed to engaging in discovery in good faith
       2    and ensuring that the process proceeds fairly and efficiently. However, absent
       3    Court intervention, Apple's obstructive tactics will continue to hinder meaningful
       4    progress in this case.
       5
       6    Dated: February 11, 2025
       7
       8
       9
            Dated: Feb. 11 2025
       10
       11
                                  \
       12
       13   /s/ Ashley M. Gjovik
       14   Pro Se Plaintiff
       15
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFQRNIA




             ASHLEY M. GJOVIK, an individual,            CAND No. 3:23-CV-04597-EMC
                                                         9th Cir No.: 24-6058
                  Plaintiff,
                                                         DISCOVERY DISPUTE
                vs.                                       PLA1NTIFF'S LETTER 2/3


                                                         Disclosures
             APPLE INC. a corporation,
                               7


                                                         Fed. R. Civ. P. 26, 37
                  Defendant.                             Civ. L.R. 26, 37
                                                         Prof. Conduct Section 9




             Defendant repeatedly refused to meet and confer in good faith and also refused
             to agree to file a joint letter. Please see the concurrently filed Request for a
             Telephonic Conference (or for the Court to fashion an alternative procedure).




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       1       DISCOVERY DISPUTE #2 - APPLE'S FAILURE To
       2
                    PRQVIDE REQUIRED DiscLosUREs
       3
               1. STATEMENT OF FACTS
       4
       5          1.    On ]uly 26, 2024, The Honorable ]udge Edward Chen referred
       6    discovery disputes in Gjovik v. Apple Inc. to The Honorable ]udge Westmore.
       7    (Order at Dot. No. 83 at 1). Plaintiff, Ashley Gjovik, respectfully submits this
       8    Letter requesting intervention from ]udge Westmore to resolve ongoing discovery
       9    disputes regarding Apple's failure to comply with its disclosure obligations under
       10   Rule 26(a)(1) and General Order 71.
       11         2.    Since the initiation of this lawsuit in September 2023, Apple has
       12   continuously engaged in a pattern of obstructing discovery while simultaneously
       13 demanding extensive and intrusive disclosures from Plaintiff. Apple has:
                - Refused to provide initial disclosures in compliance with Rule 26(a)(1),
       14          failing to identify relevant witnesses, produce essential employment
       15              records, or disclose relevant documents related to Plaintiff's
       16              termination.
       17              Claimed that discovery is both "completed" and "has not)/et begun"
       18              contradictory positions that serve only to avoid their obligations.
       19              Withheld    key    documents     regarding      Plaintiff's   termination,
       20              whistleblowing complaints, and internal investigations, while insisting
       21              Plaintiff provide extensive personal records.
       22              Obstructed deposition scheduling by refusing to confirm witness
       23              availability or provide corporate representatives for testimony.
       24       3.    Apple's refusal to provide these disclosures is a clear violation of the
       25 Federal Rules of Civil Procedure, the Civil Local Rules, and professional
       26 standards of conduct.
       27
              II. IssUEs To BE DECIDED
       28
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       1          4.     Whether Apple should be compelled to comply with its Rule 26(a)(1)
       2    initial disclosure obligations.
       3          5.     Whether Apple should be required to supplement its disclosures
       4    regarding key witnesses, documents, and decision-makers.
       5          6.     Possibly - Whether Apple's refusal to provide disclosures warrants
       6    sanctions under Rule 37.
       7     III. APPLE'S FAILURE To DISCLOSE KEY INFORMATION
       8            REGARDING PLAINTIFF'S TERMINATION
       9           A. Refusal to Identify Decision-Makers
       10
                  7.     Apple has failed to disclose who initiated the decision to fire Plaintiff,
       11
            when it was made, and what information was used. Plaintiff has repeatedly
       12
            requested details about the individuals involved in the internal investigation
       13
            leading to her termination, yet Apple continues to evade the question. In one
       14
            email, Apple's legal team stated: "The decision zoos mode pnrsnont to company
       15
            policy," yet they refuse to provide names, dates, or internal documentation.
       16          B.   Withholding of Internal Investigation Records
       17
                  8.     Apple has refused to produce investigative reports, communications,
       18
            and notes related to Plaintiff's termination, despite repeated requests. Courts
       19
            have repeatedly held that investigative records regarding an employee's
       20
            termination are not privileged and must be disclosed in retaliation cases. See
       21
            Hoffman 2). Constr. Protective Serfs., Inc., 541 F.3d 1175 (9th Cir. 2008).= Apple
       22
            cannot selectively use "business neeessizj/" as a justification for termination while
       23
            simultaneously refusing to disclose documents that allegedly support that
       24
            justification.
       25          C. Contradictions About the Termination Timeline
       26
                  9.   Apple initially implied that the decision to terminate Plaintiff
       27
            occurred after her whistleblower complaints. Later, Apple claimed that the
       28
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       1    termination decision was made before Plaintiff's protected disclosures-without
       2    providing any evidence to support this assertion. Apple has refused to produce
       3    internal emails, notes, or decision-making records that would clarify this timeline.
       4    Courts have ruled that employers must provide full documentation of the decision -
       5    making process in retaliation cases (Rennie v. Garrett, 896 F.2d 1057 (9th Cir.
       6    1990)).
       7           D. Apple's Use of Private Photos to ]ustify Termination

       8          10.     Apple has invoked Plaintiff's complaint about Apple capturing
       9    nor consensual nude photos of her, as a defense to her termination, despite lacking
       10 any lawful right to these images. This defense constitutes a further act of
       11 retaliation and harassment, as Apple weaponized private information to discredit
       12 and terrorize the Plaintiff. Apple cannot claim ownership over Plaintiff's body to
       13 justify termination. Courts have found that employers cannot use unlawfully
       14 obtained personal information as a defense (Hernandez v. Hillsides, Inc., 47 Cal.4z'h
       15 272 (2009))
       16          E. Apple's Key Witness Contradicts Herself & Obstructs Justice
       17         II.     Apple's primary defense witness-who played a direct role in
       18   fabricating a false paper trail to justify Plaintiff's termination -has now submitted
       19   three sworn declarations to the Court stating that she has never met Plaintiff.
       20   These statements directly contradict Apple's litigation position and raise serious
       21   credibility issues regarding its defense. This witness's repeated contradictions
       22   amount to self-impeachment, as she initially positioned herself as central to
       23 Apple's justification for termination but now seeks to distance herself entirely. By
       24 doing so, she is obstructing justice and committing perjury to eliminate defenses
       25 against her own misconduct from this case. Notably, Apple relies on this same
       26 witness as a key figure in its defense while simultaneously claiming she has no
       27 involvement, further undermining the integrity of its litigation strategy.
       28         12.     Beyond perjury, this witness's role in falsifying evidence is deeply
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       1    troubling. In collaboration with Apple, she schemed to manufacture a pretext for
       2    Plaintiff's termination by filing a complaint against Plaintiff using nor consensual
       3    intimate photographs of Plaintiff. Apple and its witness jointly asserted that
       4    Plaintiff had no right to share nor consensual nude photos of herself-photos taken
       5    on her own phone, by Apple-because, Apple said, it allegedly owned the
       6    intellectual property rights to nor consensual images of her naked body. This is
       7    not only a grotesque abuse of power but also a blatant violation of Plaintiff's
       8    privacy and dignity.
       9          13.    To further protect this scheme, the witness then filed a separate
       10   lawsuit against Plaintiff, securing a five-year gag order that prohibited Plaintiff
       11   from discussing or exposing what had occurred. This strategic litigation trap
       12   ensured that if Plaintiff ever learned the full extent of Apple's and the witness's
       13   collusion, she could face jail time simply for speaking out. Apple's reliance on
       14   fabricated evidence, coordinated perjury, and criminal intimidation tactics
       15 demonstrates a pattern of misconduct that warrants judicial intervention.
       16     IV. APPLE'S VIOLATIONS oF RULE 26 & LOCAL RULES
       17          F.    Apple Has Violated Rule 26 by Refusing to Provide Initial
       18                Disclosures
       19         14.    Rule 26(a)(1)(A) requires that: "A party must, without awaiting 61
       20   discovery request, provide to the other parties: (i) the name and, if lenovnn, the address
       21   and telephone number of eaeh individual likely to have diseoverahle information       (ii)
       22 a copy-or a description by category and location-of all documents                  that the
       23   disclosing party may use to support its claims or defenses."
       24         15.    Apple has failed to comply with this requirement by:
       25                 - Refusing to identify key witnesses.
       26                    Failing to disclose relevant internal documents.
       27                    Withholding critical termination-related communications.

       28      v. REQUESTED RELIEF
                                                       _ 4_
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       1             16.          To     remedy Apple's       ongoing   discovery   violations,   Plaintiff
       2    respectfully requests the Court to:
       3               i. Compel Apple to provide complete Rule 26(a)(1) disclosures,
       4                    including a list of relevant witnesses, internal communications
       5
                                       regarding Plaintiff's termination, and any documents Apple
                                       intends to use in its defense.
       6
                           ii.         Order Apple to supplement its disclosures regarding key
       7
                                       witnesses, decision-makers, and investigative records.
       8
                           iii.        Possibly consider sanctioning Apple under Rule 37 for its
       9
                                       continued refusal to comply with disclosure requirements and
       10
                                       obstructive litigation tactics.
       11                  iv.         Schedule a discovery conference to facilitate resolution of ongoing
       12                              disputes.
       13                   v.         Order Apple to produce all documents related to Plaintiff's
       14                              protected activities and Apple's knowledge of those activities.
       15
             VI. CONCLUSION
       16
       17            17.          Apple's continued refusal to comply with basic discovery obligations
       18 requires Court intervention. Apple cannot claim that discovery has not begun
       19 while simultaneously demanding extensive disclosures from Plaintiff. Nor can it
       20 selectively provide disclosures only when it serves its interests. Plaintiff requests
       21 clear judicial guidance and an order compelling Apple to comply with discovery
       22   rules.
       23   Dated: Feb. 11 2025
       24 /s/ Ashley M. Gjovik
       25 Pro Se Plaintiff
          Email: legal@ashleygiovik.com
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       27 Mailing Address: 2108 N St. Ste. 4553 Sacramento, CA, 95816
       28 Phone: (408) 883-4428
                                                               _ 5_
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFQRNIA




             ASHLEY M. GJOVIK, an individual,               CAND No. 3:23-CV-04597-EMC
                                                            9th Cir No.: 24-6058
                  Plaintiff,
                                                            DISCOVERY DISPUTE
                vs.                                         PLA1NTIFF'S LETTER 3/3


                                                            CONFIDENTIALITY,
             APPLE INC. a corporation,
                               7
                                                            PRIVILEGE, & GENERAL
                                                            PLANNING
                  Defendant.
                                                            Fed. R. Civ. P. 26, 37
                                                            Civ. L.R. 26, 37
                                                            Prof. Conduct. Sect. 9



             Meet and Confer Requirement: Defendant repeatedly refused to meet and
             confer in good faith and also refused to agree to file a joint letter. Please see the
             concurrently filed Request for a Telephonic Conference (or for the Court to
             fashion an alternative procedure).


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       1      DISCOVERY DISPUTE #3 - APPLE'S ABUSlVE PRIVILEGE &
       2                CONFIDENTIALITY ASSERTIONS
       3
                   A. Statement of Facts
       4
       5          1.    On ]uly 26, 2024, The Honorable ]udge Edward Chen referred
       6    discovery disputes in Gjovik v. Apple Inc. to The Honorable ]udge Westmore.
       7    (Order at Dot. No. 83 at 1). Plaintiff, Ashley Gjovik, respectfully submits this

       8    Letter requesting intervention from ]udge Westmore to resolve ongoing discovery

       9    disputes regarding Apple's abuse of privilege assertions and overbroad
            confidentiality designations.
       10
                  2.    This lawsuit fundamentally concerns an employer harassing an
       11
            employee, invading their privacy, and using those invasions as tools of
       12
            retaliation-yet Apple is now replicating that exact misconduct within the
       13
            discovery process. Apple is not merely obstructing discovery; it is actively
       14
            weaponizing it. Apple has:
       15
                  - Refused to provide a privilege log for the documents it is withholding.
       16
                       Declared nearly all discovery materials as confidential by default,
       17
                       regardless of actual sensitivity.
       18
                       Invoked attorney-client privilege to shield basic business records
       19
                       regarding Plaintiff's termination, despite the law prohibiting such broad
       20
                       assertions.
       21
                       Refused to negotiate a reasonable protective order, instead demanding
       22              excessive restrictions that would prevent Plaintiff from using evidence
       23              in regulatory proceedings.
       24              Used confidentiality designations as a strategic litigation weapon rather
       25              than for legitimate concerns.
       26
       27
       28
                                                       _ 1 _
               PRIVILEGE & PLANNING - Dis covaRy DISPUTE | CASE No. 3:23-CV-04597-EMC
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       1          3.      Apple is not just obstructing discovery-it is actively using the
       2    discovery process as another means of harassment by demanding intrusive, deeply
       3    personal information from Plaintiff while simultaneously refusing to disclose even
       4    the most basic information about its own misconduct. Apple claims it must protect
       5    its own privacy-invoking privilege and secrecy to withhold critical evidence-
       6    but at the same time, it demands Plaintiff's medical records, personal diaries, and
       7    nearly a decade of deeply private information.
       8        4.    This isn't just bad faith litigation-it's a deliberate strategy to
       9  weaponize discovery as a tool of retaliation, to wear Plaintiff down, and to
       10 sabotage her lawsuit by making her relive and re-experience the very harms that
       11 led her to sue in the first place. Apple's conduct is not only an abuse of the judicial
       12 process-it is a continuation of the exact unlawful harassment and privacy
       13 invasions that this case is meant to address. Apple's conduct is a clear abuse of
       14 privilege and confidentiality protections, designed to obstruct discovery rather
       15 than to protect legitimate interests.
       16       1. ISSUES TO BE DECIDED
       17
                        Whether Apple must provide a proper privilege log for all withheld
       18
                        documents.
       19
                        Whether Apple's overbroad confidentiality designations should be
       20
                        invalidated.
       21
                        Whether Apple's refusal to negotiate a fair protective order warrants
       22
                        judicial intervention.
       23
       24
              II. APPLE'S ABUSE oF PRIVILEGE & CONFIDENTIALITY
       25          B.    Failure to Provide a Privilege Log
       26
       27
       28
                                                    _ 2 _
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       1          5.     Apple has withheld numerous documents without providing a
       2    privilege log in violation of Rule 26(b)(5). When Plaintiff requested a log, Apple
       3    responded: "At this time, we do not intend to prod fee in privilege log." (Email from
       4    Apple Counsel, Dec. 18, 2023). Blanket assertions of privilege without a log are
       5    improper (See Kamakann 7). City and County 0f ]-Ionolnln, 447 F.3d 1172, 1184 (9th
       6    Cir. 2006)).
       7           C. Apple's Contradictory Privilege Assertions
       8
       9          6.     Apple has claimed that internal discussions involving non-attorney
            employees are privileged if a lawyer was included in the email chain. Courts have
       10
            consistently ruled that business discussions do not become privileged merely
       11
            because an attorney was copied (United States v. Chevron Corp., 1996 WL 444597,
       12
            at *4 (N.D. Cal. May 30, 1996)). Apple has also claimed attorney-client privilege
       13
            on emails where no attorney was included, and refused to provide a privilege log
       14
            despite multiple requests. Apple has withheld factual termination-related
       15
            documents under privilege, despite the fact that underlying facts are never
       16
            privileged. See Upjohn Co. 7). United States, 449 U.S. 383, 395 (1981).
       17
       18          D. Overbroad Confidentiality Designations
       19         7.     Apple has designated virtually every document exchanged in
       20   discovery as "Conj%lentiol" by default, regardless of whether it actually contains
       21   sensitive material. Courts reject such blanket confidentiality designations. See
       22   Glenmeele Tr. Co. v. Thompson, 56 F.3d 476, 484 (Sd Cir. 1995) (protective orders
       23   must be narrowly tailored). Apple's default designations are particularly troubling
       24   given its refusal to provide even basic employment records unless Plaintiff agrees
       25   to its overbroad restrictions.
       26          E. Apple's Improper Protective Order Demands
       27
       28
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       1          8.     Apple insists on a protective order that would prevent Plaintiff from
       2    using discovery materials in regulatory or legal proceedings. Such provisions
       3    improperly restrict a whistleblower's ability to report misconduct and violate
       4    public policy. See Foltz 7). State Farm Mut. Auto. Ins. Co., 331 F.3d 1122 (9th Cir.
       5    2003) (protective orders eunnot be used to suppresspublie interest information). Apple
       6    has refused reasonable compromises, such as allowing redactions instead of
       7    blanket confidentiality restrictions.
       8
             III. LEGAL STANDARDS & CASE LAW
       9
                   F.   Privilege Logs Are Mandatory Under FRCP 26(b) (5)
       10
       11         9.     Rule 26(b)(5) requires that: "When 61 party/ withholds information
       12   otherwise aisooverahle by claiming that the information is privileged   the party must:
       13   (i) expressly melee the claim; and (ii) aesorihe the natare of the aooaments      in a
       14   manner that, without revealing information itself privilegea or proteetea, will enable
       15   other parties to assess the claim. J) Apple has failed to meet this requirement by
       16   refusing to provide any privilege log or sufficiently describe its privilege claims.
       17          G. Blanket Confidentiality Designations Are Improper

       18         10.    Courts have held that protective orders must be narrowly tailored and
       19 cannot be used to suppress non-confidential information (Brown Bag Software v.
       20   S3/manter Corp., 960 F.2d 1465 (9th Cir. 1992)).
       21
                   H. Overly Broad Privilege Assertions Violate the Law
       22
       23         11.    Wellpoint Health Networks, In. v. Superior Ct., 59 Cal. App. 4th 110
       24 (1997): Companies cannot shield factual business decisions under attorney-client
       25 privilege. United States v. Ruehle, 583 F.3d 600 (9th Cir. 2009): Facts are not
       26 privileged, only legal advice.
       27    IV. REQUESTED RELIEF
       28
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       1          12.    Plaintiff respectfully requests that the Court:
       2                 - Order Apple to produce a privilege log for all withheld documents,
       3                       in compliance with Rule 26(b)(5).
       4                 - Invalidate Apple's overbroad confidentiality designations and
       5                       require Apple to justify specific designations.
       6                 - Reject Apple's current protective order proposal and require
       7                       Apple to negotiate a reasonable order.
       8                 - Sanction Apple under Rule 37 for obstructing discovery through
       9                       bad faith privilege and confidentiality tactics.
       10      v . CONCLUSION
       11
       12         13.   Apple's misuse of privilege and confidentiality is not merely an
       13   attempt to protect sensitive information-it is an intentional strategy to obstruct
       14   discovery and evade accountability. Plaintiff respectfully requests that the Court
       15   compel compliance, reject Apple's improper assertions, and impose appropriate
       16   sanctions.

       17
            Dated: February 11, 2025
       18
       19
       20                         _
                                         \
       21
       22
            /s/ Ashley M. Gjovik
       23   Pro Se Plaintiff
       24
       25 Email: legal@ashleygiovik.com
       26 Physical Address: Boston, Massachusetts
       27 Mailing Address: 2108 N St. Ste. 4553 Sacramento, CA, 95816
          Phone: (408) 883-4428
       28
                                                       _ 5_
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      1      Ashley M. Gjovik, _ID
             In Propria Personal
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             2108 N St. Ste. 4553
      3      Sacramento, CA, 95816
             (408) 883-4428
      4
             lega1@ashleygjovik.com
      5

      6

      7                             UNITED STATES DISTRICT COURT
      8                             NORTHERN DISTRICT OF CALIFQRNIA
      9

      10                                                  CAND No. 3:23-CV-04597-EMC

      11                                                  9TH CIR NO.: 24-6058

      12     ASHLEY M. GJOVIK, an individual,
      13                                                   PLA1NTIFF'S OPPOSITION TO
      14               Plaintiff,
                                                           DEFENDANT'S FIFTH MOTION TO
      15

      16
                                                           D1sMiss. (FINAL)
                 vs.
      17
                                                           Fed. R. Cid. R §12(b)(6)
      18

      19     APPLE INC., a corporation,
      20                                                    MOTION HEARING:
                                                           Dept: Courtroom 5 (& Zoom)
      21               Defendant.                          ]udge: Honorable Edward M. Chen
      22                                                   Date: February 13, 2025
                                                           Time: 1:30 PM PT
      23

      24
                                             ADDENDUM: FINAL 2.0;
      25
                                REVISED WITH LEGAL CITATIONS & M1SS1NG SECTIONS
      26

      27

      28


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      1                         PLAINTIFF'S OPPOSITION TO DEFENDANT'S
      2                                     FIFTH MOTION To DISMISS
      3               1.     Plaintiff, Ashley Gjovik, respectfully submits the following Opposition to
      4      Defendant's Motion to Dismiss portions of her Fifth Amended Complaint ("5AC"). Defendant's
      5      motion represents yet another attempt by the Defendant to erode the substance of Plaintifl"s case
      6      through repeated procedural tactics. Defendant's motion to dismiss is part of an ongoing strategy
      7      designed to whittle away at Plaintifl"s claims, and it continues a pattern of improper filings that has
      8      been allowed by the Court despite clear violations of the procedural rules. As demonstrated below,
      9      the Defendant's motion must be denied, and the Court must not allow the Defendant to continue
      10     to break the rules or dismiss claims for random reasons that fail to address the core merits of the
      11     €3$€_1

      12              2.     Concurrently filed is an Opposition to Defendant's Reqnestfor Jnilioiol Notice (also
      13     addressed here), Plaintiff's Reqnestfor Jnilioiol Notice, Plaintiff's Notice ofPenilenQ/, and Plaintiff's
      14     Motion to Amend her Complaint.
      15              3.     This case represents a critical moment to address systemic abuses by Apple Inc.,

      16     encompassing violations of whistleblower protection laws, labor statutes, environmental

      17     regulations, and fundamental principles of fairness and safety. The plaintiff, Ashley Gjovik, a

      18     former Senior Engineering Program Manager at Apple, brought to light unsafe work conditions,

      19     criminal conduct, environmental hazards, and unlawful labor practices. In response, Apple
             retaliated against Gjovik, exacerbating the harm she endured and demonstrating a troubling
      20
             corporate culture that prioritizes secrecy and profit over compliance, safety, and integrity.
      21
                      4.     Central to this matter is Apple's operation of an unpermitted semiconductor
      22
             fabrication plant adjacent to residential apartments, which emitted toxic gases and caused
      23
             significant health issues for residents, including Gjovik. Compounding this environmental
      24
             negligence was Apple's systematic retaliation when Gjovik raised legitimate concerns. These
      25
      26
             1 See, et., Branch v. Birmingham, 49 F. Supp. 229 (ND. Iowa 1943); Northrop 7). Hoffman ofSimsbary, Inc.,
      27     134 F.3d 41, 39 Fed. R. Serv. 3d 492 (2d Cir. 1997); Holmes 7). New York City Housing Authority, 398 F.2d
             262 (2d Cir. 1968); Calabrese 7). Chiumento, 3 F.R.D. 435 (D.N.J. 1944).; Glas 7). Brooklyn Eastern Dist.
      28     TerminaL 359 U.S. 231, 79 S. Ct. 760, 3 L. Ed. 2d 770 (1959).
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      1      actions reflect broader patterns of misconduct by Apple, evidenced by multiple enforcement
      2      actions taken by the Department of]ustice over the past 15 years related to employment practices,
      3      anti-competitive behavior, and unlawful labor policies. In this context, addressing Apple's
      4      violations in this case is both a legal necessity and a moral imperative.
      5             5.       Disclaimer: Plaintiff, representing herself pro se in three separate litigations /
      6      adjudications against Defendant, is unable to keep up with the paperwork from Apple's army of
      7      lawyers. Due to the court issuing a hard deadline for filings, Plaintiff regrets any and all typos,
      8      omissions, errors - and also discloses the use of generative AI to assist her in drafting this response.
      9      Previously Plaintiff had tried to prioritize quality over deadlines, but without a choice and unable
      10     to compete with the defendant's endless resources, Plaintiff files this response in the best condition

      11     she is able. Plaintiff concedes none of her claims, disagrees with all of Apple's arguments, and any

      12     failure to address a point by Plaintiff should be assumed to be due to the deadline to file, not to any

      13     concession to the merit. Plaintiff also did not have time to include legal citations before the deadline

      14     and now files this revised version with legal citations and the addition of missing sections.

      15              A. SUMMARY OF THE CASE
      16
                    6.       Apple failed to disclose the existence of the facility or its hazardous emissions,
      17
             violating multiple environmental regulations, including the Resource Conservation and Recovery
      18
             Act (RCRA). Regulatory investigations have since confirmed at least 19 RCRA violations and
      19
             additional breaches of air quality regulations. When Gjovik raised concerns related to these hazards
      20
             and broader workplace safety issues, she became the target of retaliation and harassment by Apple,
      21
             including her termination. Despite clear legal protections under federal and state whistleblower
      22
             statutes, Apple has repeatedly denied liability, opting instead to deflect and mischaracterize
      23
             Gjovik's efforts as breaches of confidentiality. The facts of this case demonstrate a troubling pattern
      24
             of corporate misconduct, disregard for safety, and retaliation against an employee who sought
      25
             accountability and transparency.
      26
                    7.      The NLRB and California government both found that Apple's proposed
      27
             justification for terminating Gjovik's employment is false and pretextual. The NLRB has found
      28
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      1      substantial evidence that Apple illegally suspended and fired Gjovik and made multiple illegal
      2      threats and coercive statements to her. The NLRB filed suit last month and demanded Apple
      3      apologize and reinstate Gjovik's employment. The trial is later this year. (See concurrently filed
      4      Notice 0fPenalency) .
      5              8.      Additionally, the Bay Area Air Quality Management District (BAAQMD) identified
      6      six serious violations, including operating without proper permits and venting toxic gases. These
      7      regulatory findings provide incontrovertible evidence of Apple's environmental misconduct.
      8      Medical records and expert testimony establish a clear link between Gjovik's exposure to hazardous
      9      substances and the severe health issues she has endured. The concealment of these operations from
      10     local residents and employees underscores Apple's alarming disregard for public safety.

      11              B. LEGAL STANDARD
      12
                     9.      Plaintiffs in federal court are required to give only "a short andplain statement of the
      13
             claim shoving that the pleader is entitled to relief " Fed. R. Civ. P. 8(a). Furthermore, Rule 8(d)(1)
      14
             requires "[e]aeh allegation [to] he simple, ooneise, and direct." Fed. R. Civ. P. 8(d)(1). The purpose of
      15
             Rule 8 is to " 'give the defendant fair notice of vihat the   claim is and the grounds upon vfhieh it rests."
      16
             " BellAtl. Corp. 7). Tvaomhly, 550 U.S. 544, 555, 127 S. Ct. 1955, 1964, 167 L. Ed. 2d 929 (2007)
      17
             (quoting Conley 7). Gibson, 355 U.S. 41, 47, 78 S. Ct. 99, 103, 2 L. Ed. 2d 80 (1957)). The Federal
      18
             Rules require that all pleadings be "construed so as to dojustiee. " See Fed. R. Civ. P. 8(e). Cafasso 7).
      19
             Gen. D3/namies C4 Sys., 637 F.3d 1047, 1058 (9th Cir. 2011), 637 F.3d at 1059 (quoting 5 Charles A.
      20
             Wright & Arthur R. Miller, Federal Practice & Procedure §1217 (3d ed. 2010)).
      21
                     10.     The Federal Rules also allow a court to dismiss a cause of action for "failure to state
      22
             a claim upon which relief can be granted." Fed. R. Civ. P. 12(b)(6). The Ninth Circuit is particularly
      23
             hostile to motions to dismiss under Rule 12(b) (6). See, e.g., Gilligan 7). Jameo Dev. Corp., 108 F.3d
      24
             246, 248-49 (9th Cir. 1997) (" The Rule 8 standard contains a povnerfulpresumption against reyeeting
      25
             pleadingsforfailure to state a claim."). However, in Tvaomhly, the Supreme Court rejected the notion
      26
             that "a vnholbi eonolusory statement ofa claim would survive a motion to dismiss vfhenever the pleadings
      27
             je# open the possibility that a plaint     might later establish some set of undisclosed facts to support
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      1      recovery." Taomhly, 550 U.S. at 561, 127 S. Ct. at 1968. Instead, the Court adopted a "Plansihility
      2      stanaara," in which the complaint must "raise 61 reasonable expectation that aisoovery will reveal
      3      eviaenoe of[the alleged infraotionj." la. at 556, 127 S. Ct. at 1965. For a complaint to meet this
      4      standard, the "[f]aotnal allegations mast he enough to raise a right to reliefahove the speonlative level. "
      5      Id. at 555, 127 S. Ct. at 1965 (citing 5 C. Wright & A. Miller, Federal Practice and Procedure §1216,
      6      pp. 235-36 (Sd ed. 2004) ("[T]he,oleaaing mast contain something more          than     a statement offaots

      7      that merely creates a snspioion [of] a legally oognizahle right of action"); Daniel 7). Cnty. of Santa
      8      Barbara, 288 F.3d 375, 380 (9th Cir. 2002) (" 9411 allegations of material faot are taken as true ana

      9      eonstrnea in the light most favorahle to the nonmovingparty' ") (quoting Bnrgert 7). Loleelani Bernice

      10     PanahiBishop To, 200 F.3d 661, 663 (9th Cir. 2000)).

      11             11.     When a Plaintiff appears pro se, the Court must construe the allegations of the

      12     Complaint liberally and must afford the Plaintiff the benefit of any doubt. See Karim-Panahi 7). Los

      13     Angeles Polite Dep't, 839 F.2d 621, 623 (9th Cir. 1988). Moreover, in determining whether a

      14     complaint states a claim on which relief may be granted, allegations of material fact are taken as

      15     true and construed in the light most favorable to the plaintiff Love v. United States, 915 F.2d 1242,

      16     1245 (9th Cir. 1989). A pro se litigant must be given leave to amend his or her complaint unless it

      17     is absolutely clear that the deficiencies of the complaint cannot be cured by amendment. Noll v.

      18     Carlson, 809 F.2d 1446, 1448 (9th Cir. 1987).
                     12.     As a general rule, doubtful issues will not be decided as a matter of law on a motion
      19
             to dismiss a complaint.1 The Federal Rules of Civil Procedure do not sanction the disposition of
      20
             doubtful issues of fact or of law on motions to dismiss for insufficiency of the pleadings.2 In ruling
      21
             on a motion to dismiss, doubt should ordinarily be resolved against the motion." 35B C.].S. Federal
      22
             Civil Procedure §852.
      23
                     13.     "Where, in an action by an employee against the employer, the pleadings raise a
      24
             triable issue of fact, a motion to dismiss the complaint will be denied... it is an abuse of discretion
      25
             for the court to dismiss an employee's complaint against the employer for failure to comply with
      26
             the Rules merely because of the presence of superfluous matter so long as the complaint puts the
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             employer on notice of the employee's claim, provides more information than the Rules require, and
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      1      appears to state a claim." 35B C.].S. Federal Civil Procedure §825; Wilalerman Q). Nelson, 467 F.2d
      2      1173 (8th Cir. 1972).
      3
                       c. THE COURT HAS ALREADY ALLOWED DEFENDANT To FILE
      4                      MULTIPLE MOTIONS To DISMISS, WHICH Is A VIOLATION OF THE
      5                      FEDERAL RULES OF PROCEDURE.

      6              14.      Under Rule 12(h), the Defendant is permitted only one motion to dismiss. However,
      7      the Court has already allowed Defendant to file multiple motions, which they have used to re-
      8      challenge claims and re-litigate issues that have already been addressed in previous motions. The
      9      repeated filing of 12(b) (6) motions is not only an abuse of procedural rules but also an attempt by
      10     the Defendant to drag out the litigation and place an unnecessary burden on the Plaintiff
      11             15.      The Defendant's filings have been allowed despite the clear limitations set forth in
      12     Rule 12(g) and 12(h). These rules prevent parties from repeatedly challenging claims that have
      13     already been addressed, and the Court's decision to allow Defendant to file multiple motions has
      14     led to unnecessary delays and increased costs for Plaintiff Furthermore, the Defendant is
      15     attempting to use these motions as a way to avoid liability by focusing on technical arguments and
      16     procedural errors, rather than addressing the substantive merit of the claims.2
      17             16.      In considering a motion to dismiss for failure to state a claim, District Courts are
      18     required to interpret a pro se complaint liberally. Sauce 7). Baum 138 S. Ct. 2561 (2018).; 35B C.].S.
      19     Federal Civil Procedure § 813. The standard governing motions to dismiss for failure to state a
      20     claim applies with even greater force where the plaintiff alleges civil rights violationsl, and
      21     especially where the complaint is submitted pro se.3 Hebbe Q). Plileg 627 F.3d 338 (9th Cir. 2010).

      22             17.      In order to survive a motion to dismiss for failure to state a claim on which relief can

      23     be granted, a civil rights complaint must contain facts which state the claim as a matter of law and

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      25
             2 Martin v. Livingstone Securities Corp.,192 F. Supp. 862 (D. Mass. 1961); Porter v. Karavas, 157 F.2d 984
      26     (C.C.A. loth Cir. 1946); Berger v. McHugh, 26 F. Supp. 107, l Fed. R. Serv. 9, l Fed. R. Serv. 72 (M.D. Pa.
             1939); Robins v. Rarbae/e, 325 F.2d 929, 7 Fed. R. Serv. 2d 134 (2d Cir. 1963); Brno/es v. PennsylvaniaR. Co.,
      27     91 F. Supp. 101 (s.D. n.y. 1950).
             3See, et., Learner 7). Eyes, 180 F.3d 420 (2d Cir. 1999); Frey 7). City of]-Ierealaneam, 44 F.3d 667 (8th Cir.
      28     1995); Hernandez v. Cong/ilin, 18 F.3d 133 (2d Cir. 1994); 35B C.].S. Federal Civil Procedure §821.
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      1      must not be conclusory. The court must accept as true the allegations the plaintiff makes in the
      2      complaint and must not adopt a portion of the defendant's claims as fact without acknowledging
      3      any contradiction with the complaint. Frey 7). City of]-Ierenionenm, 44 F.3d 667 (8th Cir. 1995); Baker
      4      7). Pnz'noL 75 F.3d 190, 34 Fed. R. Serv. 3d 1221 (sth Cir. 1996).
      5             18.     Apple's attempt to have claims related to environmentally unsafe working eoniiitions
      6      dismissed, as if they are merely peripheral to the actual issues at hand, demonstrates an alarming
      7      disregard for both the severity of the claims and the underlying facts. These claims are not
      8      incidental or irrelevant-far from it. They are integral to understanding the context of the
      9      retaliation and the very real harm that occurred. They are the protected activity and that is exactly
      10     why Apple attempts to coerce the court to eliminate it from the lawsuit.

      11            19.     Plaintiff's allegations are not an attempt to turn this case into a broad critique of

      12     Apple's environmental practices. Rather, they directly reflect how unsafe working conditions,

      13     including exposure to toxic substances, caused both physical harm and emotional distress. The

      14     severity of these environmental issues goes beyond simple inconvenience or discomfort; they

      15     directly contributed to Plaintiff's health problems and exacerbated the adverse actions taken

      16     against her by Apple. Dismissing these claims would ignore the fundamental context of this

      17     lawsuit-where toxic emissions and unsafe work conditions were not just tolerated but condoned

      18     by the company.
                     20.    Apple's argument to exclude these allegations borders on absurdity. It suggests that
      19
             a company's failure to address hazardous working conditions, resulting in harm to its employees,
      20
             should be swept under the rug in a case about wrongful termination, as if a claim of retaliation
      21
             would transmogrify a lawsuit including any other topic to only be exclusively about employment
      22
             matters. To treat these critical environmental issues as tangential to the real claim-especially
      23
             when the failure to address them is central to the retaliatory conduct Plaintiff endured-is a gross
      24
             mischaracterization of the case's heart and purpose.
      25
                    21.     The suggestion that these environmental claims should be excised from the lawsuit,
      26
             as though they are nothing more than a side note, is both an insult to the Plaintifl"s experience and
      27
             a desperate attempt by Apple to erase inconvenient facts. These issues are not "sprooJling eritiqnes"
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      1      or minor complaints; they are serious, fact-based allegations that tie directly into the retaliatory
      2      actions Plaintiff faced for speaking out against unsafe practices. The notion that Apple can simply
      3      dismiss these claims as irrelevant or time-barred-despite their clear and direct impact on the
      4      Plaintiff's health and career-highlights the company's complete lack of accountability.
      5              22.    In sum, the environmental claims in this case are not going anywhere. They
      6      represent serious misconduct, deliberate negligence, and retaliation, and Apple's attempt to belittle
      7      and discard them serves only to underscore the company's failure to take responsibility for its
      8      actions. Rather than trying to pretend these issues don't exist, Apple would do well to address them
      9      with the seriousness they deserve, instead of acting like an obstinate child refusing to acknowledge
      10     the consequences of their own mess.
      11             D.     DEFENDANT'S REPEATED MOTIONS TO STRIKE CLAIMS AND
      12                    SPECIFIC SCENARIOS ARE IMPROPER AND IMPAIR PLAINTIFF'S
                            RIGHT To A FAIR TRIAL
      13
      14             23.    The Defendant's repeated motions to dismiss and its targeted attacks on sub-claims
      15     and specific factual allegations are not only improper, but they also fundamentally undermine the
      16     integrity of this lawsuit. The Defendant's strategy is to act as if striking these individual claims or
      17     scenarios means erasing entire categories of evidence, facts, and allegations from the case. This is
      18     a grave distortion of the purpose of a lawsuit, which is to reflect the full reality of the unlawful
      19     conduct and harm that the plaintiff has suffered. Federal lawsuits are not games of procedural
      20     minutiae; they are designed to allow the plaintiff to fully present all relevant facts and evidence in

      21     support of their claims.

      22             24.    If the Defendant is allowed to continue its pattern of striking specific facts and sub-

      23     claims, this lawsuit will be severely limited in scope, leaving it devoid of the very evidence that is

      24     essential to proving the underlying unlawful conduct. A lawsuit is not fiction; it is meant to

      25     represent the full breadth of what occurred. If the Defendant succeeds in convincing the Court to

      26     dismiss more claims based on technical arguments, the resulting case will not reflect reality. The

      27     trial cannot fairly proceed if critical evidence and factual scenarios are eliminated, and Plaintiff is

      28     left with a hollow case that is no longer a true representation of the facts.

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      1               25.   Moreover, this issue is not hypothetical-Defendant has already misled the Court
      2      in prior motions to dismiss, resulting in the dismissal of multiple claims and sub-claims that were
      3      supported by concrete, direct evidence. These claims were not speculative or based on insufficient
      4      allegations; they were backed by clear facts, including documentary evidence and witness
      5      testimony. By allowing Defendant to strip away these claims based on narrow procedural
      6      arguments, the Court has inadvertently allowed Defendant to reduce the scope of the case and limit
      7      the evidence that will be available at trial. If the Court continues to dismiss claims and factual
      8      allegations on these improper grounds, it risks creating a legal environment where a corporation
      9      can avoid accountability simply by erasing the evidence it does not like through procedural motions .
      10     This would create a dangerous precedent, suggesting that a corporation can escape the full
      11     application of the law merely by manipulating the litigation process.

      12               E. THE DANGER oF FURTHER DISMISSALS: THE COURT MUST
      13                    RECOGNIZE THE IMPLICATIONS OF STRIKING EVIDENCE AND
                            FACTUAL ALLEGATIONS
      14
      15              26.   Allowing Defendant to continue striking key evidence and factual allegations from
      16     this case would severely undermine the ability of this lawsuit to reflect reality. The Court must
      17     recognize that the purpose of these motions is not to protect the integrity of the law or the fairness
      18     of the proceedings, but to allow the Defendant to erase inconvenient facts from the lawsuit entirely.
      19     This is an abuse of the judicial process, and the Court must not allow it to continue. The claims
      20     that the Defendant seeks to strike are not insignificant; they represent core aspects of the Plaintiff's

      21     case, and their removal would irreparably harm Plaintiff's ability to prove the unlawful conduct at

      22     issue.

      23              27.   If Defendant is permitted to succeed in further whittling away Plaintiff's claims, the

      24     Court will face the troubling question of whether a U.S. Court can effectively render the law

      25     inapplicable to a corporation simply by dismissing claims that it finds undesirable. Such a decision

      26     would have profound consequences, not only for Plaintiff's case but for the principles of justice

      27     and fairness in federal litigation. The law must apply equally to all parties, regardless of their size,

      28     resources, or legal sophistication. If the Court continues to dismiss claims and evidence based on

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      1      narrow procedural arguments, it risks signaling to the Defendant that it can escape liability simply
      2      by evading the substance of the case through procedural tactics.
      3
                     F.     THIS IS AN EMPLOYEE'S CIVIL RIGHTS AND PUBLIC SAFETY
      4                     LAWSUIT, AND THE COURT MUST NOT ALLOW THE DEFENDANT To
      5                     ESCAPE ACCOUNTABILITY THROUGH PROCEDURAL GAMES

      6
                     28.    This lawsuit is an employee's civil rights and public safety case against a large
      7
             corporation with substantial resources. Defendant has at least four law firms and a full team of
      8
             attorneys working on this case, while Plaintiff is representing herself The disparity in resources is
      9      striking, and the Defendant's repeated use of procedural motions to dismiss represents an
      10     unconscionable abuse of the judicial process. The Defendant is leveraging its vast legal resources
      11     to attack Plaintiff's claims and sub-claims on technical grounds, hoping to wear her down and
      12     prevent a fair hearing of the actual merits of the case.
      13             29.    The Court should not allow this procedural abuse to continue. Allowing Defendant
      14     to use these motions to strike facts and claims would not only undermine the integrity of the case
      15     but would also perpetuate an injustice, where a large corporation can use its resources to
      16     manipulate the litigation process and avoid facing the consequences of its actions. This is not
      17     merely an academic exercise in legal theory; this is a real case with real consequences for the
      18     Plaintiff, who has been subjected to physical injury, unlawful retaliation, and other harmful actions.
      19            30.      While the Court may have allowed Defendant's motions in the past, that does not
      20     mean it must continue to do so now. The Court has the authority to stop Defendant's abuse of the

      21     legal process and to draw a line, ensuring that Plaintiff's case is allowed to move forward based on

      22     the evidence, rather than on technical procedural arguments. The Court must ensure that the
      23     Defendant is held accountable for its actions, and that Plaintiff is given a fair opportunity to present

      24     her case in full, without the Defendant's efforts to eliminate key facts, claims, and evidence.

      25            31.      Because "fundamental rights and important questions of public policy are at issue,

      26     the district court should give the complaint special consideration and should not dismiss unless it

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      1      is clear that no legally cognizable claim can be stated.
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      2
                      G. PLAINTIFF REPRESENTS THE INTERESTS OF THOUSANDS OF
      3                      PEOPLE, & ALLOWING ABUSIVE LITIGATION TACTICS WOULD BE
      4                      AGAINST THE PUBLIC INTEREST

      5
                     32.      In addition to her own claims, Plaintiff represents the interests of thousands of other
      6
             individuals who have been harmed by the conduct of the Defendant, and the Court must consider
      7
             the broader implications of dismissing claims on arbitrary and technical grounds. " The federal courts
      8
             have long recognized that private citizens may serve as Private attorneys general' in order to enforce
      9      environmental laws that protect the public interest. This serves as an important safeguard against
      10     environmental degradation and ensures thatgovernmentagencies act to pro tectpuhlic health and welfare."
      11     Citizens for Better Environment v. Gorsuch, 718 F.2d 1117, 1127 (9th Cir. 1983).
      12             33.     The factory at the heart of this lawsuit, which is subject to Plaintiff's nuisance,
      13     IIED, and whistleblower claims, is currently facing enforcement actions from both federal and local
      14     government agencies due to much of the same harmful conduct that Plaintiff is challenging here.
      15     The government is investigating and acting against the factory's emissions, which are linked to
      16     significant public health risks, and Plaintiff's claims represent the direct interests of thousands of
      17     individuals who have been exposed to the factory's toxic exhaust.
      18             34.      The state and federal EPA have already confirmed Apple was operating the
      19     semiconductor fabrication factory illegally. The air board cited Apple specifically for failing to
      20     request permission to operate - requiring a planning code review. (See request for Judicial Notice) .

      21     Violations of a planning code constitute a "Public nuisance. " Golden Gate Water Shi Club v. Count/

      22     of Contra Costa (App. 1 Dist. 2008) 80 Cal.Rptr.3d 876, 165 Cal.App.4th 249. The Civil Code

      23     expressly provides that no lapse of time can legalize a public nuisance, amounting to an actual

      24     obstruction of public right. Civ. Code, §3490; 47 Cal. ]ur. 3d Nuisances §89.

      25             35.      Allowing the Defendant's motions to strike or dismiss claims based on technicalities

      26     could create serious legal conflicts, especially regarding issue preclusion and claim preclusion. If

      27
             4*Az'herz'on v. District 0f CoZumbia Office of Mayor, 567 F.3d 672 (D.C. Cir. 2009); §1234 Statement of
      28     Particular Matters-Constitutional Rights, 5 Fed. Prac. & Proc. Civ. §1234 (4th ed.)
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      1      this Court were to dismiss claims with prejudice on discretionary and procedural grounds, such as
      2      by accepting the Defendant's arguments regarding the statute of limitations for toxic torts -
      3      arguments that rely on selective public documents-it could effectively rule on the statute of
      4      limitations for thousands of potential plaintiffs. Such a ruling, if made against the Plaintiff, could
      5      extinguish the civil legal rights of those individuals, many of whom have suffered significant harm
      6      from the same toxic emissions, all based on a procedural decision that does not reflect the merits
      7      of their claims. This would be a miscarriage of justice, as it could prevent entire classes of affected
      8      individuals from seeking redress for the harms they have suffered.5
      9              36.      Further, Plaintiff is the victim of crime and is entitled to restitution for the harm
      10     caused by the Defendant. However, she is stuck waiting for the government to complete
      11     enforcement actions while concurrently chasing a civil statute of limitations. "It is the unequivocal

      12     intention of the People of the State of Culubrniu that ullpersons who su/§%'r losses is u result of criminul

      13     uetivity shall have the right to seek unit secure restitution from the persons oonvieteil of the crimes musing

      14     the losses they suj%r " Cal. Const., art. I, §28, subd. (b)(13)(A). "Restitution shall he oriiereilfrom the

      15     eonvioteil zvrongiloer in every else, regurilless of the sentence or disposition imposed, in zvhieh u crime vitim

      16     su/§%'rs u loss. " Cal. Const., art. I, §28, subd. (b)(13)(8).6 Cal. Pen. Code, §1202.4, subd. (a)(3)(B).
             '94 victimS right to restitution is   u eonstitutionul one; it eunnot he hurguineil uivuy or limited nor run
      17
      18     the prosecution zvuive the victim's right to receive restitution. " People 7). Gross (2015) 238 Cal.App.4th

             1313, 1318, 190 Cal.Rptr.3d 472. "The Legislature left no discretion or authority with the trial court
      19
             or the prosecution to bargain away the victim's constitutional and statutory right to restitution."
      20
             People 7). Vulilez (1994) 24 Cal.App.4th 1194, 1203, 30 Cal.Rptr.2d 4.
      21
                     37.      Furthermore, in the employment and labor claims, Plaintiff is also representing the
      22
             interests of over a hundred thousand employees. The NLRB has filed a complaint against
      23
             Defendant, highlighting illegal retaliation practices, including the use of overly broad NDAs, and
      24
      25
      26     5 ("Environmental crimes have far-reaching impacts on the community and can result in complex
             restitution determinations.") People 7). P!di1isA!!Am. P40e!ine, L.R, lol Cal. App. 5th 872, 879 (2024),
      27     review denied (Aug. 14, 2024)
             6 See, e.g. People 7). P!diiisA!!Am. Pipeline, L.R, lol Cal. App. 5th 872, 885 (2024), review denied (Aug. 14,
      28     2024).
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      1      requested national remedies for these violations. This is not a hypothetical situation; this is a real
      2      government investigation into practices that affect workers across the country. The NLRB's
      3      involvement and its request for national remedies underscores the importance of Plaintifl"s claims
      4      and demonstrates that this lawsuit is not only about one individual's grievance but also about
      5      enforcing broader protections for workers. If this Court allows further arbitrary dismissals or grants
      6      Defendant undue procedural favors, the consequences would be far-reaching, directly impacting
      7      the lives of thousands of employees, and perpetuating unjust practices in the workforce. Kasten 7).
      8      Saint-Gobain Pefzrmance Plastics Corp., 570 F.3d 834, 844 (9th Cir. 2009).7

      9                H.     STATUTE OF LIMITATIONS TOLLING AND THE REASONABLE PERSON
      10                      STANDARD

      11
                      38.      Defendant argues that Plaintiff's private nuisance claim is time-barred, contending
      12
             that the statute of limitations began to run when Plaintiff knew of her injuries. Plaintiff disputes
      13
             this argument, asserting that the statute of limitations did not begin to run until February 2024,
      14
             when Plaintiff fully discovered the connection between her health issues and the facility's
      15
             emissions. The delayed discovery rule applies here, as Plaintiff could not have reasonably known
      16
             the full extent of the exposure earlier, particularly given the complex and secretive nature of
      17
             Defendant's operations.
      18
                      39.      California has adopted the delayed discovery rule and "because the federal standard
      19     under CERCLA is more generous than California law in tolling the statute of limitations when a
      20     plaintiff's discovery other claims is delayed, the federal commencement date preempts California's
      21     discovery rule." Mancini 7). Aerojet-Gen. Corp., 230 Cal.App.3d 1125, 1150, 281 Cal.Rptr. 827
      22     (1991). Under the federal discovery rule, the "California limitations period [does] not commence
      23     until Plaintiff[] knew or should have known of [his or her] claim." O'Comio4 311 F.3d at 1146. "A
      24     plaintiff knows or reasonably should know of a claim when he or she knows both the existence and
      25     the cause of his injury." Id. at 1147; see also Avila 7). Willi's Envtl. Remediation Trap; 633 F.3d 828,
      26
      27     7 ("The publicpoli@/ of protecting whistleblowers is to encourage employees to report unlawful activity and to protect
             them froni retaliation. Publicpolicy supports the enforcement of laws intended to protect eniployeesfroni retaliatory
      28     actions that hinder the ability to report unlawful conduct.")
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      1      841 (9th Cir.2011). Coppola 7). Smith, 935 F. Supp. 2d 993, 1030 (ED. Cal. 2013)
      2             40.      The Defendant's argument regarding the statute of limitations for Plaintiff's
      3      nuisance and IIED claims is flawed both factually and legally. First and foremost, the question
      4      before the Court is not whether Plaintiff herself should have discovered the source of the emissions
      5      but rather whether a reasonable person in Plaintiff's position would have been able to identify the
      6      source. This is a factual question that must be determined by a jury. The legal standard for tolling
      7      the statute of limitations, as established by both California law and federal precedent, is based on
      8      what a reasonable person should have known or discovered, not the plaintiff's personal diligence
      9      or awareness.
      10            41.      Plaintiff's claims in this case are not simply based on subjective awareness; rather,
      11     they are grounded in the objective standard of a reasonable person. As Plaintiff has detailed in her

      12     complaints, she made several complaints to multiple government agencies-agencies whose
      13     responsibility it is to investigate illegal emissions and dangerous environmental hazards. These

      14     agencies, including the U.S. Environmental Protection Agency (EPA) and the California EPA,

      15     undertook investigations into the potential sources of the chemical exposure but were unable to

      16     identify the origin of the emissions. This fact is pivotal to the Court's analysis: if these agencies,

      17     tasked with enforcing environmental laws and regulations, could not identify the source of the

      18     emissions after thorough investigations, it is unreasonable to hold Plaintiff personally liable for
             failing to identify the same source.
      19
                    42.      In essence, the argument the Defendant presents-accusing Plaintiff of failing to
      20
             conduct a reasonable investigation into the emissions-is flawed when compared to the
      21
             investigations conducted by the very agencies responsible for enforcing environmental laws. If the
      22
             Court were to adopt Defendant's argument and determine that Plaintiff was negligent in her
      23
             investigation, it would be unfair holding her to a higher standard than the government agencies that
      24
             could not locate the source of the emissions. It would imply that a random tenant in an apartment
      25
             complex, with no specialized knowledge or resources, should have known more about the source
      26
             of the hazardous emissions than the very federal and state agencies tasked with this responsibility.
      27
                    43.      This argument is further bolstered by the fact that the Plaintiff complained about
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      1      the chemical exposure to the appropriate authorities, the very agencies charged with investigating
      2      and responding to environmental hazards. The Defendant's attempt to dismiss the nuisance and
      3      IIED claims based on a purported failure to investigate by Plaintiff disregards these facts and
      4      overlooks the reality that the standard for tolling the statute of limitations is based on what a
      5      reasonable person would have known under the same circumstances. Given the inability of the EPA
      6      and California EPA to pinpoint the source of the emissions, there is no reasonable basis to claim
      7      that Plaintiff, in her role as a tenant, could have discovered the source sooner.
      8               44.   This district has denied a motion to dismiss without leave to amend even when the
      9      plaintiff received a letter from the U.S. EPA notifying them that drying cleaning activities caused
      10     PCE contamination of drinking water and wells, noting that the letter did not explain the exact
      11     source of the issue, did not confirm the plaintiff was definitely effected by the issue, and instead

      12     implied an investigation was underway. Coppola 7). Smith, 935 F. Supp. 2d 993, 1030-32 (E.D. Cal.

      13     2013).

      14              45.   Defendant asserts that the IIED claim is time-barred for the same reasons as the

      15     private nuisance claim. However, even if that was true, which it is not, Plaintiff contends that the

      16     statute of limitations did not begin to run until February 2024 when she discovered the true nature

      17     of her exposure and its potential impact on her health. Prior to this discovery, Plaintiff could not

      18     have reasonably feared the potential for cancer or other health issues. 57 Am. ]ur. Trials 395
             (Originally published in 1995).
      19
                      46.   In addition, this Court should also consider the impact of Plaintiff's Ultrahazardous
      20
             Activities strict liability claim, which was dismissed at the Defendant's request on discretionary
      21
             grounds. This claim, as well as the claims for nuisance and IIED, are closely intertwined with issues
      22
             of public safety and environmental harm.
      23
      24               I.   THE TAMNEY TERMINATION IN VIOLATION OF PUBLIC POLICY
                            CLAIM Is INEXTRICABLY LINKED TO PLAINTIFF'S TOXIC TORT
      25                    CLAIMS AND RESTS ON STRONG PUBLIC POLICY CONSIDERATIONS
      26
      27              47.   Defendant's efforts to sever the connection between Plaintiff's Tamney termination

      28     in violation of public policy claim and her toxic tort allegations-specifically those rooted in

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      1      Defendant's criminal environmental conduct at its factory-are fundamentally flawed and
      2      unsupportable under the law. Plaintiff's termination claim is grounded in retaliation for her being
      3      a victim of crime and for her involvement as a legislative witness, both of which arise directly from
      4      the same toxic emissions that are central to Plaintiff's toxic tort claims. Defendant's attempt to treat
      5      these claims as entirely distinct is not only legally untenable but also directly undermines the public
      6      policy protections afforded to employees who expose criminal conduct and advocate for public
      7      safety.
      8                48.   First, it is crucial to note that Defendant has never moved to dismiss the Tamney
      9      claim. This omission implicitly acknowledges that Plaintiff has sufficiently pled a violation of public
      10     policy, particularly with regard to retaliation for being a victim of Defendant's criminal conduct.
      11     The Defendant's factory, which is the focus of Plaintiff's toxic tort allegations, engaged in
      12     hazardous operations that resulted in significant harm to Plaintiff's health. In retaliation for
      13     Plaintiff's exposure to these dangers, and for her subsequent efforts to report and expose
      14     Defendant's unlawful activities, Defendant took negative employment actions, including Plaintiff's

      15     wrongful termination. Defendant's refusal to challenge this claim suggests recognition that

      16     Plaintiff's termination was a direct consequence of her victimization by Defendant's criminal

      17     actions.

      18               49.   However, in a contradictory maneuver, Defendant simultaneously argues that its
             criminal conduct at the factory is irrelevant to the employment claims. Defendant cannot credibly
      19
             maintain this position while acknowledging the harmful effects of its environmental violations,
      20
             which directly impacted Plaintiff's health and well-being. Defendant's attempt to disconnect its
      21
             unlawful operations from the retaliatory actions it took against Plaintiff is not only illogical but
      22
             demonstrates a fundamental misunderstanding of the law. If Defendant's activities at the factory
      23
             were indeed criminal, as Plaintiff alleges, and these activities caused harm to Plaintiff, it follows
      24
             that any adverse employment actions taken against Plaintiff due to her victimization by those very
      25
             criminal activities should be viewed as a violation of public policy.
      26
                       50.   Additionally, Defendant's arguments concerning the statute of limitations further
      27
             implicate the severity of its actions and the knowledge it had of Plaintiff's suffering. By asserting
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      1      that Plaintiff should have immediately discovered the source of the emissions based on building
      2      permits, Defendant is, in effect, admitting that it knew its operations were hazardous and capable
      3      of causing severe harm. If Defendant is to argue that it knew its factory operations could have deadly
      4      consequences, it simultaneously must accept the corollary that Plaintiff's retaliatory termination
      5      was directly tied to her exposure to Defendant's criminal conduct. The fact that Defendant
      6      harassed, retaliated against, and ultimately terminated Plaintiff after the very actions it now
      7      acknowledges as potentially deadly occurred further solidifies the inextricable link between
      8      Plaintiff's toxic tort claims and her employment retaliation claims.
      9             51.     Moreover, Defendant's attempt to isolate these claims fails to account for the
      10     broader legal framework that ties them together. Plaintiff's original Complaint included claims
      11     under the Bane Act, the Ralph Act, IIED, and RICO Act, all of which bridge the gap between the

      12     employment retaliation and toxic tort claims. These statutes explicitly recognize that unlawful

      13     employment actions, including retaliation for being a victim of a crime, are inherently connected

      14     to unlawful conduct that affects public safety and the well-being of employees. However, Plaintiff

      15     voluntarily refrained from repleading these claims in subsequent filings, based on the Court's May

      16     20 decision, which suggested that doing so might obviate the need for Defendant to file yet another

      17     motion to dismiss. Despite this, Defendant filed an additional motion to dismiss, and now, once

      18     again, seeks dismissal of claims it has already previously argued. This abuse of the procedural
             process is not only a violation of the Court's rules but also a direct affront to the public policy
      19
             considerations at stake, which include the protection of employees from retaliatory conduct and
      20
             the broader societal interest in upholding environmental laws.
      21
                    52.     Defendant's actions in this case are not simply an attempt to defend against
      22
             Plaintiff's claims-they are an attempt to evade accountability for criminal conduct and to
      23
             undermine a legitimate civil rights lawsuit. The public policy implications of this case are immense,
      24
             as allowing Defendant to continue its pattern of procedural abuse would not only deprive Plaintiff
      25
             of a fair opportunity to pursue justice but would also undermine the ability of future victims of
      26
             corporate misconduct to seek legal remedies. The public has a vested interest in ensuring that
      27
             employers cannot retaliate against employees who expose illegal or dangerous activities, especially
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      1      when those activities put public health and safety at risk. Allowing Defendant to continue to use
      2      technical arguments to dismiss well-pled claims related to its own criminal conduct would set a
      3      dangerous precedent, one that would embolden corporations to retaliate against victims of their
      4      own unlawful actions without fear of legal consequences.
      5
                     J.    TOLLING DUE TO FRAUD AND CONTINUING VIOLATIONS
      6
      7             53.     In addition to the discovery rule, Plaintiff also asserts that tolling is appropriate due

      8      to fraudulent concealment and continuing violations, which Defendant's own conduct directly

      9      supports. Defendant's acknowledgment of the unlawfulness, danger, and potential deadly

      10     consequences of its factory operations, coupled with its deliberate concealment of this knowledge

      11     from Plaintiff, forms the basis for Plaintiff's fraudulent misrepresentation claim. Defendant not
             only failed to inform Plaintiff of its hazardous activities, but it also intentionally suppressed the
      12
             truth about the source of the toxic emissions that severely harmed Plaintiff Defendant's actions in
      13
             this case amount to a fraudulent cover-up designed to prevent Plaintiff from learning that
      14
             Defendant was responsible for the very harm she suffered. Such fraudulent concealment tolls the
      15
             statute of limitations, as it would be patently unjust to allow Defendant to benefit from its own
      16
             egregious misconduct and subsequent attempts to hide the truth.
      17
                    54.     Defendant's admissions make clear that it was aware of its own dangerous and
      18
             unlawful activities, yet it chose to remain silent when Plaintiff sought answers about the source of
      19
             the harmful exposure. Plaintiff made Defendant aware of her exposure and subsequent harm as
      20
             early as September 2020, but Defendant deliberately failed to disclose to Plaintiff that its own
      21
             operations were the cause. This concealment was not merely an omission; it was a strategic attempt
      22
             to mislead Plaintiff and prevent her from discovering the truth, a fraudulent misrepresentation that
      23
             directly impacted Plaintiff's ability to pursue her legal claims. It would be a miscarriage of justice
      24
             to allow Defendant to benefit from this fraudulent concealment by arguing that the statute of
      25
             limitations has expired.
      26
                    55.     Moreover, as both parties agree that Plaintiff's Tamney claims are based on
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             Defendant's unlawful retaliation for Plaintiff's victimization by Defendant's criminal conduct, and
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      1      for Plaintiff's subsequent legislative actions in response to those harms, Plaintiff's claims also
      2      satisfy the requirements for tolling due to continuing violations. Defendant's ongoing illegal
      3      activities at its factory, and its continued retaliatory actions against Plaintiff, constitute a series of
      4      continuing wrongs that extend beyond the expiration of the statute of limitations. Both the
      5      retaliatory actions taken against Plaintiff and the environmental harm caused by Defendant's
      6      factory emissions constitute a continuing pattern of misconduct, further justifying tolling of the
      7      statute of limitations under the doctrine of continuing violations.
      8              56.      It is paramount to note that allowing Defendant to avoid tolling through its
      9      fraudulent conduct would not only result in an injustice to Plaintiff but would also violate public
      10     policy considerations. Plaintiff's claims arise from the very type of corporate misconduct that the
      11     law seeks to prevent, including criminal acts of witness intimidation and retaliation, wire fraud, and

      12     mail fraud. To permit Defendant to escape liability for such behavior would not only undermine the

      13     purpose of the statute of limitations but also embolden corporations to engage in similar cover-ups

      14     with impunity. Allowing Defendant to avoid tolling by concealing its actions would encourage

      15     corporate actors to exploit the procedural protections afforded by the statute of limitations as a

      16     shield for their wrongful conduct.

      17             57.      Moreover, public policy strongly favors the tolling of the statute of limitations in

      18     cases where fraud or continuing violations are involved, particularly when such violations directly

      19     affect public health, safety, and the rights of individuals. Plaintiff's claims are not isolated or
             theoretical-they represent actual harm to Plaintiff, as well as to a broader group of affected
      20
             individuals. The Defendant's actions not only harmed Plaintiff but also violated the public trust by
      21
             subjecting thousands of individuals to dangerous emissions and retaliating against those who
      22
             sought to expose this harm. The interests of justice demand that Plaintiff's claims proceed, and
      23
             that Defendant be held accountable for its ongoing and fraudulent misconduct. " Tort actions which
      24
             properly state a claim on the pleaaings are snjjicient as against motions to dismiss in actions alleging strict
      25
             liahilizji, frananlent misrepresentation, inter'rence with the plaintiffs properzj/ rights, and damages
      26
             resnltingfrom a trespass. " 35B C.].S. Federal Civil Procedure §833.
      27
                     58.      Plaintiff has continued to suffer from severe and debilitating health effects related
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      1      to the toxic exposures at the apartment complex adjacent to the Apple facility. After experiencing
      2      a recurrence of hair loss-similar to what occurred in 2020-2021-Plaintiff has sought medical
      3      attention and has begun to receive a diagnosis related to an unusual infection. The pathogen, which
      4      thrives in nitrogen-rich environments like those found in toxic waste dumps, appears to be the cause
      5      of Plaintiff's hair loss and other symptoms. During Plaintiff's time at the apartment complex, the
      6      physical manifestation of this pathogen was evident, and Plaintiff brought concerns to the property
      7      manager. At least one other tenant, a fellow Apple employee, also lodged complaints regarding the
      8      same observation.
      9             59.      Further investigation has revealed the presence of this pathogen on personal items
      10     such as hairbrushes and hairbands, which were not used following the initial hair loss incident and

      11     were preserved in storage. Despite Plaintiff's continued notifications to Apple about these findings,

      12     and the invitation extended to the company to participate in testing and analysis of the pathogens,

      13     Apple has failed to respond meaningfully and has instead made false allegations in relation to

      14     discovery while concurrently refusing to allow Plaintiff to contact ]udge Westmore. This ongoing

      15     exposure to harmful chemicals and pathogens continues to cause significant physical harm, which

      16     is exacerbated by Apple's refusal to acknowledge or address the severity of the situation.

      17            60.     It would be contrary to public policy to allow the statute of limitations to bar

      18     Plaintiff's claims while the full extent of the harm continues to be uncovered. Plaintiff has diligently
             investigated the ongoing physical harm caused by the toxic exposure, despite facing significant
      19
             personal and financial challenges, including crippling debt and limited resources. It is telling that
      20
             Plaintiff continues this investigation in good faith, seeking medical attention and pursuing a
      21
             diagnosis, while Apple-despite being continuously notified-has not participated in any way
      22
             other than through harassment and deflection. Apple's refusal to engage with the ongoing discovery
      23
             of harmful pathogens and its continued neglect of Plaintiff's serious health concerns further
      24
             underscores the importance of allowing the statute of limitations to be tolled during this period of
      25
             investigation. Denying such tolling would effectively prevent the full extent of Plaintiff's claims
      26
             from being heard and would undermine the public interest in holding companies accountable for
      27
             environmental violations that cause harm to individuals and the community at large.
      28
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      1               K. THE STANDARD FOR IIED CLAIMS AGAINST CORPORATIONS,
                             EMPLOYEES, AND EX-EMPLOYEES
      2

      3              61.      Apple argues that it cannot be held liable for IIED based on the actions of its
      4      employees, specifically citing the Plaintifl"s ex-employee status and the conduct of Appleseed, a
      5      former employee of Apple's Global Security division. However, California, New York, and
      6      Massachusetts law do not bar IIED claims against corporations, and there is no legal requirement
      7      that an ex-employee must have an ongoing employment relationship for such claims to proceed.
      8      Roby Q). McKesson Corp., 47 Cal. 4th 686 (2009);8 Murray 7). Oceanside Unaiea School Dis triez; 79 Cal.

      9      App. 4th 1338 (2000);9 Cole 7). Fair Oaks Fire Protection Dist., 43 Cal. 3d 148 (1987).10

      10             62.     The plaintifl"s allegations-including threats, harassment, exposure to harmful
      11     substances, and the orchestrated misconduct involving multiple employees acting under Apple's
      12     direction-go far beyond what is considered ordinary or even tolerable within the workplace. To

      13     dismiss this claim on the grounds that it is uncommon for such claims to survive a motion to dismiss

      14     would effectively establish a precedent that leaves individuals who are subjected to this level of

      15     corporate retaliation without recourse. It would suggest that only the most extreme cases of

      16     misconduct-where corporate involvement is irrefutable-are allowed to proceed, while the vast

      17     majority of employees subjected to less extreme, but nonetheless damaging behavior, would be left

      18     without remedy.

      19             63.      It is not uncommon for corporate misconduct, especially when coupled with

      20
      21     8 The California Supreme Court held that a claim for IIED could proceed based on the allegation that an
             employer subjected an employee to retaliatory and extreme conduct after the employee reported unlawful
      22     activities (in this case, the company's failure to follow regulations and concerns about corporate practices).
             While the Court ultimately focused on retaliation claims, it recognized that emotional distress claims could
      23     stem from the employer's extreme and outrageous conduct in retaliation.
             9 The court ruled that the plaintiff's IIED claim could proceed based on allegations that her employer had
      24     retaliated against her for whistleblowing on misconduct related to violations of the law and unsafe working
      25     conditions. The court found that the plaintiff's allegations of extreme behavior by the employer were
             suliicient to overcome a motion to dismiss. The plaintiff alleged that after she reported the misconduct, she
      26     faced severe emotional distress, which could potentially form the basis for an IIED claim.
             10 The California Supreme Court allowed the IIED claim to proceed, holding that the employer's alleged
      27     retaliation against a whistleblower could be extreme enough to support an IIED claim. The plaintiff alleged
             that after reporting the misconduct, she was subjected to threats, harassment, and other extreme behavior
      28     by her employer.
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      1      extreme retaliation, to cause employees to abandon their claims, either out of fear of further harm,
      2      loss of employment, or financial distress. This is exactly the objective of corporations who engage
      3      in these scorched earth tactics.
      4              64.      This creates a dangerous precedent where the conduct at issue-actions that are
      5      criminal in nature when perpetrated by individual actors outside of a corporate context-is allowed
      6      to be overlooked when committed by a corporation's agents and employees, especially when the
      7      corporation's management is complicit, if not actively directing, such behavior. It would effectively
      8      shield corporations from accountability for grave misconduct simply because it is rare for
      9      employees to persist in litigation against their former employers who have subjected them to such
      10     harmful actions.

      11             65.      There is an established legal precedent that allows individuals to bring IIED claims

      12     against their former employers when those claims arise from the employer's conduct or the
      13     conduct of its agents, even if those agents are former employees. See, et., MeGinn 7). Exec. O/wee of

      14     Energy 8 Envtl. A/airs, Civil Action No. 19-cv-11551-IT (D. Mass. Sep. 30, 2020);11 Jenkins 7).

      15     Yellowstone Props., I n . , 17-CV-7764 (VEC) (S.D.N.Y. Sep. 12, 2019);12 Vaughn Q). Amerieon Multi-

      16     Cinema, Inc., 09 Civ. 8911 (BS]) (S.D.N.Y. Sep. 14, 2010).13

      17             66.      Apple's motion to dismiss the Plaintifl"s claim for intentional infliction of emotional

      18
      19
      20
      21
      22     11 The court allowed the IIED claim to proceed. The plaintiff 's claim related to retaliation for whistleblowing
             and environmental issues, which was not dismissed at the motion-to-dismiss stage. The court acknowledged
      23     the serious nature of the allegations and permitted the IIED claim to survive initial scrutiny.
             12
                The plaintiff brought IIED claims alongside allegations of discrimination, hostile work environment, and
      24     whistleblower retaliation. The court allowed the IIED claim to proceed, finding that the allegations of
      25     harassment and retaliation, particularly in the context of whistleblowing, were sufficiently serious to warrant
             further legal examination.
      26     13 This case involved a claim of retaliatory termination under New York's Whistleblower Law, with the
             plaintiff also alleging IIED. The court allowed the IIED claim to proceed, rejecting the employer's motion
      27     to dismiss. The case involved retaliation after the plaintiff reported unsafe working conditions and other
             concerns. The court found that the plaintiff"l"s allegations of extreme and outrageous conduct were enough
      28     to survive a motion to dismiss.
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      1      distress (IIED) misrepresents both the nature of the allegations and the applicable legal standards.14*
      2      A fact issue will preclude the granting of a motion to dismiss the complaint when it has legal
      3      probative force as to a controlling genuine issue of material fact, with examples including: whether
      4      the defendant is an "employer" within the meaning of a particular statute; a question of respondeat
      5      superior; whether knowledge of the plaintiff's agent should be imputed to the plaintiff; reasonable
      6      reliance; or whether some act has been coerced.15
      7              67.      As established in the Complaint, the conduct at issue goes far beyond the
      8      downplayed version Apple provides in its motion. The Plaintiff has outlined severe, reprehensible
      9      actions directly tied to retaliation for whistleblowing activities, misconduct that was committed by
      10     Apple's employees and agents within the scope of their employment and as part of a business-
      11     related scheme to stifle protected activities.
      12             68.      Apple's argument relies on an unduly narrow and misleading interpretation of the

      13     law. If taken to its logical extreme, Apple's position would effectively prevent former employees

      14     from ever bringing claims for LIED-particularly in cases where, as here, the actions of the

      15     employer's agents were conducted at the behest of the employer and directly tied to business

      16     interests. If the law were to adopt Apple's view, it would nullify the ability of workers, including ex-

      17     employees, to seek recourse for harm caused by their former employers' misconduct, even when

      18     the actions in question are intentionally harmful and undertaken with malice.
                     69.      Further, Apple's argument presupposes that IIED claims should only be actionable
      19
             in the most extreme scenarios-namely when a CEO or high-level officer personally orders the
      20
             intentional infliction of emotional distress. This is a flawed and overly restrictive standard that
      21
             disregards both the legal principles underlying IIED claims and the realities of corporate
      22
      23
             14 Nnnou/e 7). United States, 974 F.3d 941 (9th Cir. 2020).-("Issue of whether policy considerations
      24     underlying government's delay in discovering and remediating hot spot of contaminated soil on Air Force
      25     radio relay station site were grounded in social, economic, and political policy involved fact questions that
             could not be resolved on motion to dismiss neighboring property owner's nuisance and trespassing claims
      26     against United States pursuant to Federal Tort Claims Act's (FTCA) discretionary function exception."
             is See e.g., McNair v. Lend Lease Trucks, Inc., 95 F.3d 325 (4th Cir. 1996); Southern Cross OversensAgeneies,
      27     Inc. v. Wash Kwong Shnbping Group Ltd., 181 F.3d 410 (3d Cir. 1999); EP/1/Iedsystefns, Inc. v. EehoCnth, Inc.,
             235 F.3d 865, 48 Fed. R. Serv. 3d 540 (3d Cir. 2000); Gnzehling 7). Wllnge ofLomI9nrei, Ill., 58 F.3d 295, 11
      28     A.D.D. 378 (7th Cir. 1995).
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      1      operations, where such conduct is often carried out by employees and agents of the corporation, at
      2      the direction of corporate leaders or to further corporate goals. Labor-management disputes and
      3      civil rights cases also utilize the conspiracy doctrine. § 1233 Statement of Particular Matters -
      4      Conspiracy, 5 Fed. Prac. & Proc. Civ. §1233 (4th ed.)16
      5               L.    THE "INTENT" FOR IIED - FEAR OF CANCER Is DEFINED IN
      6                     F1RESTONE.
      7
                     70.      In addition to the distressing harassment and retaliation directed by Apple and its
      8
             agents, it is essential to understand that the plaintiff's claim of emotional distress arises from the
      9
             profound physical harm caused by Apple's illegal semiconductor fabrication facility. Contrary to
      10
             Apple's attempt to minimize the plaintiff's suffering to vague and inconsequential symptoms, the
      11
             plaintiff experienced severe, life-threatening medical issues as a result of exposure to the toxic
      12
             emissions from the factory. These issues are well-documented in medical records, including
      13
             laboratory tests, cardiology and dermatology visits, MRI scans, and physical evidence of tumors
      14
             and growths, which required surgical removal. The plaintiff's heart rate and blood pressure were
      15
             dangerously affected, arrythmia was detected, and numerous other serious health problems,
      16     including burns and rashes, were caused by Apple's environmental misconduct.
      17             71.      Apple's motion to dismiss attempts to downplay the plaintiff's extensive and
      18     documented medical issues resulting from exposure to the toxic emissions at its illegal
      19     semiconductor fabrication facility. The plaintiff did not simply experience vague symptoms of
      20     dizziness, as Apple would like the court to believe; rather, the evidence overwhelmingly supports
      21     that the plaintiff suffered severe, life-threatening health issues directly linked to the factory's
      22     environmental violations. The plaintiff's medical records, spanning numerous specialists and
      23     diagnostic tests, paint a clear picture of the physical devastation caused by Apple's reckless actions.
      24             72.     The plaintiff's heart rate dramatically slowed, as captured on an Apple Watch, and
      25
      26
             16 See, e.g., Rodriguez 7). Bar-S Food Co., 539 F. Supp. 710 (D. Colo. 1982) -- A complaint filed by members
      27     of a union local alleging that the former employer, the former employer's parent corporation, and the
             successor employer conspired to deprive the members of their rights was sufficient to state a civil
      28     conspiracy claim.
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      1      arrythmia was confirmed by heart monitor logs, with blood pressure spikes and volatility
      2      documented through 24-hour blood pressure monitors and at-home readings. Dermatology records
      3      show severe burns and rashes, accompanied by photographic and video evidence of these
      4      conditions. Tumors and growths, which were discovered through ultrasound and MRI scans,
      5      required physical removal via surgery. These symptoms were not a result of mere dizziness but the
      6      direct and dangerous impact of toxic chemical exposure. Apple's attempt to minimize or dismiss
      7      the severity of these issues is not only a distortion of the facts, but an offensive attempt to downplay
      8      the catastrophic harm it has caused to the plaintiff This disregard for the plaintiff's well-being
      9      further underscores the malicious intent behind Apple's actions, which are central to the plaintiff's
      10     claims of intentional infliction of emotional distress.

      11            73.     Apple's argument that the plaintiff must plead that Apple specifically knew the
      12     plaintiff was in the apartment at the time the harmful chemicals were released, with the intent to

      13     harm the plaintiff, is a misreading of both the law and the allegations in this case. The applicable

      14     legal standard for an IIED claim involving fear of cancer, as articulated in Firestone 7). Southern

      15     CoZ Jrnio Gas Co., does not require the plaintiff to establish that the defendant had specific

      16     knowledge of the plaintiff's location or was actively targeting the plaintiff Instead, the focus is on

      17     whether the defendant's conduct was so extreme and outrageous that it could reasonably be

      18     expected to cause emotional distress to someone in the plaintiff's position-someone who was
             exposed to a dangerous and toxic environment as a result of the defendant's actions.
      19
                    74.      In Firestone, the California court clarified that the standard for IIED in such cases
      20
             does not require a specific intent to harm the plaintiff, but rather the knowledge that a person like
      21
             the plaintiff-someone living in close proximity to the release of toxic chemicals-would be
      22
             exposed to the harmful substance. The law recognizes that if a defendant's actions are outrageous
      23
             enough to expose individuals to toxic substances, and the defendant knew that such exposure would
      24
             cause harm or fear, the defendant can be held liable for the emotional distress that results.
      25
                    75.     Apple's argument also mischaracterizes the judge's prior ruling. While the Court's
      26
             order may have been unclear, the law is clear that the plaintiff need not prove that Apple specifically
      27
             targeted the plaintiff in order to satisfy the IIED standard. Instead, it is enough to plead that Apple
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      1      knew its actions-releasing toxic chemicals into the environment where the plaintiff lived-would
      2      expose individuals like the plaintiff to harm and emotional distress. This is consistent with
      3      California law, which does not impose a requirement for specific targeting of the plaintiff, but rather
      4      focuses on the outrageousness of the conduct and the foreseeability of harm.
      5              76.     To the extent that Apple now claims that the higher standard of specific intent
      6      applies, this is a misinterpretation of both the facts and the legal standard. The plaintiff has alleged,
      7      and will continue to prove, that Apple's conduct was outrageous, reckless, and directly linked to
      8      the distress caused by the toxic exposure, which resulted in ongoing emotional harm, including the
      9      well-founded fear of developing cancer. Apple's insistence on a higher standard of intent is
      10     misplaced and does not align with the principles outlined in California law.

      11             77.     The plaintiff's IIED claim cannot be viewed in isolation from the broader context

      12     of Apple's conduct, which involves a sustained and escalating campaign of harm that began with

      13     the company's actions leading to the plaintiff's near-death exposure to toxic emissions at its illegal

      14     factory. Apple's actions in nearly killing the plaintiff through its reckless environmental violations

      15     created a life-threatening situation, the effects of which are compounded by its subsequent

      16     retaliation, harassment, and firing. What would have been egregious conduct on its own is

      17     magnified exponentially by the knowledge that Apple had already inflicted catastrophic harm on

      18     the plaintiff's physical and mental well-being.
                     78.     If a normal person were to realize that their actions had nearly caused someone's
      19
             death, a reasonable response would be to express genuine concern for the victim's well-being, offer
      20
             to make amends, and assure that such an event would never happen again. Instead, Apple's
      21
             response has been to escalate the harm. Rather than attempting to reconcile, provide restitution,
      22
             or even acknowledge the magnitude of its misconduct, Apple retaliated by firing the plaintiff,
      23
             ruining their reputation, and causing further emotional distress through the abusive actions of its
      24
             agents. In their motion to dismiss, Apple attempts to downplay these actions, trivializing the gravity
      25
             of the situation and dismissing the plaintiff's pain, which only serves to highlight the intentional
      26
             nature of their misconduct. Apple's actions reflect an awareness that they had already caused
      27
             irreparable harm, but instead of taking responsibility or showing remorse, they continued to act
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      1      with cruelty and indifference, compounding the distress caused by their previous actions.
      2               79.   The intentionality of Apple's conduct is evident in the way it escalated its harmful
      3      behavior, knowing full well the profound physical, emotional, and professional damage it had
      4      already inflicted. This pattern of abuse demonstrates that the harm was not accidental, nor was it
      5      simply a response to an isolated event. Instead, it is clear that Apple has actively sought to
      6      perpetuate and deepen the distress caused to the plaintiff, which strengthens the basis for the IIED
      7      claim.
      8               80.   In conclusion, the plaintiff has sufficiently pleaded that Apple knew or should have
      9      known that its conduct would expose the plaintiff to harm and emotional distress. To require a
      10     pleading standard higher than that set forth in Firestone is not only unnecessary but also contrary

      11     to established law governing IIED claims in the context of toxic exposure.

      12               M. THE PLA1NTIFF'S ALLEGATIONS OF IIED ARE NOT ONLY
      13                   PLAUSIBLE, BUT DEMONSTRABLY SEVERE

      14
                      81.   Apple continues to argue that the Plaintiff's allegations fail to meet the threshold
      15
             for IIED, asserting that the actions described do not constitute "outrageous" conduct under the
      16
             applicable legal standard. However, as previously detailed, the conduct at issue is precisely the type
      17
             of outrageous conduct that courts have held actionable in IIED claims.
      18
                      82.   Moreover, Apple's failure to take any corrective action after being made aware of
      19     the conduct suggests an intentional disregard for the Plaintiff's rights and well-being. The failure
      20     to intervene or act in response to such extreme misconduct reinforces the Plaintiff's claim that
      21     Apple's conduct was not merely negligent but intentional and intended to cause harm in
      22     furtherance of Apple's broader strategy to silence the Plaintiff Apple's argument that these acts
      23     were isolated or unintentional is unpersuasive and ignores the broader context in which these
      24     actions occurred, specifically the coordinated campaign of retaliation orchestrated by Apple against
      25     a whistleblower.
      26              83.   Further, Apple's attempt to dismiss Plaintiff's legitimate concern for her eight-
      27     pound dog's health due to the environmental hazards caused by its operations is not only a
      28     misguided interpretation of the law but also an attempt to censor Plaintiff's real-life anxieties
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      1      caused by Defendant's conduct. The notion that Plaintiff should not be allowed to express worry
      2      over the potential harm to her beloved pet is an affront to the fundamental principles of justice and
      3      the ability of a litigant to fully articulate the emotional, psychological, and real-life consequences of
      4      a defendant's wrongful actions.
      5              84.     Plaintifl"s concern about the potential harm to her dog, including the fear that her
      6      pet may develop cancer due to the toxic environment caused by Apple's operations, is not merely
      7      a trivial complaint. It is a direct response to the pervasive environmental hazards Apple has
      8      knowingly inflicted on Plaintifl"s surroundings. Apple's attempt to dismiss this concern by framing
      9      it as "irrelevant" or "unreasonable" is a transparent effort to downplay the serious impact of their
      10     environmental violations on both Plaintiff and her pet. The anxiety caused by exposure to toxic
      11     substances is valid and real, and it is precisely the kind of harm that Plaintiff is entitled to bring

      12     before the court.

      13             85.     California law and policy acknowledge that the legal rights of pet owners extend

      14     beyond the mere ownership of an animal as property. Under California law, pets are regarded as

      15     more than just property. While animals may still be classified as property in certain contexts,

      16     California courts have recognized the emotional value pets provide to their owners, and the harm

      17     that comes from seeing them injured or threatened by negligence. In cases involving harm to pets,

      18     courts have allowed pet owners to seek compensation not only for the cost of veterinary care but
             also for the emotional distress caused by the harm to their animals.
      19
                     86.     In Crosby Q). L.A. County, 124 Cal.App.4th 1151 (2004), for example, the court
      20
             acknowledged that the "emotional distress so/ared by the owner ofan animal is compensable when the
      21
             animal is harmed or killed dne to negligence or other wrongful acts." Furthermore, California's Civil
      22
             Code Section 3340 allows pet owners to seek damages for the wrongful killing of their animals,
      23
             reflecting the recognition of pets as beings of emotional importance to their owners. While this
      24
             statute does not specifically address the worry or anxiety caused by the fear of future harm to a pet,
      25
             it sets a broader precedent for the legal recognition of emotional distress claims related to pets.
      26
                     87.     Therefore, Plaintifl"s concern for her dog is not an extraneous or irrelevant matter
      27
             to be discarded. It is rooted in legitimate anxiety over the potential health consequences resulting
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      1      from Defendant's conduct. Plaintifl"s claim is not a vague or speculative complaint-it is a direct
      2      consequence of the toxic emissions and the emotional toll caused by Apple's hazardous actions.
      3      Dismissing these claims would effectively silence Plaintifl"s real-life concerns and the emotional
      4      harm she suffers as a result of Defendant's environmental misconduct.
      5             88.     Furthermore, Apple's motion under Rule 12(b)(6) or 12(f) is inappropriate for
      6      striking such claims. Rule 12(b)(6) motions are designed to address the legal sufficiency of claims,
      7      not to determine the emotional or psychological impacts of a defendant's conduct on the plaintifl"s
      8      personal life. Rule 12(f) motions, which seek to strike certain allegations from a pleading, are
      9      equally inappropriate here, as Plaintifl"s concern for her dog is not "immaz'eriaZ," "impertinent'," or
      10     "scandalous" It reflects the real-life consequences of the Defendant's actions. Plaintifl"s emotional

      11     distress, including worry about her pet's health, is a relevant and legitimate claim of harm that

      12     should not be dismissed or struck from the record.

      13            89.     Apple's motion to dismiss Plaintifl"s concerns about her dog's potential harm

      14     should be denied. Plaintiff has every right to bring forward the emotional and psychological impact

      15     of Defendant's actions, including the distress caused by fear for her pet's health. Apple's effort to

      16     downplay or censor these concerns is both legally unsound and a violation of Plaintifl"s right to

      17     fully present the scope of the harm caused by Defendant's conduct.

      18            90.     Apple also seeks to minimize the role of Appleseed in the harassment campaign and
             underlying events, disregarding the fact that Appleseed's actions were carried out within the scope
      19
             of her employment, under Apple's direction, and with Apple's full knowledge. Appleseed, as a
      20
             member of Apple's Global Security team, had a professional mandate to prevent "leaking" and
      21
             protect corporate interests, which included retaliating against individuals who engaged in
      22
             whistleblowing activities that might harm Apple's business interests. This crucial context-now
      23
             bolstered by the Plaintifl"s new evidence of coordinated misconduct-further supports the
      24
             Plaintifl"s IIED claim against Apple.
      25
                    91.     Apple's attempt to dismiss the IIED claim without addressing the pattern of
      26
             retaliatory actions that have now been thoroughly documented-conduct that includes the
      27
             wrongful and intentional use of explicit images as an alleged justification for the Plaintifl"s firing-
      28
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      1      reveals the corporate malfeasance at the core of this case. It is apparent that Appleseed's actions
      2      were carried out with the knowledge and support of Apple and were designed to achieve the
      3      corporate aim of retaliating against and punishing the Plaintiff for engaging in protected
      4      whistleblowing activities. (See Motion to Amend).
      5
                        N. TOLLING & SCOPE oF CAL. LABOR CODE CLAIMS:
      6
      7             92.     Defendant claims that Plaintiff's § 1102.5 retaliation claim is time-barred because

      8      Plaintiff did not allege equitable tolling. However, Plaintiff filed a complaint with the California

      9      Department of Industrial Relations (DIR) in August 2021, which tolled the statute of limitations

      10     for this claim. The DIR complaint sufficiently put Defendant on notice of Plaintiff's retaliation

      11     claims, which involved reporting workplace safety violations and environmental hazards.
             Defendant also argues that the DIR complaint did not provide sufficient notice to Defendant
      12
             regarding the specific legal violations now alleged in this lawsuit. This argument is without merit,
      13
             as Plaintiff's DIR complaint referenced workplace safety and environmental concerns that directly
      14
             relate to the statutory protections under §1102.5.
      15
                    93.     Apple's argument that the plaintiff's § 1102.5 claim is barred by the statute of
      16
             limitations due to the DIR complaint allegedly not providing notice of the specific legal violations
      17
             now referenced in the current lawsuit is not only factually incorrect but also legally unsupported.
      18
             The law clearly provides that the filing of a complaint with the California Department of Industrial
      19
             Relations (DIR) tolls the statute of limitations for claims related to retaliation, including claims
      20
             under §1102.5, as long as the claim is related to the general subject matter of the DIR complaint.
      21
                    94.     This tolling provision is designed to allow an employee to seek redress through the
      22
             proper administrative channels without the risk of losing their rights due to technicalities. The
      23
             plaintiff filed a timely complaint with DIR in August 2021, and the failure of the agency to
      24
             investigate within a reasonable time frame is not the plaintiff's fault, nor does it negate the tolling
      25
             effect. In this case, when the plaintiff was forced to remove the complaint to federal court due to
      26
             the substantial delays at DIR, the tolling effect continued to apply to the claims filed in the current
      27
             lawsuit.
      28
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      1             95.     Apple's contention that the tolling only applies to workplace safety claims is
      2      unfounded. The law does not limit tolling to a narrow interpretation of the complaint's subject
      3      matter. The filing of the DIR complaint placed Apple on notice of the general allegations of
      4      retaliation for raising concerns about workplace safety and other related matters, including anti-
      5      retaliation provisions, privacy violations, and other forms of discrimination. The plaintiff's claims
      6      in the current lawsuit are simply a more detailed and formal articulation of the same core facts and
      7      concerns raised directly to Apple in 2021, and to multiple agencies over the last three years.
      8             96.     The fact that the plaintiff's complaint now includes specific references to additional
      9      laws, such as the NLRA, the Civil Rights Act, and other relevant statutes, does not change the fact
      10     that Apple was already put on notice of the retaliation allegations when the DIR complaint was
      11     filed. Apple cannot claim surprise over these specific allegations, as the core of the claims has been

      12     consistently communicated, both before and after the removal of the case to federal court.

      13            97.     Regarding Apple's repeated claims of lack of notice, it is important to emphasize

      14     that a 12(b)(6) motion must be evaluated based on the current complaint in the current lawsuit, not

      15     on any previous filings or complaints the plaintiff may have made in the past. The defendant's

      16     challenge to the claims should be directed at the allegations in the operative complaint, not at any

      17     perceived deficiencies in prior complaints or investigations. Apple's continued attempts to dismiss

      18     claims based on a misunderstanding of the statute of limitations, as well as their argument that the
             plaintiff's current allegations are "new," ignore the fundamental principle that the current lawsuit
      19
             is based on the facts and claims that have already been brought to their attention through detailed
      20
             memos, emails, and formal filings-most notably, the issue confirmation sent to Apple's legal and
      21
             employee relations departments in August 2021.
      22
                    98.     Moreover, Apple's claims that the NLRA and Department of Labor cases are " new"
      23
             to them are similarly disingenuous. These actions were filed simultaneously with the DIR
      24
             complaint in August 2021, and Apple's legal team filed a notice of appearance in the NLRA case
      25
             just days after the complaint was filed. Apple's argument that these claims were somehow not
      26
             included in their notice process is without merit. If Apple's legal theory were correct, the test for
      27
             notice would not be whether the defendant has been properly informed of the claims in the current
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      1      lawsuit, but rather whether every single attorney and law firm representing the defendant has been
      2      personally notified of every single previous complaint and case ever filed by the plaintiff This is an
      3      absurd standard and would effectively nullify the legal process as we know it. Instead, the proper
      4      test is whether the defendant was on notice of the claims in the current lawsuit, which is plainly the
      5      case here.
      6             99.      Plaintiff's claim under § 98.6 is similarly not time barred. Plaintiff filed the DIR
      7      complaint, which tolled the statute of limitations for this claim. Defendant's argument that Plaintiff
      8      failed to establish causation is also without merit. Plaintiff's claims are based on retaliation for her
      9      protected activities, including raising concerns about environmental hazards and workplace safety.
      10     Plaintiff has sufficiently alleged retaliation related to her protected wage disclosures under these
      11     provisions. Defendant's failure to intervene and address this retaliation does not absolve Defendant

      12     from liability under these statutes.

      13            100.    Apple's attempt to dismiss Plaintiff's Labor Code Section 98.6 claim for penalties,

      14     and the associated claims under Sections 232 and 232.5, reflects a fundamental misunderstanding

      15     of the factual basis of Plaintiff's claims and a deliberate effort to sidestep the core issues in this

      16     case. Apple suggests that the Section 98.6 claim is time-barred, despite clear evidence of ongoing

      17     retaliation that ties directly into Plaintiff's protected activities, including her interactions with

      18     social media, press involvement, and internal communications that Apple admits to monitoring.

      19            101.    First, Plaintiff's claim under Section 98.6 is not premised solely on the filing of a
             DIR complaint in 2021. Rather, it is rooted in a broader pattern of retaliation-both formal and
      20
             informal-that occurred well after the August 2021 complaint. This includes the Defendant's
      21
             surveillance of Plaintiff's social media, internal discussions about workplace safety, and the
      22
             company's retaliation following those activities. Apple is well aware of these activities. They
      23
             monitored Plaintiff's social media, interrogated her about her online posts, and later admitted to
      24
             doing so in internal communications. Apple cannot now claim ignorance about these retaliatory
      25
             actions, especially considering that the Defendant was actively engaged in the investigation of
      26
             Plaintiff's actions outside the workplace.
      27
                    102.     Apple also attempts to downplay the significance of the NLRB charge about pay
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      1      filed just seven days before Plaintiff was fired. This charge, which was reported in the press, and
      2      the subject of a Shareholder Proposal regarding unlawful confidential rules at the company, filed in
      3      Aug. 2021, directly pertains to the retaliatory conduct that Plaintiff faced for engaging in protected
      4      activities. Apple's suggestion that these events did not alert the company to the need for
      5      investigation is not only disingenuous but ignores the clear public record. Apple's own involvement
      6      with the press and its subsequent actions against Plaintiff only serve to underline the ongoing
      7      retaliation and the company's knowledge of Plaintiff's protected activities. The public nature of
      8      these events, including the press reports and the NLRB charge, demonstrates that Apple knew or
      9      should have known that its actions were retaliatory.
      10            103.    Apple further argues that the 2021 DIR Complaint could not have alerted them to

      11     investigate the facts underlying the Section 98.6 claim, but this is a mischaracterization of the

      12     timeline and the facts. The retaliation did not stop after the August 2021 DIR Complaint; instead,

      13     it escalated, with Plaintiff being subjected to further harassment, surveillance, and ultimately,

      14     termination. Apple's claim that the earlier complaint does not establish a nexus between the

      15     retaliatory actions and the Section 98.6 claims is unconvincing. Equitable tolling applies because

      16     Plaintiff's allegations involve a continuous pattern of retaliatory actions, not isolated events that

      17     ended with the filing of the 2021 complaint.

      18            104.    Moreover, Apple's argument that Plaintiff has not properly pled knowledge of her
             wage disclosures under Sections 232 and 232.5 is disingenuous. Plaintiff has clearly stated that she
      19
             openly discussed her wages on social media, which was actively monitored by Apple. In fact,
      20
             Apple's interrogation of Plaintiff about these conversations, and its knowledge of Plaintiff's social
      21
             media activity, directly links the retaliation to these disclosures. Plaintiff does not need to
      22
             demonstrate that Apple's executives specifically reviewed every social media post in real-time. The
      23
             key issue is that Apple knew, or had reason to know, about these disclosures and acted in direct
      24
             retaliation, as evidenced by the company's increased surveillance, and questioning of Plaintiff
      25
             about her online activities.
      26
                    105.    It is also critical to recognize that Apple's claim that Plaintiff failed to establish a
      27
             causal link between the disclosures and retaliatory actions is based on a selective reading of the
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      1      facts. The timeline is clear: Plaintiff posted about her wages, Apple surveilled her social media and
      2      Slack activity, Plaintiff was questioned about it, and then she faced retaliation, culminating in her
      3      termination. This sequence of events provides the causal link needed to support her claims under
      4      Sections 232 and 232.5. To claim that these disclosures and the resulting retaliation are
      5      disconnected is to ignore the plain facts that Apple itself created by actively monitoring Plaintiff's
      6      activities and engaging in retaliatory actions. Further, according to the second sentence of Rule
      7      9(b), malice, intent, knowledge, and other conditions of mind may be alleged generally."
      8             106.    Finally, Apple's argument that Plaintiff's claims are time-barred under Section 98.6
      9      is misplaced. The claim is not about the DIR complaint alone-it is about ongoing retaliation and
      10     retaliatory conduct that continues up to and beyond Plaintiff's termination. The one-year statute
      11     of limitations does not bar these claims because the actions Plaintiff complains of are part of an

      12     ongoing pattern of unlawful retaliation. The timeline of Plaintiff's retaliation claims, including the

      13     press reports, social media posts, and NLRB charge, make clear that these events occurred within

      14     the applicable time frame and that the retaliatory actions were not isolated to one single event or

      15     complaint.

      16            107.    Apple's attempt to dismiss these claims on the grounds of timeliness and failure to

      17     plead knowledge is not only legally flawed but also an attempt to evade responsibility for its

      18     retaliatory conduct. The evidence is clear: Apple knew of Plaintiff's protected activities, monitored
             her social media, and acted in direct retaliation. The claims under Labor Code Sections 98.6, 232,
      19
             and 232.5 are well-founded, timely, and supported by clear facts. Apple's motion to dismiss these
      20
             claims should be denied.
      21
                    108.    In response to Apple's baseless assertion that it lacked knowledge of Plaintiff's wage
      22
             disclosures, Plaintiff is filing a request for judicial notice of news articles published at the time,
      23
             which reported on the pay complaints and allegations. These articles are highly relevant, as they
      24
             were widely circulated and explicitly discussed Apple's compensation practices, making it clear
      25
      26
      27     17 §1241 Statement of Particular Matters-Fraud, Mistake, and Conditions of Mind, 5 Fed. Prac. & Proc.
             Civ. §1241 (4th ed.); Pieaaing Conditions of the Mina under Rule9(b): Repairing the Damage Wrought by
      28     IqbaL 41 Cardozo L. Rev. 1015 (2020).
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      1      that Defendant was aware of the issues raised publicly. Furthermore, Plaintiff could also submit
      2      additional evidence to establish Apple's knowledge of her wage disclosures, including screenshots
      3      of relevant Slack conversations, Twitter posts, and other communications where Plaintiff openly
      4      discussed her wage and defendant admitted to monitoring her social media. However, such
      5      evidence is not necessary to survive this motion-Apple's attempt to force a full evidentiary
      6      hearing at the motion to dismiss stage is nothing more than a tactic to complicate and delay the
      7      proceedings. This is precisely the type of issue that should be addressed during discovery, not
      8      prematurely in a Rule 12(b) (6) motion.
      9               O. ALLEGATIONS oF " N E W " ALLEGATIONS
      10
                    109.      Apple claims that Plaintiff's nuisance claim now contains new allegations unrelated
      11
             to the statute-of-limitations problem, particularly regarding Apple's conduct (e.g., the EH&S legal
      12
             matters and testing inspections, as well as Plaintiff's personal injury, including hives and yellowing
      13
             of clothing). These are not new allegations. They were in prior filings and are further elaborations
      14
             of facts previously presented in the case. If Apple attempts to exclude these as "new," they are
      15
             disregarding the fact that these allegations were always part of the factual basis supporting
      16
             Plaintiff's claims and directly discussed on prior filings. For instance, Plaintiff previously included
      17
             actual photographs of the yellowed clothes.
      18
                    110.    Defendant claims that Plaintiff has introduced new allegations in the amended
      19
             complaint that were not allowed by the Court's prior orders. Specifically, Defendant argues that
      20
             Plaintiff expanded the factual bases for her claims (e.g., new allegations of harm in the private
      21
             nuisance claim and expanded facts in the IIED claims). These amendments, however, were made
      22
             to clarify and address Defendant's prior motions and the Court's instructions. Plaintiff's
      23
             amendments do not introduce new legal theories or impermissible claims, and the allegations are
      24
             consistent with the original complaint. Therefore, the motion to dismiss based on unauthorized
      25
             amendments should be denied.
      26
                    111.    Apple claims Plaintiff added new statutory violations (environmental laws) that
      27
             were not part of Plaintiff's prior filings and that the Court only allowed you to amend to plead
      28
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      1      tolling. The inclusion of environmental violations isn't a new claim. Rather, Plaintiff's complaints
      2      about workplace safety and toxic emissions that were made well before the specific statutory
      3      references were clarified. These violations are not newly alleged legal grounds but are part of the
      4      broader set of complaints that have consistently been the foundation of Plaintiff's retaliation claim.
      5      Plaintiff's previous complaints, whether expressed in general terms or with more specificity, always
      6      referenced environmental concerns .
      7             112.     Apple's claim that Plaintiff has added new allegations in Plaintiff's post-termination
      8      IIED claim (such as impersonation on social media and additional attacks) should also be addressed.
      9      These are not new facts. They are details supporting Plaintiff's IIED claim based on Apple's
      10     continued harassment, which Plaintiff has consistently alleged. The fact that these attacks
      11     continued post-termination is crucial to understanding the ongoing harm Plaintiff has faced. If

      12     these instances were not detailed in the prior filings does not make them "new" but rather an
      13     important part of illustrating the continuation of the retaliatory conduct, which is relevant to

      14     Plaintiff's IIED claim. Further, most of these were noted in prior filings - but Plaintiff literally does

      15     not have the time to go back and find all of these references document them and report them to the

      16     court. If this litigation is a competition of who can dedicate the most resources to working on legal

      17     filings - the defendant will win, but that is not the point of lawsuits.

      18            113.     Apple claims the Plaintiff introduced entirely new examples of complaints Plaintiff
             raised (e.g., disparate impact of chemical exposure, safety concerns in 2021), as well as additional
      19
             adverse actions (e.g., failure to provide performance reviews, lack of safety responses, etc.). These
      20
             are not "new" allegations as they were in multiple prior complaints. Plaintiff cannot rebut all of these
      21
             false allegations against her without exceeding page limits and filing deadlines, which is certainly
      22
             one of the aims of Defendant making these accusations.
      23
      24              p.    CONCLUS1ON

      25
                    114.     Defendant's motion to dismiss should be denied in its entirety. Plaintif'l"s claims are
      26
             timely, legally sufficient, and supported by factual allegations that meet the required legal
      27
             standards. Defendant's arguments are based on incorrect interpretations of the law and facts, and
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      1      they improperly seek to resolve issues of fact at this early stage of the litigation. The claims should
      2      be allowed to proceed to discovery. For these reasons, Plaintiff respectfully requests that the Court
      3      deny Defendant's motion to dismiss and allow this case to move forward.
      4             115.     "Generally, questions of fact cannot be resolved or determined on a motion to
      5      dismiss a complaint for failure to state a claim on which relief can be granted. It is not for the court
      6      to weigh the evidence as fact-finding has no part in resolving a motion to dismiss for failure to state
      7      a claim. Accordingly, an action may not be summarily disposed of on a motion to dismiss where it
      8      involves a question of fact which should be heard and determined at the trial. The plaintiff is not
      9      taken to have consented to the determination of controverted questions of fact averred in the
      10     complaint in a summary manner or otherwise than by a formal trial." 35B C.].S. Federal Civil
      11     Procedure §853

      12            116.     Plaintiff respectfully asserts that she does not concede any argument made by the

      13     Defendant. While the Court may have noted that some of Plaintiff's points appear to merit further

      14     discussion, Plaintiff maintains that all of her claims are valid and deserving of full consideration.

      15     Plaintiffis a single individual, currently grappling with serious physical health issues, who has been

      16     given only two weeks to respond to yet another motion filed by a team of attorneys representing a

      17     well-resourced Defendant.

      18            117.     Furthermore, this case is already burdened by a docket of 149 entries, and the
             Defendant has not even filed a formal answer yet. It is critical that Plaintiff's case is heard in its
      19
             entirety, and she requests that the Court permit her to amend her complaint to address any points
      20
             on which the Court may find merit in the Defendant's arguments. This includes the concurrent
      21
             motion to re-add the RICO, Ultrahazardous Activities, Bane, and Ralph claims, which are central
      22
             to Plaintiff's allegations and to ensuring the full scope of her claims is presented. Plaintiff does not
      23
             consent to the conversion of any pending motion into a Rule 56 motion and instead demands a full
      24
             evidentiary hearing as provided to her by law.
      25
                    118.     "The importance of eitizen enforcement in environmental matters cannot be overstated.
      26
             Privateparties can helpjill the gap when government agencies lack the resources to pursue enforcement of
      27
             environmental laws, and ensure that violators of environmental regulations are held accountable." Natural
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      1      Resources Defense Council 7). Southwest Marine, In., 236 F.3d 985, 993 (9th Cir. 2000) .
      2
      3
      4      Dated: January 22, 2025.
      5
      6      Signature:
      7
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      9                                     \
      10
      11
      12     /s/ Ashley M. Gjovik
      13     Pro Se Plaints

      14
             Email: legal@ashleygjovik.com
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             Mailing Address: 2108 N St. Ste. 4553 Sacramento, CA, 95816
      16     Phone: (408) 883-4428
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             EXHIBIT E: U.S. EPA NOTICE oF VIOLATIONS




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                  Nanotechnology and Biotechnology)




                  Violation Type: 262.A - Standards Applicable to Generators of HW : General         Determined Date: 01/16/2024

                  Determined By: EPA                                                                 Return to Compliance Date: --

                  Responsible Agency: EPA                                                            Return to Compliance Qualifier:
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                  Citations
                         Citation     I                                                                  Description                                                                  I
                       262.l7(a)(5)(ii)    Mark or label its tanks with an indication of the hazards of the contents (examples include, but are not limited to, the applicable
                             (B)           hazardous waste characteristic(s) (i.e., ignitable, corrosive, react

                           262.11          Generators must determine if their solid waste is a hazardous waste

                       262.17(a)(5)(i)
                                           date each period of accumulation begins is marked and visible on each LQG container
                             (C)



                  Linked Compliance Monitoring                                                       Linked Enforcement Actions
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                            Citations
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                                       262.11             Generators must determine if their solid waste is a hazardous waste



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                                       262.17(a) (1)(iv)             Closed container during storage in LGQ CAA, with limited exceptions.



                            Linked Compliance Monitoring                                                         Linked Enforcement Actions
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                         Citation     I                                                                  Description                                                                  I
                       262.l7(a)(5)(ii)    Mark or label its tanks with an indication of the hazards of the contents (examples include, but are not limited to, the applicable
                             (B)           hazardous waste characteristic(s) (i.e., ignitable, corrosive, react

                       262.17(a)(5)(i)
                                           date each period of accumulation begins is marked and visible on each LQG container
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                            Citations
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                                    262.17(b)        If LQG accumulates for longer than 90 days, it is a storage facility, unless granted an extension



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                            APPLE INC                                                                                                      Related Reports
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                            RCRA (Resource Conservation and Recovery Act) ID: CAR000278176

                            FRS (Facility Registry Service) ID' 110001168254

                            Industry: 541715 - Research and Development in the Physical, Engineering, and Life Sciences (except
                            Nanotechnology and Biotechnology)




                            Violation T ype: 270.A- EPA Administered Permit Programs: the HW Permit           Determined Date' 08/17/2023
                            Program General Inf ormation                                                      Return to Compliance Date' --
                            Determined By: EPA                                                                Return to Compliance Qualifier:
                            Responsible Agency: EPA                                                           Violation Activity Location: CA



                            Citations
                                       Citation        1                                                              Description                                                                I
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                  APPLE INC                                                                                                     Related Reports

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                  RCRA (Resource Conservation and Recovery Act) ID: CAR000278176

                  FRS (Facility Registry Service) ID: 110001168254
                  Industry: 541715 - Research and Development in the Physical, Engineering, and Life Sciences (except
                  Nanotechnology and Biotechnology)




                  Violation Type: 262.B - Standards Applicable to Generators of HW: Manifest         Determined Date: 01/16/2024
                  Requirements Applicable to Small and Large Quantity Generators                     Return to Compliance Date: __
                                       EPA
                  Determined By:                                                                     Return to Compliance Qualifier:
                  Responsible Agency: EPA                                                            Violation Activity Location: CA


                  Citations
                       Citation    I                                                                  Description                                                                    I
                       262.20(3]        A generator who transports, or offers for transport a hazardous waste for offsite treatment, storage, or disposal (Tso), or a TSD facility
                          (1)           who offers for transport a rejected hazardous waste load



                  Linked Compliance Monitoring                                                       Linked Enforcement Actions
                        Compliance Monitoring Type          I      Agency      I      Date       I       Type of Action     I       Agency I        Date        I      Penalty
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                            APPLE INC                                                                                                       Related Reports
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                            RCRA (Resource Conservation and Recovery Act) ID: CAR000278176

                            FRS (Facility Registry Service) ID' 110001168254

                            Industry: 541715 - Research and Development in the Physical, Engineering, and Life Sciences (except
                            Nanotechnology and Biotechnology)




                            Violation T ype: 265.J - Interim Status Standards for Owners and Operators of     Determined Date' 01/16/2024
                            HW TSDs: Tank Systems                                                             Return to Compliance Date' --
                            Determined By: EPA                                                                Return to Compliance Qualifier:
                            Responsible Agency: EPA                                                           Violation Activity Location: CA



                            Citations
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                                              265.195(3)                       DAILY INSPECTION REQUIREMENTS



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                            FRS (Facility Registry Service) ID' 110001168254

                            Industry: 541715 - Research and Development in the Physical, Engineering, and Life Sciences (except
                            Nanotechnology and Biotechnology)




                            Violation T ype: 270.A- EPA Administered Permit Programs: the HW Permit           Determined Date' 01/16/2024
                            Program General Inf ormation                                                      Return to Compliance Date' --
                            Determined By: EPA                                                                Return to Compliance Qualifier:
                            Responsible Agency: EPA                                                           Violation Activity Location: CA



                            Citations
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                                       270.1(C)              O/O PERMIT AND POST»CLOSURE PERMIT REQUIREMENTS



                            Linked Compliance Monitoring                                                      Linked Enforcement Actions
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                            FRS (Facility Registry Service) ID' 110001168254

                            Industry: 541715 - Research and Development in the Physical, Engineering, and Life Sciences (except
                            Nanotechnology and Biotechnology)




                            Violation T ype: 265.BB - Interim Status Standards for Owners and Operators of Determined Date' 01/16/2024

                            HW TSDs: Air Emission Standards for Equipment Leaks                               Return to Compliance Date' --

                            Determined By: EPA                                                                Return to Compliance Qualifier:

                            Responsible Agency: EPA                                                           Violation Activity Location: CA



                            Citations
                                      Citation        I                                                              Description                                                                    I
                                    265.1063(b)(3)           CALIBRATION OFINSTRUMENTBYPROCEDURESSPECIFIEDIN REFERENCE METHOD 21



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                  APPLE INC                                                                                                    Related Reports

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                  FRS (Facility Registry Service) ID: 110001168254
                  Industry: 541715 - Research and Development in the Physical, Engineering, and Life Sciences (except
                  Nanotechnology and Biotechnology)




                  Violation Type: 265.CC - Interim Status Standards for Owners and Operators Determined Date: 01/16/2024
                  of HW TSDs: Air Emission Standards for Tanks, Surface impoundments and            Return to Compliance Date: __
                  Containers                                                                                         .             ..
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                  Determined By: EPA
                                                                                                    Violation Activity Location: CA
                  Responsible Agency: EPA


                  Citations
                       Citation      I                                                                Description                                                                       I
                       265.1083(C)       TANK, SURFACE IMPOUNDMENT, OR CONTAINER FOR WHICH ENTERING HAZARDOUS WASTE HAS AVERAGE VO CONCENTRATION AT

                           (1)           POINT OF ORIGINATION <500 PPMW; HOWVO CONCENTRATION SHALL BE DETERMINED; FREQUENCY OF REVIE



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                 BAY AREA Am OYALiTY
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     (/en/)
     A HEALTHY BREATHING ENVIRONMENT FOR EVERY BAYAREA RESIDENT
     District (/en/) / Rules & Compliance (/en/rules-and-compliance) / Compliance Assistance (/en/rules-and-compliance/compliance-assistance)
     Notices of Violations (/en/rules-and-compliance/compliance-assistance/notices-of-violations)
     Notices of Violation Issued (/en/rules-and-compliance/compliance-assistance/notices-of-violations/novs-issued)


       Notices of Violation Issued
          View Notices of Violation issued to facilities as part of the Air District's compliance and enforcement activities.




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       Announcement: Notices of Violation Web Tool

       The Air District is committed to vigorously and transparently               Press Release (/"'/media/files/communications-and-
       enforcing all air quality regulations to protect the health of Bay Area     outreach/publications/news-
       residents. To better inform the public of our enforcement activities,       releases/2023/novtable_230907_2023_O25-pdf.pdf?
       the Air District is providing this web tool so that members of the          rev=4bd7407dfddb4109ad178640935cee24&sc Lang=en) E (196 Kb
       public can access information about Notices of Violation that have
       been issued for facilities in their communities.
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                                                                                     LEARN MORE ->         (/en/news-and-events/page-resources/2023
                                                                                                                    news/090723-nov-table)



     The Air District conducts inspections to determine compliance with its Rules and Regulations (/en/rules-and-compliance/current-rules)~, applicable
     state and federal laws, and permit requirements.

     When the Air District discovers an air quality violation, it issues a Notice of Violation (/en/rules-and-compliance/compliance-assistance/notices-of-
     violations), or NOV. Facilities that are issued an NOV are required to take corrective action. In addition, the Air District will assess a monetary
     penalty as provided for under California Health & Safety Code sections 42402 through 42403.

     For significant penalties, the Air District notifies the public through press releases (/en/news-and-events/press-releases) and email notifications
     (Mps://www.baaqmd.gov/contact-us/sign-up-for-information#settlement sig           n), and by posting penalty agreements on its Penalties and
     Settlements (/en/news-and-events/penalties-and-settlements) web page.




                                                                                                                                                       ERVIII 106
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     The table on this page provides information on all NOVs issued by the Air District over the past five years. It can be used to find NOVs by facility
     name or location, and it specifies the regulation violated for each NOV. The current enforcement status of each NOV is also listed and will be
     updated as the enforcement process progresses.

     The various statuses are:
     Pending: The NOV has been issued, but the Air District has not yet collected a penalty or otherwise fully resolved the NOV. Note that "pending"
     does not necessarily mean that the violation is ongoing. If a violation has ceased, the status will still be "pending" until a penalty has been
     collected or the NOV has otherwise been resolved.
     Resolved: The NOV has been resolved through assessment of a penalty, referral to the district attorney or the US Environmental Protection
     Agency for prosecution, or other final resolution.
     Cancelled: Further investigation showed no violations occurred.
     No Further Action (NFA): No basis for penalty action (e.g., company has gone out of business).
     In cases where multiple NOVs are issued to the same facility, the Air District will sometimes resolve them together. Please note, the table does
     not indicate whether an NOV was resolved individually or as part of a multi-NOV resolution.



     Notices of Violation
           SEARCH & FILTERS        Collapse to hide search or filter options

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                           Issuance Date                                                     Name
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               9/12/2024                         A64216A                       Apple , Inc                     Santa Clara


                 Status                                       Facility                              Applicable Regulation
                  Pending                                     22839                                 2-1-301
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                                                                                                    event=963eaab9-9f56-4328-8671-
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               9/12/2024                         A64216B                       Apple , Inc                     Santa Clara


                 Status                                       Facility                              Applicable Regulation
                  Pending                                     22839                                 2-1-302
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               9/12/2024                   A64218A                        Apple , Inc                Santa Clara


                 Status                              Facility                            Applicable Regulation
                 Pending                             22839                               9-7-307.1
                 9/12/2024                           Site                                @adulation Details (/en/rules-and-
                  Penalty Amount @                   E2839                               compliance/current-rules?

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                                                     3250 Scott Boulevard                18fcO9504118).
                                                     Santa Clara, CA 95054-5054          Rule Language
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               9/12/2024                   A64219A                        Apple , Inc                Santa Clara


                 Status                              Facility                            Applicable Regulation
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                8/ 29/ 2024                  A64215A                     Apple , Inc                  Santa Clara


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                8/ 29/ 2024                  A64215B                     Apple , Inc                  Santa Clara


                  Status                               Facility                            Applicable Regulation
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     Related Links
     Hearing Board Meetingg(/en/about-the-air-district/hearing-board/agendas-reports-orders)

     Notices of Violation (/en/rules-and-compliance/compliance-assistance/notices-of-violations)

     Public Records (/en/contact-us/request-public-records).

          Last Updated: 7/79/2024




                  375 Beale Street, Suite 600
                   San Francisco, CA 94105
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             Ashley M. Gjovik, _ID
             In Propria Personal
             2108 N St. Ste. 4553
             Sacramento, CA, 95816
             (408) 883-4428
             legal@ashleygjovik.com


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

                                                          CAND No. 3:23-CV-04597-EMC
                                                          9th Cir No.: 24-6058


              ASHLEY M. GJOVIK, an individual,              PLA1NTIFF'S REQUEST FOR
                                                           ]UD 1C1AL NOTICE
                   Plaintiff,
                                                           In Support of Plaintiff's
                 vs.                                        Opposition to Defendant's
                                                           Motions to Dismiss
             APPLE INC. a corporation,
                            7
                                                            Motion Hearing:
                                                           Dept: Courtroom 5 (& Zoom)
                   Defendant.                              Judge: Honorable Edward M. Chen
                                                           Date: February 21, 2025
                                                            Time: 9AM PT




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(115 of 261), Page 115 of 261
                   Case 329989-b3\§8%Efln85/0?l38391e9l"FéHW' 859%83883805 ol,2a6g1e 2 of 27




       1      PLAINTIFF'S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF HER
        2                          CALIFORNIA LABOR CODE § 232 CLAIM
        3            l.      Plaintiff Ashley Gjovik, appearing pro se, respectfully requests that this Court take
        4    judicial notice of publicly available evidence demonstrating that Defendant Apple Inc. ("Apple")
        5    was aware of and engaged in retaliatory actions against Plaintiff for her legally protected discussions
        6    about employee pay, compensation disparities, and workplace organizing, in violation of California
        7    Labor Code §232. ]udicial notice is warranted under Federal Rule of Evidence 201(b), as the facts
        8    contained in these publicly available sources are not subject to reasonable dispute and are capable
        9    of accurate and ready determination from sources whose accuracy cannot reasonably be
       10    questioned.
        11           2       Plaintiff engaged in protected activity under California Labor Code § 232 by
             discussing pay equity and compensation issues on Apple's internal Slack channels, publicly on
       12
             Twitter, and in public news articles. At the same time, Apple was under intense public scrutiny
       13
             regarding pay transparency and equity issues. Yet, despite overwhelming evidence that Apple was
       14    aware of these discussions, Apple's attorneys at Orrick, Herrington & Sutcliffe LLP ("Orrick") have
       15    repeatedly argued that Apple had no knowledge of Plaintifl"s engagement in pay discussions and
       16    that Plaintiff cannot prove Apple was aware of such discussions. However, multiple publicly
       17    available sources contradict this assertion, including:
       18
             1.      TWITTER POSTS
       19
                     3.      Plaintiff posted extensively about Apple's pay transparency issues and organizing
        20
             efforts. [see Exhibit A]. Defendant has admitted that it investigated Plaintifl"s Twitter account as
        21
             part ofa purported "leak" investigation but now contradictorily claims it never reviewed Plaintifl"s
        22
             Twitter. Both of these claims cannot simultaneously be true.
        23
                     4.      Courts have recognized that information from social media platforms like Twitter
        24
             can be subject to judicial notice, particularly when the content's authenticity is not disputed and it
        25
             is publicly accessible.
        26
        27
        28
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              PL.'S REQ. FOR ]UD. NOT. IN SUPP. oF PL.'S OPP. | CASE No. 3:23-CV-04597-EMC
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                   Case 329989-b3\§8%Efln85/0?l38391e9l"FéHW' 859%83883806 ol,2a6g1e 3 of 27




        1           5.       The Ninth Circuit took judicial notice of information on publicly available websites,

        2    noting that such information could be accurately and readily determined from sources whose

        3    accuracy cannot reasonably be questioned. See, Daniels-Hall7). National Eanoation Association, 629
             F.3d 992, 998-99 (9th Cir. 2010). The court took judicial notice of publicly available social media
        4
             posts, recognizing that they could be accurately and readily determined from sources whose
        5
             accuracy could not reasonably be questioned. See, United States 7). Broil, 2019 WL 6463491, at *2
        6
             (C.D. Cal. Dec. 2, 2019).
        7
        8    11.     NEWS ARTICLES REPORTING ON PAY TRANSPARENCY
        9
                     AND EMPLOYEE ORGANIZING AT APPLE
        10           6.      Multiple reputable news organizations covered the issue of Apple's pay
        11   transparency and workplace organizing at the same time Plaintiff was engaging in protected activity.

        12   Many of these articles explicitly state that Apple was asked for comment regarding its employees'
             discussions about pay equity. [See Exhibit B].
        13
                    7.       Courts may take judicial notice of news articles to indicate what was in the public
        14
             realm at the time, though not necessarily for the truth of the matters asserted within them. The
        15
             Ninth Circuit held that courts "may take judicial notice of publications introduced to indicate what
        16
             was in the public realm at the time, not whether the contents of those articles were in fact true."
        17
             See, Von Sober 7). Norton Simon Museum ofArz' oz'Posoo?eno, 592 F.3d 954, 960 (9th Cir. 2010). The
        18
             court took judicial notice of newspaper articles as evidence of the information available to the
        19
             public. See, Rothman 7). Gregg; 220 F.3d 81, 92 (2d Cir. 2000).
        20
        21 111.      SIMULTANEOUS LITIGATION
        22           8.      At the exact time of Plaintifl"s protected activities, Apple's counsel at Orlick was
        23   also representing Apple in a high-profile pay equity lawsuit (Schultz Q). Apple Inc.) in state court. The
        24   existence of this litigation further undercuts Apple's assertion that it had no knowledge of pay-
        25   related discussions among its employees. [Exhibit C]. The same counsel are also currently
        26   representing Apple in another pay equity lawsuit, Jong 7). Apple Ina [Exhibit D].

        27

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       1              9.      Courts commonly take judicial notice of proceedings and filings in other courts,

        2    both within and outside the federal judicial system, if those proceedings have a direct relation to

        3    matters at issue. United States ex rel. Robinson Rancheria Citizens Council V. Borneo, Inc., 971
             F.2d 244, 248 (9th Cir. 1992): The Ninth Circuit stated that courts "may take notice of proceedings
        4
             in other courts, both within and without the federal judicial system, if those proceedings have a
        5
             direct relation to matters at issue." Rosales-Martinez V. Palmer, 753 F.3d 890, 894 (9th Cir. 2014):
        6
             The court took judicial notice of state court proceedings that were directly related to the federal
        7
             case at hand.
        8
        9    IV.       REQUEST FOR _IUDICIAL NOTICE
       10             10.     Under Federal Rule of Evidence 201(b), a court may take judicial notice of facts that
       11    are "not subject to reasonable dispute because they... can be accurately and readily determined from
       12    sources whose accuracy cannot reasonably be questioned." Courts routinely take judicial notice of
       13    publicly available news articles, court records, social media posts, and public company statements
       14    when they are relevant to matters at issue. See Daniels-Hall Q). Not'ZEduo. Ass'n, 629 F.3d 992, 998-

        15   99 (9th Cir. 2010) (taking judicial notice of information published on publicly accessible websites) ;
             Von Saber 7). Norton Simon Museum ofArz', 592 F.3d 954, 960 (9th Cir. 2010) (judicial notice of news
        16
             articles) .
        17
       18    Plaintiff respectfully requests that this Court take judicial notice of the following:
                   1. Publicly available news articles that confirm widespread media coverage of pay
        19            transparency and employee organizing at Apple.
        20         2. Plaintifl"s public Twitter posts discussing pay equity issues at Apple.
        21         3. Public records and filings from Schultz 7). Apple Inc., demonstrating that Apple and its legal
        22            counsel at Orrick were actively litigating a pay equity dispute at the same time Plaintiff was
        23            discussing the same issues internally and publicly.
        24            11.     These sources are reliable, publicly available, and not subject to reasonable dispute,
        25   warranting judicial notice under Federal Rule of Evidence 201(b). Given that Apple's legal position
        26   directly contradicts readily available public records and news sources, judicial notice is necessary
        27   to prevent Apple from benefiting from selective omissions and misrepresentations regarding its
        28   awareness of Plaintifl"s protected activities.
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               PL.'S REQ. FOR ]UD. NOT. IN SUPP. oF PL.'S OPP. | CASE No. 3:23-CV-04597-EMC
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        1    v.     CONCLUSION
        2           10. For the foregoing reasons, Plaintiff respectfully requests that the Court grant this
        3    Request for ]udicial Notice and consider the publicly available evidence in support of Plaintiff's
        4    California Labor Code §232 claim.
        5

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             Dated: ]an. 31, 2024.
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             Signature:
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        14
             /s/ Ashley M. Gjovik
        15   Pro Se Plaintiff
       16
        17   Email: legal@ashleygjovik.com
             Physical Address:
       18    Boston, Massachusetts
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        21   Phone: (408) 883-4428

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             Sacramento, CA, 95816
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             legal@ashleygjovik.com


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA

                                                               CAND No. 3:23-CV-04597-EMC
                                                               9th Cir No.: 24-6058


              ASHLEY M. GJOVIK, an individual,                   PLA1NTIFF'S REQUEST FOR
                                                                 ]UD 1C1AL NOTICE
                   Plaintiff,
                                                                In Support of Plaintiff's
                 vs.                                             Opposition to Defendant's
                                                                Motions to Dismiss
             APPLE INC. a corporation,
                            7
                                                                 Motion Hearing:
                                                                Dept: Courtroom 5 (& Zoom)
                   Defendant.                                   Judge: Honorable Edward M. Chen
                                                                Date: February 21, 2025
                                                                 Time: 9 AM PT




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       1     PLAINTIFF'S REQUEST FOR JUDICIAL NOTICE IN SUPPORT
        2    OF STATUTE OF LIMITATIONS TOLLING FOR CALIFORNIA
               LABOR CODE §§ 1102.5 AND 98.6/98.7 PENALTY CLAIMS
        3
        4    1.       INTRODUCTION
        5             1.     Plaintiff Ashley Gjovik, appearing pro se, respectfully requests that this Court take
        6    judicial notice of publicly available and government records demonstrating that Defendant Apple
        7
             Inc. ("Apple") was placed on notice of Plaintiff's claims under California Labor Code §§1102.5 and
        8
             98.6/98.7, and that Apple's current argument regarding statute of limitations expiration is
        9
             unsupported. ]udicial notice is warranted under Federal Rule of Evidence 201(b), as the facts
       10
             contained in these official records and publicly available sources are not subject to reasonable
       11
             dispute and can be accurately and readily determined from sources whose accuracy cannot
       12
             reasonably be questioned.
       13
       14    11.      FACTS SUBJECT TO JUDICIAL NOTICE
       15
                      2.     Apple now argues that Plaintif'l"s complaints to the California Labor Commissioner
       16
             and related agencies did not place Apple on sufficient notice of her claims, and therefore, Apple
       17
             asserts that the statute of limitations for her Labor Code §§1102.5 and 98.6/98.7 penalty requests
       18
             has expired. However, Apple's assertion is contradicted by extensive evidence, including Plaintif'l"s
       19
             multiple official complaints, internal communications with Apple, online public statements, and
        20
             the California Labor Department's determination that Plaintiff properly followed procedural
        21
        22   requirements.

        23
        24   Plaintiff requests judicial notice of the following:

        25     i.     Plaintiff's complaints and communications with the California Department of Labor

        26            - These records demonstrate that Plaintiff timely and sufficiently detailed her claims,
        27            including those under Labor Code §§1102.5 and 98.6/98.7, directly contradicting Apple's

        28            assertion that it was unaware of the nature of Plaintifl"s claims.
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       1       ii.      Plaintiff's online public statements about her claims - Plaintiff publicly discussed her

        2               protected activity, including the specific legal violations she was reporting, and these
        3               discussions were widely covered, further putting Apple on notice.
        4      iii.     California Labor Department's statements confirming Plaintiff followed the proper
        5               procedures - The agency's findings confirm that Plaintiff's complaints were procedurally
        6               sound and sufficient to toll the statute of limitations.
        7
        8    111.           LEGAL STANDARD
        9               3.      Under Federal Rule of Evidence 201(b), a court may take judicial notice of facts that

       10     are "not subject to reasonable dispute because they... can be accurately and readily determined from
       11 sources whose accuracy cannot reasonably be questioned." Courts routinely take judicial notice of
        12    administrative agency records, prior complaints, official government findings, and publicly
        13    available statements that are relevant to issues in litigation. See Reyna Pasta Bella, LLC 7). Visa USA,

        14    Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006) (holding that courts may take judicial notice of filings

       15     and decisions in administrative proceedings); Drevaleva 7). US. Dep'z* of Veterans Affairs, 835 F.
       16     App'x 221, 223 (9th Cir. 2020) (taking judicial notice of communications with a state labor
       17     department) .
       18
       19    Iv.        REQUEST FOR JUDICIAL NOTICE
        20    Plaintiff respectfully requests that this Court take judicial notice of:

        21              -    Plaintifl"s official complaints and communications with the California Department of

        22                   Labor demonstrating that Apple was on notice of her claims.

        23              -    Plaintifl"s public statements regarding her complaints and related media coverage.

        2;              -    The California Labor Department's procedural determinations confirming Plaintiff

        26                   followed proper channels.

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       1                 Apple's contradictory litigation positions regarding notice of claims, demonstrating that

        2                Apple selectively acknowledges or denies notice depending on what benefits its legal
        3                strategy.
        4           4.      These sources are reliable, official records and public statements that cannot
        5    reasonably be disputed, warranting judicial notice under Federal Rule of Evidence 201(b). Given
        6    that Apple's argument regarding statute of limitations is based on a selective and misleading
        7    characterization of the notice it received, judicial notice is necessary to prevent Apple from
        8
             benefiting from inconsistent arguments and bad-faith litigation tactics.
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       1     v.     CONCLUSION
        2           5.      For the foregoing reasons, Plaintiff respectfully requests that the Court grant this
        3    Request for ]udicial Notice and consider the publicly available and administrative records
        4
             demonstrating that Apple had sufficient notice of Plaintiff's claims, and therefore, its statute of
        5
             limitations                 argument               is                without                merit.
        6
        7
             Dated: ]an. 31, 2024.
        8
        9
        10   Signature:

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        13                           _
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        14
        15
             /s/ Ashley M. Gjovik
        16
             Pro Se Plaintiff
       17
       18    Email: legal@ashleygjovik.com
        19   Physical Address:
        20   Boston, Massachusetts
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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA

                                                               CAND No. 3:23-CV-04597-EMC
                                                               9th Cir No.: 24-6058


              ASHLEY M. GJOVIK, an individual,                   PLAINTIFF'S REQUEST FOR
                                                                 ]UDICIAL NOTICE
                   Plaintiff,                                    & OPPOSITION To
                                                                 DEFENDANTS' REQUEST FOR
                 vs.                                             ]UDICIAL NOTICE


             APPLE INC. a corporation,
                            7                                   In Support of Plaintiff's
                                                                 Opposition to Defendant's
                   Defendant.                                   Motions to Dismiss

                                                                 Motion Hearing:
                                                                Dept: Courtroom 5 (& Zoom)
                                                                judge: Honorable Edward M. Chen
                                                                Date: February 21, 2025
                                                                Time: 1:30 PM PT




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       1
                 I. NOTICE & _IUDICIAL NOTICE
        2
        3           1.      Plaintiff respectfully submits this response to Defendant's Request
        4    for ]udicial Notice of the City of Santa Clara's building permit portal. Defendant
        5    argues that because the building permits related to semiconductor fabrication
        6    tools were publicly available through the city's website, the Plaintiff should have
        7    known about the toxic emissions from the facility, and therefore, there is no basis
        8    for tolling the statute of limitations for the toxic tort claims. Plaintiff objects to
        9    the request for the following reasons.
       10           2.      "In ruling on a 12(b)(6) motion, a court may generally consider only
       11 allegations contained in the pleadings, exhibits attached to the complaint, and
       12 matters properly subject to judicial notice." Swartz 7). KPMG LLP 476 F.3d 756,
       13 763 (9th Cir. 2007) (Per Mariam) (citing Jacobson v. Schwarzenegger, 357 F. Supp.
       14 2d 1198, 1204 (C.D. Cal. 2004)). A court "may judicially notice a fact that is not
       15 subject to reasonable dispute because it" either (1) "is generally known within the
       16 trial court's territorial jurisdiction," or (2) "can be accurately and readily
       17 determined from sources whose accuracy cannot reasonably be questioned." Fed.
        in R. Civ. P. 201(b). Because Plaintiff does not object to the request for judicial
        20 notice and the documents are appropriate subjects of judicial notice, the Court
        21 grants Defendants' R]N.1 Wells v. Lakeview Loan Servicing, LLC, No. CV 23-4796
        22 PA (]pRx), 2023 WL 8254485, at *2 (C.D. Cal. Sept. 26, 2023).
        23
        24
        25
        26
        27   1 See, e.g., Re3/n'.v Pasta Bella, LLC 7). Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006)
             (court records); Harticon 7). U.S. Bank Trust, N A . , No. 2:18-CV-00277 KJM (DBx), 2019 WL
        28   1041330, at *3 (E.D. Cal. Mar. 5, 2019) (documents filed in county recorder's office).
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       1     11.     THE IIED CLAIM ACCRUES WHEN PLAINTIFF LEARNED
        2
                     OF THE EXPOSURE
        3            3.     First, the Defendant's argument regarding public access to building
        4    permit information is irrelevant to the accrual date for Plaintiff's IIED claim.
        5    Under California law, the statute of limitations for an IIED claim begins to run
        6    when the Plaintiff learns of the harm or injury. In this case, the IIED claim is
        7    based on the emotional distress caused by the discovery of the toxic exposure,
        8    which Plaintiff only became aware of in February 2024. The Plaintiff cannot have
        9    a claim for emotional distress related to chemical exposure when the Plaintiff was
        10   unaware of the exposure itself. Thus, the IIED claim did not accrue until February
        11
             2024, when Plaintiff was made aware of the extent of the harm caused by the toxic
        12
             emissions. This is the point at which the claim for IIED arises, and any suggestion
       13
             otherwise is without merit.
        14
       15 111.       DEFENDANT'S ARGUMENT REGARDING PUBLIC ACCESS
        16           TO BUILDING PERMITS IS WITHOUT MERIT
       17            4.     Defendant's argument about the public availability of building permit
       18 information is also flawed. First, Defendant's submission of documents obtained
       19 from the City of Santa Clara's website does not establish that the information was
        20 readily available in the form necessary for Plaintiff to understand the significance
        21 of the semiconductor fabrication tools. The documents submitted by Defendant
        22 were only retrieved today, and Defendant has not provided any evidence of what
        23 was available on the City's website in prior years-when Plaintiff was unaware of
        24 the toxic emissions from 3250 Scott. [See Exhibit A].
        25           5.     In order to properly respond to Defendant's argument, Plaintiff
       ii    would be required to introduce its own public records and evidence to demonstrate
        28 what information was available at relevant times. However, as a result of

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       1     Defendant's bad faith litigation tactics, Plaintiff's requests for such evidence were
        2    repeatedly denied by the court. The request for judicial notice should not be
        3    granted simply because Defendant claims that documents are publicly available.
        4            6.     The documents offered by Defendant do not resolve any legal
        5    question in this case. A request for judicial notice is appropriate only when a
        6    document can affirmatively answer a specific legal question. Here, the building
        7    permits do not answer the legal question of whether the Plaintiff was aware of the
        8
             toxic emissions in time to meet the statutory deadlines for filing a toxic tort claim.
        9
             However, in case Defendant's request is accepted, Plaintiff also includes the
        10
             instructions from the city website for requesting records, which says nothing about
        11
             the portal the Defendant points to, and in fact, directs people to the Public
        12
             Records Request portal instead. [Exhibit B].
       13
        14 Iv.       THE REASONABLE PERSON STANDARD IS A FACTUAL
       15            DETERMINATION, NOT A MATTER OF LAW FOR A
                     12(B)(6) MOTION
        16
       17            7.     Furthermore, the issue of whether Plaintiff, as a reasonable person,
       18    should have been aware of the toxic emissions from the facility is a question of
       19 fact, not an issue that can be resolved on a motion to dismiss. The reasonable
        20 person standard depends on the circumstances, which include the unique nature
        21 of semiconductor fabrication and the historical offshore outsourcing of such
        22 operations in the U.S. These facts must be explored through discovery, expert
        23 witness testimony, and other factual evidence, making it inappropriate to resolve
        24 this matter at the 12(b)(6) stage.
        25                                                     u
                     8.     Defendant's argument effectively asks the Court to rule on a factual
        26   0                 u               u      u   u        u      u         u             0
             issue that requires a deeper investigation into what information was available to
        27
             the Plaintiff and how a reasonable person in Plaintiff's position would have
        28
                                                              _ 3_
                 PL.'S REQ. FOR ]UD. NOT. IN SUPP. oF PL.'S OPP. | CASE No. 3:23-CV-04597-EMC
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       1     responded. The Court cannot make these factual determinations at this early
        2    stage, and judicial notice should not be granted on this basis.
        3
        4
             v.     PUBLIC AccEss To BUILDING PERMITS DOES NOT
                    RESOLVE THE QUESTION OF TOLLING FOR TOXIC TORT
        5           CLAIMS
        6           9.     As discussed in Plaintiff's Opposition to Defendant's Motion to
        7    Dismiss, Defendant is attempting to use the availability of building permits to bar
        8    tolling of the statute of limitations for toxic tort claims. However, if the Court
        9    were to accept Defendant's argument and deny tolling based on the public
       10 availability of building permits, it would have far-reaching consequences for
        i;   thousands of other victims who may have been harmed by similar toxic exposures.
       13 If a building permit search alone is enough to trigger the statute of limitations, it
       14 would unfairly bar individuals from filing their claims, as they may not have known
       15 the full extent of the harm or its cause until much later. Such a ruling would set
       16 an unfair precedent and would prevent many potential victims from seeking
       17 justice. The Court must consider the unique circumstances of this case and deny
       18 Defendant's motion to dismiss and request for judicial notice.
       19
          VI.       CONCLUSION
       20
       21           10.    For the reasons outlined above, Plaintiff respectfully requests that
        22 the Court deny Defendant's Request for ]udicial Notice and reject Defendant's
        23 argument that public access to building permits bars tolling of the statute of
        24 limitations for the toxic tort claims. Defendant's attempt to manipulate the facts
        25 and impose a standard that would have serious consequences for thousands of
        26 victims should not be allowed to succeed at this stage of the litigation.
        27          I verified the authenticity of each of these documents as described. A true
        28 and correct version of each document is attached. I declare under penalty of
                                                 _4_
              PL.'S REQ. FOR ]UD. NOT. IN SUPP. oF PL.'S OPP. | CASE No. 3:23-CV-04597-EMC
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        1    perjury this is true and correct.
        2
        3
             Dated: ]an. 31, 2024.
        4

        5
             Signature:
        6

       7
        8

        9                       Da-
                                         \
        10
        11
             /s/ Ashley M. Gjovik
        12   Pro Se Plaintiff
       13
       14 Email: legal@ashleygjovik.com
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                               Note
    20                          This calendar view maps the number of times https://aca-prod.accela.eom/santaclara/Default.aspx was crawled by
                                the Wayback Machine, not how many times the site was actually updated. More info in the FAQ.
    21
                                                                                                          FAO | Contact Us | Terms of Serviee (Dec 31, 2014)


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    23                                                                                            The Wayback Machine is an initiative of the Internet Archive, a 501(c)(3) non-proEt,

                                                                                         m1 building a digital library of Internet ates and other aulmral artifacts in digital form.
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              PL.'S REQ. FOR ]UD. NOT. IN SUPP. oF PL.'S OPP. | CASE No. 3:23-CV-04597-EMC
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                                  Request Public Records
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    6                             The City of Santa Clara understands and supports the public's right to access the public records created and
                                  maintained by the City during normal course of business, It is the goal of the City to provide service in a
                                  transparent manner, which includes timely access to requested records in accordance with the California

    7                              Public Records Act (CPRA) Government Code Sections 6250 to 6270. The public can inspect or receive a
                                  copy of any record unless the record is exempted from disclosure under the act,


    8                              Submit a Public Records Request Online
                                   Misit the Santa Clara NextRequest webpage to submit a public records request online.
    9
                                  Records Available Online
    10                                 Meeting_Agendas and Minutes


                                  To Request Public Records not available Online
    11                                 Police Department
                                           Come Reports (kg, crime report, domestic violence, arrest report, calls for service, etc), submit a
                                           request via the Police Public Records Request Online Portal
    12                                  o Traffic Collision Report, log onto LexisNexis or submit a request via the Police Public Records
                                           Request Online Portal
                                        o For any Police records not included above, submit a request via the Police Public Records Req
    13                                    Online Portal
                                        D For Police Department inquiries, contact the Records Unit at (408) 615-4700 or via email
                                          at records@santaclaraca.g4
    14                                  Fire Department
                                           Fer Flre Records, vi5it Clty of Santa Clara Flre Department or email flre®5antaclaracagg
    15                                 For all other City Department Records
                                          Submit a request via the Public Records Request Online Portal

    16
    17                                    Request in-person at City Clerk's Office, 1500 Warburton Ave . Santa Clara
                                        o Call the City Clerk's Office at 408-615-22208



    18                            Public Records Act Request Logs Archives
                                  For archives of Public Records Act Request Logs for all requests received in 2020, please see one of the links

    19
    20                             General Information about Public Records Requests
                                       Requests will be provided electronically for free, when possible.
    21                                 Paper copies are 10 cents per page plus postage costs
                                       There is no charge for inspecting records in person.
                                       Public records are open to in person inspection during regular City office hours, except for City Holidays,
    22                                 and subject to a rule of reason and must be consistent with the efficient functioning of City OMCI
                                       Advanced notice is not required however, records may be located off-site, require redaction of
                                       confidential information, and may require time to locate as they may be in multiple locations, so it is
    23                                 advisable to contact the city Clerk's Office to make sure records are available before arrival. If not
                                       immediately available, the City Clerk's office will set up an appointment for the inspection,
                                       In order to prevent records iron being lost, damaged or destroyed during inspection, City staff may
                                       determine the location of, and may monitor the inspection
    24

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    27   https://www.santaclaraca.gov/our-city/departments-a-f/city-clerk-s-
    28   office/request-public-records


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    1    City of Santa Clara


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    4                               The City of Santa Clara strives to support the public's right
                                    to access the public records created and maintained by the
                                                                                                                               3*
                                    City. It is our goal to provide service in a transparent and    Search 6016 requests and        Make a new public records request.
    5                               accessible manner, which includes timely access and in
                                    accordance with the California Public Records Act (CPRAf
    6                               The public can inspect or receive a copy of any record
                                    unless the record is exempted from disclosure under the


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              Ashley M. Gjovik, _ID
              In Propria Personal
              2108 N St. Ste. 4553
              Sacramento, CA, 95816
              (408) 883-4428
              legal@ashleygjovik.com



                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFQRNIA




              ASHLEY M. GJOVIK, an individual,             Case No. 3:23-CV-04597-EMC


                   Plaintiff,                              PLAINTIFF'S OPPOSITION TO
                                                           DEFENDANT'S EMERGENCY
                 vs.                                       MOTION TO DISMISS


                                                           Fed. R. Civ. P. 41(8)
              APPLE INC. a corporation,
                                7




                   Defendant.




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                   B.     FRCP Rule 41(b) dismissal requires a par Ty to fail to comply with a court order and a
       7
                   display of willful or contumacious conduct. ................................................................... 3
       8           C. Apple's counsel have also used similar fonts an formatting but also with single-spaced
       9           line abuse. .............................................................................................................. 9
       10          D. The delay caused by Plain tiff 's late filing was minimal. ........................................... 9
       11          E.      This court has issued orders to Plaiutiffwith requirements that exceed the Federal Rules
       12          of Civil Procedure requirements. ............................................................................... 10
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       1
       2                             POINTS & AUTHORITIES
       3          1.     Plaintiff, Ashley Gjovik, respectfully submits the following
       4    Memorandum of Points and Authorities in Opposition to Defendant's Motion to
       5    Dismiss and Motion for Shortened Time, at Docket No. 131 & 132. Defendant's
       6    Motions should be denied as they are improper and without merit.
       7
               II. IssUEs To BE DECIDED
       8
       9          2.     This court has to decide whether to grant Apple's motion for an
       10 emergency decision on their Motion to Dismiss with prejudice due to Plaintiff's
       11 failure to follow a court order. If this Court denies Defendant's motions, then the
       12 court must decide whether to give Apple an extension on filing their next response
       13 to the latest complaint.
       14          Plaintiff responds to both motions here, despite only being provided two
       15 days, in order to allow this court to quickly deny Defendant's motions and order
       16 them to respond to her complaint. Their request for an extension should also be
       17 denied due to unclean hands - though a two day extension from the original
       18 deadline, due to Plaintiff's delay, is fine.

       19    111. ARGUMENTS

       20         3.     Here, Defendant has filed two frivolous and harassing motions,
       21 accusing Plaintiff of misconduct and "malfeasance" for filing her complaint with
       22 a two day delay due to time needed to deal with manifestations of severe emotional
       23 distress intentionally caused by the Defendant, for changing the font she used in
       24 her filings back in ]uly 2024, for adjusting the spacing of lines in her filing, and
       25 for not including line numbers in her latest complaint.
       26
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               PL'S OPPOSITION To DE1='s EMERG. MOTION TO DISMISS l3:23-CV-04597-EMC
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       2                      Ashley M. Glavlk,]D
                             In Prnpnls Pcrsoua
                                                                                                                                                  SUMMARY OF THE CASE
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                             Sucramemn, CA, 95516
                             (468) Asa 4423

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                                            UNITED STATES DISTRICT Counr
       4                                    NORTHERN DISTRICT OF CALiFOiNiA


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       7                          vs.                            AMENDED COMPLAINT


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       12
       13                   Plain tiff's Fifth Amended Complaint in question.
       14
                   A. The cases Apple cites are not comparable.
       15
       16          4.    The handful of cases Apple cites for its motions are not relevant here .
       17 Apple cited Pozverteq, LLC 7). Moron, No. C-15-2626 MMC, 2016 WL 80558, at *1
       18 (N.D. Cal. ]an. 7, 2016) related to numbered lines, but the cite is to errata in a
       19 footnote of an unpublished case. Apple cited Monegas 7). City é5' Cmj/. of San
       20   Francisco Dep't of Pub. Health, No. 22-CV-04633-]SW, 2023 WL 5671933, at *2
       21 (N.D. Cal. Sept. 1, 2023), related to filing past a deadline, but in that case the
       22   court found there was no merit in the claims, the person failed to file the case
       23   within the time limit set for EEOC right to sue letters, and the person failed to
       24   plead a statute of limitations tolling theory.
       25         5.Apple cited Moscow# 7). 12 Telecom Int'l Ins., No. C-03-5784 VRW,
       26 2006 WL 8443121, at *9 (N.D. Cal. Mar. 27, 2006), aff'd, 269 F. App'x 621 (9th
       27   Cir. 2008) related to a change in pleading formatting implying bad faith, but in
       28   that case the dismissal was primarily based on the plaintiff's failure to provide
                                                                                                              2
               PL'S OPPOSITION To DE1='s EMERG. MOTION TO DISMISS l3:23-CV-04597-EMC
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       1  citations, despite being ordered to prior, and counsel admitted expressly to
       2  attempting to evade page limits.
       3         6.   A pp je cited Manaell v. Am. Ex p. Travel Related Serve. Co., 933 F.2d
       4 1014 9th Cir. 1991 related to a pro se laintiff
                                                      p      missin ga deadline, but in that
       5 case the Plaintiff's "claims [were] wholly without merit." Apple cited Gutierrez v.
       6 City of Colton, No. CV 07-4934 ODW (SSx), 2008 WL 11410020, at *4 (c.D. Cal.
       7 ]one 9, 2008) related to the court granting an extension, but that case is
       8 referencingg failure to p rose cute where the statute of limitations had exp ired for
       9 most claims. None of these cases are relevant here - and they are the only cases
       10 that Apple cites as a legal basis for its request.
       11          B.   FRCP Rule 41(b) dismissal requires a party to fail to comply with
       12               a court order and a display of willful or contumacious conduct.
       13
       14           7.    Plaintiff did note engage in willful or contumacious conduct, and
       15   therefore 41(B) is not applicable here. "[T]rial courts possess only a narrow
       16   inherent authority to dismiss claims based on limited circumstances (e.g., cases
       17   involving a failure to prosecute, frivolous claims, or egregious misconduct)."
       18   Estrada v. Royalty/ Carpet Mills, In., 15 Cal. 5th 582, 317 Cal. Rptr. 3d 219, 541
       19   P.3d 466 (Cal. 2024). Mere failure to comply with an order of court does not of
       20   itself establish the propriety of invoking Fed. R. Civ. P. 41(b). Gordon v. Federal
       21 Deposit Ins. Corp., 427 F.2d 578, 13 Fed. R. Serv. 2d 811 (D.C. Cir. 1970)
       22      8.    Intent of the plaintiff is an important, indeed crucial, factor
       23 considered by the courts, dismissals being limited to intentional, willful, or
            flagrant noncompliance, or repeated failures to comply from which willfulness or
       24
            extreme dilatoriness may be inferred. Jones 2). Thompson, 996 F.2d 261, 26 Fed. R.
       25
            Serv. 3d 239 (10th Cir. 1993); Tatum v. Liberty Housing Co., 726 F.2d 410 (8th Cir.
       26
            1984) If counsel presents a substantial question and is not outrightly defiant, a
       27
            lesser sanction may be appropriate, under the court's authority to make such order
       28
                                                    _ 3_
               PL'S OPPOSITION To DE1='s EMERG. MOTION TO DISMISS l3:23-CV-04597-EMC
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       1    as is just. Gordon v. Fed. Deposit Ins. Corp., 427 F.2d 578, 581 (D.C. Cir. 1970)
       2    Syraoase Broadoastlng Corp. v. Nezvhonse, 271 F.2d 910, 914 (2d Cir. 1959); cf.
       3    Campbell v. Eastland, 307 F.2d 478 (Sth Cir. 1962), cert. denied, 371 U.S. 955, 83
       4    S.Ct. 502, 9 L.Ed.2d 502 (1963).
       5          9.     "The necessity justification for the contempt authority is at its
       6    pinnacle, of course, where contumacious conduct threatens a court's immediate
       7    ability to conduct its proceedings, such as where a witness refuses to testify, or a
       8    party disrupts the court." Inz"l Union v. Bagwell, 512 U.S. 821, 832 (1994). An
       9    example of a pro se plaintiff engaging in "highly contemptuous" conduct that was
       10   appropriate for a trial court to dismiss the case due to the conduct was when where
       11   a self-represented attorney plaintiff threatened to use pepper spray and laser
       12   against opposing counsel. Crawford v. JPMorgan Chase Bank, N.A. (2015) 242
       13   CA4th 1265, 1271, 195 CR3d 868, 873. That is nothing like what happened here.
       14         10.    There are three reasons why Apple's argument that Plaintiff engaged
       15   in bad faith evidenced by her changed formatting in her complaint - is completely
       16   without merit. First, she changed her formatting months ago. Second, the type of
       17   formatting misconduct that this district sanctions if far from what she did. And
       18   Third, even Apple has used the same formatting she did.
       19         11.    There is no evidence that Plaintiff acted in bad faith or attempted to
       20   defy the court.
       21
                        1. Defendant claims Plaintiff changed the formatting and layout of
       22                 her legal filings starting with her Fifth Amended Complaint.
       23                 This is not true.
       24
       25       12. Apple claimed the Plaintiff changed her formatting, font, line
       26 spacing, etc. just for this Fifth Amended Complaint, and did not change it prior.
       27 That's is demonstrably false. Plaintiff changed her formatting and fonts in ]uly of
       28 2024, following the Typography for Lawyers guidebook and typeface. (See Exhibit
                                                    _ 4_
               PL'S OPPOSITION To DE1='s EMERG. MOTION TO DISMISS l3:23-CV-04597-EMC
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       1      ). Nothing Plaintiff did was malfeasance or contempt.
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       3                                                                                                                                                                                                           Case 3,23-Cv04587EMC Document 94 Filed osr1a.~24 Page 2 of 13



                         |. NDT ICE or ADMINIST RAT IVE Prznnnucv                                              l
                                                                                                                                                                                                           DECLARATION OF ASHLEY Gjovlx
       4                                                                                                       2
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                                                                                                                                                 M o llo n T O S T .IUE
                                                                                                                                                                                                          Pursuant to zs U.S.C.§ 1746, I, Ashle y M . Gjov ik, he re by de clire as follows:

                                                                                                               4          PLEASE TAKE NOTICE that on AUGUST 21 2024 as »a230AM, in judge
                                                                                                               s
       5                                                                                                       6
                                                                                                                    Cl\¢0'1 virtlnl courtroom, before the Hnnonble jndl¢ Edinrd Chen, I will, and
                                                                                                                    hereby do, move for an order granting a Motion to Strike the improper iinii:iii
                                                                                                                                                                                                          My name it Ashley Marie Gjovik. I am I :elfrepresented Pllimiffin This ahme

                                                                                                                                                                                                          captioned matter. I have personll knowledge of :II facts stated in thi: Declaration,
                                                                                                               1    docume nt lile d to Docke t No. 99.
                                                                                                               l           The motion if concurrently filed with e Memorandum of Points end               had if celled to testify, I could and would testify competently thereto.

       6                                                                                                       9    Authoritie s. Pmpole d Orde r, and a De claration in Suppe r t.

                                                                                                               10                                                                                         I make this Declaration based upon my personal knowledge and in support of
                                                                                                               II   Diled Augull 2? 2014
                                                                                                                                                                                                          Pllinliffs Oppoaition (Docket No. $4 and ss) to Detend1nta Motion to Dismiss
       7                                                                                                       12
                                                                                                               us Signllurc:                                                                              (Docket No. 78) and Motion to Strike (Docket No. 5'9), and in Support of

                                                                                                               14                                                                                         Plainl11T': Motion for Leave lo File a surreply.

                                                                                                               15
       8                                                                                                       Is
                                                                                                                                                                                                          The prior July 31 2024 Declnrninn is integrated here, including statements and
                                                                                                               11
                                                                                                                                                                                                          Exhibits AF.
                                                                                                               II

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                              Plaintiff Aillley Gjovil respectfully provides notice of new 9 h Circuit legal

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              6         three month: [9" Circuit on M! 25 20245 District Court in May 2024}. The
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                        precedent is material and directly relevant to the instant Ianluit; specifically,

                        Pllil1l.ilT'S flED (Outrage), Cal, Labor Code (§§ 1102,51 6310198.O)1and Tenure]
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       17     11              The 9'* Circuit case denied a Motion for Summary judgment and the US

              12 Dillricl Churl of Vermont case denied a Molson lo Dismiss, 1indil11 sufficient
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              ii        claims for adverse employment actions based on coworker manager harassment                                                                                                           Dated Augen II, 1024.
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       18     15 that occurred through social media (lnsragram and Facebook, respective),

              un                 l:.xll1 bll 1: Oeonorrb I. Garland, No. 2355404 (9th Cir. Jul. 251 2024).
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              1?                 Exhibit 2: So r. Bevan: 0 Sou, lsr., 2:23ev560 (D. Vt. May. 7, 2014).

       19     kg The 91 Circuit decision is the first federal appellate decision to reference the new

              to        US EEOC Guidance on Harassment in the Workplace released un April 29 zuz4
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              Z1 with guidance on loral media harassment and coworker harassment. [link to                                                                                                            2 ] ha So Pa'aurJr)]"

       20     Hz EEOC website).
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       24                                                      Plaintiff's filing to this case in August 8 September 2024.
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                    PL'S OPPOSITION TO DEF'S EMERG. MOTION TO DISMISS I 3:23-CV-04597-EMC
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       11                                                   Plaintiff's filing to this case in July 2024 - with new format.
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       13                       Case 3 23cv0459?EMC Document ?6 Filed 06118124 Page 1 of M

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       24                              Plaintiff's}9ling to this case in May-June 2024. This was the last time she
       25                                                           used her prior formatting, roughlg/}9ve months ago.
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       1                              Defendant claims that Plaintiff's formatting and layout are facial
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       3                                Plaintiff did here.
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                    6    ECP 240. 3`B at 13. Taction conlinllled to rely on NS ensuing frequency response
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       27   All of these are Apple's filings in other cases, where they got warnings from
            the court about single spaced lines.
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               PL'S OPPOSITION To DE1='s EMERG. MOTION TO DISMISS I 3:23-CV-04597-EMC
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       1           13.                In addition, not specific to Apple, this District has warned parties in
        2    other cases about line spacing when the spacing is closer to one-line.
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        24                                                                              {e ngrams and no anger limns hmv Inn limgmns are dlsplzlyed See Ld.
                                                                                        " 641 M *-"li Tllerc 1. 1]111. un 1}ul12 ULIIJIIIIIIIIIIIQ In "[c]nI¢lll . IJ r or.




        25

        26    Example Northern District cases with warnings about spacing. Most involved
        27                                single-spacea' lines.

        28

                                                                                                                                                               8
               PL'S OPPOSITION TO DEF'S EMERG. MOTION TO DISMISS I 3:23-CV-04597-EMC
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(149 of 261), Page 149 of 261
                 Case 3=2&%éS"(53§§9988|85/°862¢%2n§é'?1"i§H"YF%3=1'3?'E\83449 4,3381 11 of 18




       1            c. Apple's counsel have also used similar fonts and formatting but
        2                         also with single-spaced line abuse.
        3
                   14.              Counsel representing Apple have even recently used nearly the exact
        4
             same formatting that Apple complains about here, but when Apple did it, Apple
        5
             also used extensive single-spaced footnotes.
        6

        7           case 2.2-1~cv»04055-Jxn»LDw      Document 86~l
                                                             682
                                                                        Filed OB/02/24   page 40 or 49 page D.       Case 2.2-1Cv04055-JXNLDW         Document 8 6 1
                                                                                                                                                                 S51
                                                                                                                                                                            Filed 08/01/24   Page 9 of 49 pageD.




        8                    Cot's reject complaints. like this one. that merely presume that the ptuponed                                             I : ~ . T RO D 1 C T 1 O N

                      conduct causes anticompetitive effects iii the Smartphone ularkel. See, e.g.. r 129.                  The Govenunent asks this Court to endorse a theory of antitrust liability that

        9             I n Bibi Inc. v. Apple, Inc.. for example, the plaintiff challenged Apples requirement          IIO co\u7 has ever recognized and to sanction a judicial redesign of one of the most

                      that developers on its platform offer users Aplples "single-sign-ou" option as an               innovative and consumer-tiiezldlv products ever made: iPhoue. Apple has invested
       10             alternative to other single-sign-on options. 20"l WT. 2895654. at I 4 (D . D e l. J uly         billions of dollars to create a revolutlonaly. cutting-edge product and to dis tinguis h

                      9. 20* l ). The plaintiff periitnctorily alleged that "a `moal" made it "difficult and
       11             expensive for Apple 108 users to leave" Apple's ecosystem. but failed to "explain
                                                                                                                      iPlloue in a fiercely competitive Smartphone market through coustnller-oriented

                                                                                                                      features. This lawsuit is based on the lhotse premise that iPI1o11e's success has come


       12             how Apple's [challenged] reqluleluent" with respect to single-sign-on features                  not through btlildmg a superior product that consumers trust and love. but through

                      "restricts competition in the [at issue] mobile operating system market." Id. The               Applcs intentional degradation of iPhone to block purported competitive threats.

       13             cotuit dismissed the claim. Id. at 86. For the same reasons. the complaint here does
                                                                                                                      That outlandish claim bears no relation to reality. And the Govenuuenfs theory that

                      not allege the facts needed to plausibly claim that AIJples conduct in a handiitl of
                                                                                                                      Apple has somehow violate the amirmsl laws by not giving third parties broader
       14             scattered domains has had a significant attticotupetitive effect on Smartphone
                                                                                                                      access to iPhone runs headlong into blackletter antitntst law protecting a f'umsright
                      competition. Absent allegations supporting any tactual link. the Govenunent fails

       15             to stale a claims
                                                                                                                      to design and control its own product.

                                                                                                                            The tntth. of course. is that Apple has granted third parties exceptionally broad


       16             6
                          Fon this reason. the Plaintiff States also lack standing to pursue their eiaillls.
                                                                                                                      access to iPlloue. its features. and the App Store. while also eulOrcing reasonable

                          including ul their sovereign capacities or under a parent parriae theory. See               limitations lo protect consluners and €llslll€ the safe. secure and seamless iPI1one
                          Harrison v. J'qHelt1sot1 Par. Sch. 8d.. 78 F.-lth 765. ?69-74 (Sth Cir. *023)
       17                 (reqttiring a "tangible interference" with a state's "authority to regulate or to
                          e ntic e its laws " no t present here); .4398 L. Snapp & SOM, Inc. v. Puerto Rico a
                                                                                                                      experience for which Apple is justifiably known. But even setting that aside. it is
                          ref. Bare; 458 U.S. 592. 607 (1982) (requirinz a state. unlike here. to have a
                          "quasi-soveleigll interest" that is apart from :Be interests of pallicular prate            simply not a viable theory of antitrust law for the Govemnient to contend that Apple

       18                 p artie s f o r pa:ens pumice standing). The Plaintiff States have not alleged that
                          Apples conduct has impaired their ability to enforce their laws and the hans
                          their cursonlv plead-lu Eller prices. a worse iPhone ex hence-are Tetanus for
                                                                                                                      must open its O\\1l platform and its own technologies to third parties Oll the temls
                          which private parties cottld seek their own remedies meT indeed. already have.
                                                                                                                      and c o nd itio ns that those parties prefer. The third parties at issue here are well-
       19
                                                                32


        20

        21
               U. S. 2). Apple, 2:24-cv-04055 (D.NJ.), Dkt. No. 86-1, filed by Apple Inc on 8/1/24
        22
        23
                    D. The delay caused by Plaintiff's late filing was minimal.
        24

        25
                   15.              The delay of only a couple days was a very minimal delay
                                                                                        and
        26
             Plaintiff filed the complaint as soon as there was a presentable draft to file.
        27
             Plaintiff has no objection if Defendant is given two extra days beyond their original
        28
                                                                                                                 9
               PL'S OPPOSITION To DE1='s EMERG. MOTION TO DISMISS I 3:23-CV-04597-EMC
                                                                                                                                                                                    ERVIII 149
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                 Case 3=2&'é3S°`(33§§9988|85'9362¢'812n%|'?t"i'§~H'W'F%3=1Ei?'933?° 4,3381 12 of 18




       1     deadline, to make uP for here dela y. However, here the Defendant is intentionall y
       2     causing even more delays - and asking for court approval of additional delays, all
       3     which is prejudicial.
       4           16. The court order did provide a deadline and Plaintiff regrets not
       5     meeting that deadline, however, an example of a dismissal of action for failure to
       6     obeycourt's order that lain
                                    p tiff re plead after fail ing to satisfyre uirement
                                                                                 q       of Rule
       7     8 was proper where two and one half months passed beyond 20 days allowed by
       8     court's order with no effort onp lair tiff's part to com pl .yA new
                                                                              g v. MoodJ/, C.A.9
       9     (Cal.) 1964, 330 F.2d 868, certiorari denied 85 S.Ct. 137, 379 U.S. 867, 13 L.Ed.2d
       10    70. Two days and two months are very different durations.
       11          17. Here, Plaintiff also already apologized for the delay, explained the
       12    delay, and complained to Defendant that the delay was caused by them - as her
       13    PTSD symptoms were severely disabling due to Apple's continued harassment of
       14    Plaintiff within and outside this lawsuit - including Apple Global Security calling
       15    her directly to harass her about this lawsuit just last month. (See Def's
       16    Declaration Exhibit).
       17           E. This court has issued orders to Plaintiff with requirements that
       18              exceed the Federal Rules of Civil Procedure requirements.
       19
        20          18. This court has issued a number of custom orders to Plaintiff that have
        21   reCluirements well beYand the FRCP. District should not dismissPlair tiff's action
        22   for failure to comP lywith order to su PPl ycom faint
                                                             P     that substantiall yexceeded
        23   requirements of rules of civil procedure. W3/nder v. McMahon, C.A.2 (N.Y.) 2004,
             360 F.3d 73,. _We/nder v. McMahon, 360 F.3d 73, 77 (2d Cir. 2004) Rule 8 would
        24
             become a dead letter if district courts were permitted to supplement the Rule's
        25
           requirements through court orders demanding greater specificity or elaboration of
        26
        27 jegal theories, and then to dismiss the comP faint for failure to com
                                                                               P yl with those
           orders. Plaintiff respects the orders she is given and attempts to comply with
        28
                                                       _ 10 _
               PL'S OPPOSITION To DE1='s EMERG. MOTION TO DISMISS l3:23-CV-04597-EMC
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(151 of 261), Page 151 of 261
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       1       them, but sometimes cannot comply with them, and apologizes and is regretful
        2      about it.
        3
                      F.    A dismissal with prejudice would be too harsh.
        4

        5            19.    Dismissal of a case for disobedience of a court order is an exceedingly
        6      harsh sanction which should be inPused onlyin extreme cases, and then onl y after
        7      exploration of lesser sanctions. Pond v. Broni'ff Airivo3/5, In., 453 F.2d 347 (sth
        8      Cir. 1972); Flokso v. Little River Marine Construction Co., 389 F.2d 885 (sth Cir.),
        9      cert. denied, 392 U.S. 928, 88 S.Ct. 2287, 20 L.Ed. 1387 (1968). Failure to amend
        10     a complaint after it has been dismissed with leave to amend is not such an extreme
        11 case of disobedience, if it is disobedience at all. Mann v. Merrill L3/nth, Pierce,
        12 Fenner 8 Smith, In., 488 F.2d 75, 76 (5th Cir. 1973)
       13             20.  Here, if the court feels the Plaintiff should be punished, there are
       14      many other options available to the court other than a dismissal with prejudice.
       15            21. Such a dismissal is a severe sanction, and should be used only in
        16     extreme circumstances and as a last resort, where there is a clear record of delay
       17      or contumacious conduct8 or intentional disobedience of the court's order, and
       18 where lesser sanctions would not be appropriate. Lesser sanctions will normally
       19 suffice in all but the most flagrant of circumstances. Thus, where the court does
        20 not even consider lesser sanctions, the appellate court may find an abuse of
        21 discretion. Oliva v. Sullivan, 958 F.2d 272, 22 Fed. R. Serv. 3d 554 (9th Cir. 1992)
        22     Jackson v. City of Neo: York, 22 F.3d 71, 28 Fed. R. Serv. 3d 1392 (2d Cir. 1994)
        23            22.   Dismissal is an extraordinary remedy, which should not be invoked
        24 where failure to comply is inadvertent or excusable, or when the effect would be
            5 to punish an innocent litigant for the transgressions of his lawyer. D3/or/ierm Corp.
        2
               v. Turbo Mao/iine Co., 392 F.2d 146 (3d Cir. 1968); Connoii of Federated
        26
               Organizations v. Mize, 339 F.2d 898 (sth Cir. 1964); Wood/iam v. American
        27
               C3/stosoope Co., 335 F.2d 551 (sth Cir. 1964); Meeker 7). Riziey, 324 F.2d 269 (10th
        28
                                                       _   11 _
                  PL'S OPPOSITION To DE1='s EMERG. MOTION TO DISMISS l3:23-CV-04597-EMC
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                 Case 3=2&@s%49%w5/%%4é84§afw=443»19wQ2 4,338114 of 18



       1     Cir. 1963); 5 ].Moore, Federal Practice P41.12 at 1139.
       2           23.    Even when the plaintiff has caused delay or engaged in contumacious
       3     conduct before the district court dismisses for failure to comply with the court
       4     order it must consider whether the ends of justice would be served better by a
       5     lesser sanction. Go)/er 2). Beard, 907 F.2d 1424 (3d Cir. 1990). 10 Wright and Miller
       6     et al., Federal Practice and Procedure, Civil § 2369 (4th ed.).
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       1      Iv. CONCLUSION
        2
                   24.    In conclusion, Apple's arguments about the delay and formatting are
        3
             without basis, are a delay tactic, is an attempt to harass the Plaintiff, and should
        4
             be denied.
        5
                   25.    Plaintiff has replied to both Apple's motions to dismiss and for a
        6
             shorter deadline in order to empower the court to quickly deny these motions and
        7
             to order Apple to file a response to the Complaint. Apple fired Plaintiff over there
        8
             years ago, and this Docket is up to 152 entries, but Apple still has not filed an
        9    Answer. Apple needs to file an answer.
        10

       11 Dated: Nov. 15 2024
        12
       13    Signature:
       14
        15
        16                             \
        17
        18
        19   /s/ Ashley M. Gjovik
        20   Pro Se Plaintiff
        21
        22
        23 Email: legal@ashleygjovik.com
             Physical Address:
        24   Boston, Massachusetts
        25   Mailing Address:
        26   2108 N St. Ste. 4553 Sacramento, CA, 95816
        27   Phone: (408) 883-4428
        28
                                                      _   13 _
               PL'S OPPOSITION To DE1='s EMERG. MOTION TO DISMISS l3:23-CV-04597-EMC
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       1          v. EXHIBIT A: TYPOGRAPHY FOR LAWYERS
        2
        3

        4            TYPDGRAPHY FDR LAWYERS
                                                               E-qui-ty, n. A text family
        5
                     ..................
                     nr 1hIl\
                                                               designed by Matthew
                                                               Butterick. Available only
        6
                                                               at mbtypecom.
        7
                                                     Figure 1: /1z't_/Js.'//zIj/pographyforlawyers. com/equity. him!
        8

        9

        10                                                 What purpose do line numbers serve today? I have no idea. It's
                                                           just another obsolete TYPEWRITER HABIT. As a pin-cite sys-
        11                                                 tem, paragraph numbers make more sense. Page and line refer-
        12       Typography                                ences are dependent on a specific paginated rendering of a docu-
                                                           ment. Paragraph numbers are not.
        13       for Lawyers                            Figure 3: httpx//typographyforlawg/ers. com/line-numbers. html
        14

        15       2nd edition
             Figure 4.-
        16   /1st_ps.'//typographyforlawyers. com/
                                                                     line spacing          Line spacing is the vertical distance between lines of text. Most wr i t -
        17                                                                                 ers use either double-spaced lines or single-spaced lines-nothing in
                                                                      120-145% of the      between-because those are the options presented by word
                                                                             paint size
                                                                                           processors.
        18
                                                                                           These habits are obsolete TYPEWRITER HABITS. Originally, a type-
        19                                                                                 writer's platen could only move the paper vertically in units of a sin-
                                                                                           gle line. Therefore, line-spacing choices were limited to one, two, or
                                                                                           more lines at a time. Single-spaced typewritten text is dense and hard
        20
                                                                                           to read. But double-spacing is still looser than optimal.

        21                                                 The traditional term for line   Most courts adopted their line-spacing standards in the typewriter
                                                            spacing isleading(rhymes       era. That's why court rules usually call for double-spaced lines. On a
                                                              with bedding), so named
                                                                                           typewriter, each line is the height of the font, thus double spacing
        22                                                    because traditional print
                                                                                           means twice the font size. So ifyou're required to use a 12-point font,
                                                                shops put strips of lead
                                                              between lines of type to     double line spacing means 24 points.
        23                                                     increase vertical space.
                                                                                           Curiously, the so-called "double" line-spaclmg option in your word
                                                                                           processor doesn't produce true double line spacing. Microsoft
        24                                                                                 Word's "double" spacing, for instance, is about 15% looser, and it
                                                                                           varies depending on the font. To get accurate spacing, you should al-
        25                                                                                 ways set it yourself exactly.
                                                     Figure 2 I1Z'[]75://typographyforlamyers. com/lzlne-spacing.html
        26

        27

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                  PL'S OPPOSITION To DE1='s EMERG. MOTION TO DISMISS l3:23-CV-04597-EMC
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       1
        2          How to in terpret court rules                                                   WHY DO COURT RULES ABOUT TYPOGRAPHY EXIST?
                                                                                                  Consistency of typography in court filings helps ensure fairness to
                                                                                                  the parties. For instance, in jurisdictions that use page limits, if law-
        3          Among legal documents, court filings must conform to the                       yer A sets his briefs at 12 point and lawyer B sets hers at 10 point,
                   narrowest typographic restrictions-court rules. But except                     then lawyer B will get more words per page. Court rules about typog-
        4                                                                                         raphy prevent abuse of these limits.
                   for a few jurisdictions, court rules still give lawyers plenty of
        5          typographic latitude.
                                                                                                  Court rules about typography also exist as a convenience to the judge
                                                                                                  and the court staff. Judges don't want to read sheaves of 9-point text.
                   So why do 99.99% of the court filings in any jurisdiction look alike?
        6                                                                                         Rules that set minimum page margins or point size ensure a mini-
                   One reason is the bandwagon effect. Lawyers usually assume that all            mum standard of legibility.
        7          the other lawyers are following the rules, so if everyone uses 12-point
                                                                                                   As you put your typographic discretion to work, keep these two goals
                   Times New Roman or puts two vertical lines in the left margin, it
                                                                                                  in mind. Don't expect your judge to be happy if you exploit typo-
        8          must be that the court demands it. Possible, but unlikely. Read your           graphic loopholes in the rules that defeat these goals.
                   court rules carefully-you'll probably be surprised at how much is
        9          left to your discretion.                                                       FUR INSTANGE, THE U.S. DISTRICT GDURT FUR THE CENTRAL [llsmlF:r UF LLALIFGH'

                                                                                                   NIA GALLS FGRA PRGPGRTIGNALLY SPAGETJ FGNTTHAT'S 14 PGINT UH LARGER.
                   Another reason is fear. "The judge will sanction me because my fil-
        10         ings aren't as ugly and hard to read as everyone else's." Again-pos-           (E.l]. EAL. LR. 11-3.L1.) How Annum rHls UNE? ll's pnnpunIlnnALlv

                   sible, but unlikely. If your typography conforms to the court rules in          SPAGEO. IT'S SET LARGER THAN 14 POINT. TEGHNIGALLY SPEAHING, l'vE GGMPLIEI]
        11
                   good faith, you should be on solid ground. No judge or clerk ever              WITH THE RUlE. BUTWILLA FEDERAL JUDGE BE IMPRESSEIJ WITH HI]W I'VE INTER-
                   complained about the typography in my filings. Nor has any reader of
        12         this book reported any similar consequences.
                                                                                                   PFIETED THE RULE? NU WAY.



                                                                                                  Conversely, you shouldn't worry about typographic improvements
       13          A third reason is force of habit. To create today's filing, lawyers will
                                                                                                   that result in fewer words per page, like larger page margins. Unless
                   often just start with last week's filing, which was based on the filing
                                                                                                  you need every word or every page allocated to you-and good legal
        14         from the week before that, and so on back to about 1979. Formatting
                                                                                                   writers never do-why not use the extra white space to improve the
                   choices get entrenched even if they don't relate to the rules.                  typography? (See MOTIONS for an example.)
       15
                   A fourth reason is lack of typographic skill. How do you depart from           Keep in mind that court rules about typography are not designed to
                   the usual deck while still adhering to the rules? Armed with the in-
        16                                                                                        produce good typography. That's your job. Court rules set mini-
                   formation in this book, you should have no problem understanding               mums and maximums. They're usually phrased in terms of"at least"
                   where court rules are strict and where they're flexible.
       17                                                                                         and "no more than", Very rarely do they completely eliminate
                                                                                                  discretion.
       18      ®      LINE SPACING rules should be interpreted arithmetically, not
                                                                                                  I'm not suggesting you should use this discretion to be different for
                      as word-processor lingo. If a rule calls for double-spaced lines,
                      set your line spacing to exactly twice the point size of the body
                                                                                                  the sake of being different. Rather, you should use this discretion to
       19             text. Don't rely on the "Double" line-spacing option in your                fill in what the court rules deliberately leave incomplete.
                      word processor, which may not be equivalent. For instance, in
        20            Word, "Double" line spacing is about 15% larger than true dou-
                                                                                                Figure 5: https.'//typographyforlawyers.com/how-t0-
                                                                                                interpret-cour t-rules. him!
                      ble spacing. This reduces the number of lines per page.
        21
               ®      Avoid putting rules and borders within or around the page that
        22            aren't explicitly required. It clutters the page. For example, in
                      Los Angeles courts, almost every litigator puts two vertical
                      lines on the left edge of the page and one vertical line on the
        23
                      right, But this practice is not required by any rule. In state
                      court, the line on the left is optional-you can use a solid sin-
        24            gle or double line, but you can also use a "vertical column of
                      space at least % inch wide". (Cali£ Rule of Court 2.108(4).)
        25            Nothing is required on the right side. Meanwhile, our federal
                      court requires no vertical lines on either side. Follow the rules,
        26            not the crowd.


        27

        28   From: https://typographyforlawyers.com/how-to-interpret-court-rules.html
                                                                                           16
               PL'S OPPOSITION To DE1='s EMERG. MOTION TO DISMISS l3:23-CV-04597-EMC
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                     Case 93§9é3.33933Eq3g)9/3g38mI34E1r35y: 859%6899838 ga2g6e11 of 2




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             Sacramento, CA, 95816
             (408) 883-4428
             legal@ashleygjovik.com



                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFQRNIA




              ASHLEY M. GJOVIK, an individual,            Case No. 3:23-CV-04597-EMC


                   Plaintiff,                             PLAINTIFF'S MOTION To
                                                          STRIKE IMPROPER AMICUS
                 vs.                                      DECLARATION


                                                          MOTION TO STRIKE
              APPLE INC. a corporation,
                                7
                                                          Fed. R. Civ. p. 1zlf)

                                                          Motion Hearing & Case
                   Defendant.
                                                          Management Conference:
                                                          Dept: Courtroom 5
                                                          Judge Edward M. Chen
                                                          Date: August 28, 2024
                                                          Time: 9:30 AM PT




                                                                                  ERVIII 158
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                     Case 93§9é3.33933Eq3g)9/3g38mI34E1r35y: 859%6899839 ga2g6e12 of 2




       1
       2                                 MOTION TO STRIKE
       3
       4          PLEASE TAKE NOTICE that on AUGUST 28 2024 at 9:30AM, in ]udge
       5    Chen's virtual courtroom, before the Honorable ]udge Edward Chen, I will, and
       6    hereby do, move for an order granting a Motion to Strike the improper amicus
       7    document filed to Docket No. 99.
       8           The motion if concurrently filed with a Memorandum of Points and
       9    Authorities, Proposed Order, and a Declaration in Support.
       10
       11   Dated: August 27 2024
       12
       13 Signature:
       14
       15
       16
                             Da-
                                     \
       17
       18
       19 /s/ Ashley M. Gjovik
       20 Pro Se Plaintiff

       21

       22   Email: legal@ashleygjovik.com
       23   Physical Address:
       24   Boston, Massachusetts
       25   Mailing Address:
       26   2108 N St. Ste. 4553 Sacramento, CA, 95816
       27   Phone: (408) 883-4428

       28
                                                   _ 1_
                      PLA1NT11=F'S MOTION To STRIKE | CASE No. 3:23-CV-04597-EMC
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                                        EXHIBIT w


                                Excerpts of Court Filings from:

                        Gjovik v. State, 2:22-cv-00807-RA]-BAT
                              (W.D. Wash..]un. 28, 2022).


                        REQUEST FOR _IUDICIAL NOTICE




              PL.'S REQ. FOR ]UD. NOT. IN SUPP. oF PL.'S OPP. | CASE No. 3:23-CV-04597-EMC
                                                                                 ERVIII 161
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     1     Ashley M. Gjovik
           Juris Doctor Candidate & Public International Law Certificate Candidate
     2     Santa Clara University, Class of 2022
     3
           For Submission To:
     4      •   U.S. NLRB: Region 32 & Office of General Counsel
            •   U.S. Department of Labor: Whistleblower Protection Program
     5      .   U.S. Attorney's Office: Northern District of California
            .   California DOJ: Office of the Attorney General
     6      •   California Department of Labor: DIR Labor Cornrnissioners
     7
     8
                                                             Case No.:
     9                                                       U,S. Dept of Labor: 9-3290-22-051
    10                                                       U.S. NLRB: 32-CA- 282142, 283161,
                                                             284428 & 284441, & 288816
    11                                                       U.S. EEOC 556-2021-00608
           Ms. ASHLEY GJOVIK
                                                             U.S. SEC: 16304-612-987-465 & 16353-
    12                                                       506-600-213
                          Complainant,
    13             v.                                        CA Dept of Labor: RCI-CM-842830

    14                                                       LEGAL MEMO
                                                             Date Action tiled: February 7, 2022
    15
           APPLE INC., et al.,
                                                             Charges :
    16                                                       National Labor Relations Act §8(a)(1)
                           Respondent.                       National Labor Relations Act §8(a)(4)
    17
                                                             CERCLA, 42 U.S.C. §9610
    18                                                       SOX 18 U.S.C.A. §1514A
                                                             OSHA §11(c) 29 U.S.C. §660
    19                                                       18 U.S.C. §1512(a),(b),(c),(d)
                                                             18 U.S.C. §1505
    20                                                       18 U.S.C. 1513
                                                             18 U.S.C. §371
    21                                                       18 U.S.C. §876
                                                             Dodd-Frank 15 U.S.C. §78u-6(h)(1)(A)(iii)
    22                                                       Racketeer Influenced & Corrupt
    23                                                       Organizations Act
                                                             Civil Rights Act Title VII, 42 U.S.C. §2000e
    24                                                       CA Labor Code §232.5, §6310, §1102.5,
                                                             §6399, & §132(a)
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    1     Ashley M. Gj ovik
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    2     Santa Clara University, Class of 2022
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           •   U.S. NLRB: Region 32 & Office of General Counsel
    4      •   U.S. Department of Labor: Whistleblower Protection Program
           •   U.S. Attorney's Office: Northern District of California
    5
           •   California DOJ: Office of the Attorney General
    6      •   California Department of Labor: DIR Labor Commissioners

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    8
                                                               Case No.:
    9                                                          U,S. Dept of Labor: 9-3290-22-051
                                                               U.S. NLRB: 32-CA- 282142, 283161,
   10                                                          284428 & 284441, & 288816
   11                                                          U.S. EEOC 556-2021-00608
             Ms. ASHLEY GJOVIK
                                                               U.S. SEC: 16304-612-987-465 & 16353-
   12                       Complainant,                       506-600-213
                    v.                                         CA Dept of Labor: RCI-CM-842830
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                            Respondent.                       National Labor Relations Act §8(a)(4)
   17                                                         CERCLA, 42 U.S.C. §9610
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   18                                                         OSHA §11(c) 29 U.S.C. §660
                                                              18 U.S.C. §1512(a),(b),(c),(d)
   19                                                         18 U.S.C. §1505
                                                              18 U.S.C. 1513
   20
                                                              18 U.S.C. §371
   21                                                         18 U.S.C. §876
                                                              Dodd-Frank 15 U.S.C. §78u-6(h)(1)(A)(iii)
   22                                                         Racketeer Influenced & Corrupt
                                                              Organizations Act
   23                                                         Civil Rights Act Title VH, 42 U.S.C. §2000e
                                                              CA Labor Code §232.5, §6310, §1102.5,
   24                                                         §6399, & §132(a)
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                                       ASHLEY GJOVIK V APPLE INC
                            INTIMIDATIQN, THREATS, & OBSTRUCTION EVIDENCE REPORT
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           INTIMIDATIQN, RETALIATIQN, & PRQPAGANDA CAMPAIGN



                                              Evidence Report


                                                   DRAFT v9




                                                  ASHLEY M. GJQVIK
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                                                          CHARGES

      ASSOCIATED CHARGES & CASES:

             U.S. NLRB 32-CA-282142, 32-CA-283161, 32-CA-284428, & 32-CA-284441
             U.S Department of Labor: Ashley Gjovik v Apple Inc., (Apple Inc/Gjovik/9-3290-22-051: CERCLA,
              SOX, & OSHA whistleblower retaliation).
             U.S. EEOC: Ashley Gjovik v Apple Inc., (556-2021-00608)
             U.S. DOJ: pending
              California Department of Labor: Ashley Gjovik v. Apple Inc., (RCI-CM-842830)
              California Civil Lawsuit: pending


      See: Legal Memo for details on legal analysis

                                                          SUMMARY

              Under information & belief, Apple Inc, (via their managers, employees, & agents), have been
      orchestrating an extensive propaganda & harassment campaign against Gjovik since August 2021. Under this
      campaign, Apple Inc has made frequent, damaging false accusations about Gjovik's actions and statements, her
      motives and character, and her mental health. Apple Inc has also made numerous threats against her related to
      retaliation, termination, litigation, blacklisting, and violence.
              The campaign started while she was still an Apple employee & has been waged by Apple managers
      under their name & Apple position (i.e. Ricky Mondello, Faye Galjinkle, Eric Vitiello, DJ Capelis, Bryan
      Barrow, & others) as well as current and ex-Apple employees (Cher Scarlett, Snantini Vyas, Amanda Harrison,
      Kev Kitchens, Steven McGrath , Brian Ganninger An kit Aggarwal & others), again, under their own names &
      positions at Apple. There also appears to be a large online presence assumably contracted by Apple Global
      Security which appears to have access to much of her private &/or personal information, and repeats, ad
      nauseum, specific talking points assumably selected by Apple Inc for this campaign.
              This campaign is believed to be being waged in retaliation for Gjovik's protected activity starting in
      March 2021, and also in retaliation for her reporting Apple Inc's unlawful conduct to the government and law


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      enforcement in the summer of 2021, and continuing to participate in the government investigations. This
      campaign is believed to be being waged in an effort to chill organizing & unionization efforts at Apple Inc,
      intimidate witnesses from testifying to what Apple Inc did to Gjovik, coerce Gjovik to withdraw her complaints,
      and to generally intimidate current Apple Inc employees from speaking out or reporting unlawful activity.
             This campaign began shortly after Gj ovik started talking to the press and the government about her
      safety, labor, and discrimination concerns but quickly amplified once she filed formal complaints against Apple
      Inc with the NLRB, EEOC, U.S. Department of Labor, California Department of Labor, U.S. SEC, U.S. FBI,
      and other regulatory & law enforcement agencies. Within days of her reports, the frequency and intensity of the
      abuse dramatically increased, including threats of termination & other retaliation, threats of violence, threats of
      litigation, threats of bankruptcy, threats against her friends and supporters, and much coercion to drop her
      government complaints & to not file a lawsuit.
             Assumed agents of Apple Inc referred to Gjovik's protected activities as "worthy of death," and made
      references to Gjovik dying from "double tap" gunshot wounds, that in Russia Apple whistleblowers would die
      from a "car accident," suggested Apple employee organizing around discrimination concerns be "relocated to
      Afghanistan" to see how the "Taliban" would "deal" with Apple's employee organizers, and noted Gjovik was
      deserving of "death and rape threats." One Twitter account posted the day after Gjovik was fired that the world
      was "reaming" her and that Gjovik deserved it (violent anal sex).
             After Gjovik was fired, Apple Inc mailed her possessions from her office in a box full of broken glass
      shards and them commented to her on her Twitter about the box before she opened it, alluding to it containing a
      severed head of one of her loved ones. Agents of Apple Inc wrote Gjovik was "deserving of misery," that they
      looked forward to seeing Apple "swallow her & spit her out," and that she is lucky Apple has not "crushed her
      like a bug." Even as of this week, an Apple Global Security employee communicated to Gjovik she did not
      want Gjovik "to exist in her world."
             Apple employees & assumed agents of Apple Inc suggested Apple Inc should / will sue Gjovik for
      corporate espionage, disinformation, reputational bias, defamation, blackmail, and federal crimes, among other
      things. Employees & agents suggested appropriate consequences for Gjovik's protected activity included jail,
      the death penalty, "suing her into oblivion," "ending her," "destroying her," "ruining her," and bankrupting her.
      Apple managers & agents of Apple Inc referred publicly to the retaliation she faced from Apple Inc, including



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                                           ASHLEY GJOVIK V APPLE INC
                              INTIMIDATIQN, THREATS, & OBSTRUCTION EVIDENCE REPORT
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      termination of her employment, as "invited upon herself' like "walking down a dark alley," "finding out" for
      "fucking around," a "self-fulfilling prophecy," and the "consequence" of "airing Apple's dirty laundry."
             Apple Inc agents also threatened to blacklist Gjovik from the technology, engineering, and legal
      employment fields: including "never working in the tech industry again, never working for a large corporation
      again, never getting a job as a lawyer, failing the California bar association's Moral Character investigation, and
      never getting a job anywhere again other than working in fast food." Apple Inc, (through at least the actions of
      Cher Scarlett and Shantini Vyas), effectively blacklisted Gjovik from access to the press, from access to &
      support from leading activists, and certain access to social media platforms.
             Apple manager Ricky Mondello and ex-Apple employees Cher Scarlett and Shantini Vyas and other
      Apple agents have referred to the journalists and publications who write about Gjovik's protected activities as
      "lacking credibility," "anti-business," not deserving of respect, creating "manufactured narratives," "unethical,"
      and causing "irreparable harm." Cher Scarlett, speaking on her "AppleToo" employee organizing platform has
      stated she "ejected Gjovik from amplification," "stopped amplifying Gjovik," and called journalists who write
      about Gjovik not "good news outlets." Scarlett's threatened she could "use her platform" to "destroy Gjovik."
             Scarlett also recently began to claim Gjovik is "harassing," "defaming," and "extorting" her and went so
      far as to report Gjovik to the U.S. FBI, though later said it was a mistake and blamed her actions on a narcotics
      relapse. Gjovik has requested Scarlett stop contacting her numerous times, including requesting Scarlett stop
      harassing her & her friends, and stop making defamatory statements about her. In December 2021, Gjovik
      resorted to threatening she'd request a restraining order if Scarlett did not cease & desist. Scarlett did not stop.
      As of the last week, Scarlett sent Gjovik a 3,000 word email making wild accusations, confirming she reported
      Gjovik to the FBI, and demanding Gjovik remove certain evidence and accusations about Scarlett & her
      associates from Gjovik's federal administrative and criminal filings. When Gjovik refused to rescind her
      allegations of Scarlett's unlawful activity and refused to omit incriminating evidence, Scarlett then announced
      she is pursuing frivolous, retaliatory litigation against Gjovik.
             Apple managers, employees, and agents have referred to Gjovik's complaints to the federal and state
      government about Apple Inc as "unsubstantiated," "meritless," "baseless," "dead in the water," and that there's
      "no case." Apple's agents referred to Gjovik as an "ambulance chaser" and her cases as "shakedown lawsuits."
      Apple manager Ricky Mondello and ex-Apple employees Cher Scarlett and Shantini Vyas have publicly called
      Gjovik a "liar," "predator," "racist," "inconsequential," "not a real whistleblower," "not a real activist." These


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                                           ASHLEY GJOVIK V APPLE INC
                              INTIMIDATIQN, THREATS, & OBSTRUCTION EVIDENCE REPORT
                                                                             I




      parties have described Gjovik's protected activities as a "vendetta," "warpath," "perjury," "fabricated
      nonsense," "misleading rhetoric," & "misinformation" Among other things, Apple Inc & their agents have
      publicly called me a "liar, toxic, attention-seeking, obnoxious, vindictive, entitled, cancer, lacking credibility,
      dishonest, malicious, a sociopath, a provocateur, unhinged, insane, overweight, a narcissist, 'universally hated'     7




      a psychopath, paranoid, Bipolar, psychotic, schizophrenic, a gritter, a Karen, a Super Karen, Karenxl00, a
      'typical feminist,' and a 'classic cow'.




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                                           ASHLEY GJOVIK V APPLE INC
                              INTIMIDATIQN, THREATS, & OBSTRUCTION EVIDENCE REPORT
                                                                           I




                                               REVIEW METHODOLOGY

              Through this unfortunate experience with Apple, I have attempted to document events and
      communications that appeared odd, harmful, or which might be otherwise useful to reference later on. The
      primary document collection was of screenshots and PDFs. I started writing this report based on those records,
      and then gathered additional materials based on them, and for all evidence, attempted to cite a live, public
      version of the communication that the reader can access themselves via the footnotes. Where possible, I
      attempted to preserve digital evidence via l) flat-file screenshot, 2) PDF, & 3) Internet Archive Wayback
      Archive file.
              In effort to identify posts by Apple agents (not just random people online) I filtered & analyzed
      comments looking for factors such as: overly specific to my situation & my personal information, including my
      private personal information and/or information only Apple would know, lies and misrepresentations that only
      benefited Apple &/or were frequently repeated, legalese, and rhetoric which fit common union-busting
      techniques. I reviewed accounts looking for factors like: few/no followers, few posts and of those they are
      specific to Apple, posts that are always very positive about Apple & defend Apple, lack of biographical
      information provided, "liking" and "replying" to other suspicious accounts, age of account, & common
      language patterns amongst accounts with similar attacks.
              The accounts and comments noted in this report are a best guess and should not be seen as exclusive.
      Additional evidence should also be gathered such as IP & other account data to confirm accounts (such as
      linked Apple Inc locations, employees, contractors, etc) & named employees/managers should be deposed and
      asked to identify additional parties who participated. Apple Inc should be asked to confirm which accounts are
      or are not acting on their behalf, directly or indirectly.




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               4
               5
               6                       UNITED STATES DISTRICT COURT
               7
                                       NORTHERN DISTRICT OF CALIFORNIA
               8
               9
              10
              11                                       Case No. 3:23-CV-04597-EMC
              12
              13   ASHLEY GJOVIK, an individual,       RE:
              14                                       PLAINTIFF'S MOTION TO STRIKE
                                Plaintiff,
                                                       IMPROPER NON-PARTY AMICUS
              15                v.                     DECLARATION
              16                                       (DOCKET no. 62 and no. 66)
                   APPLE INC, a corporation,
              17
                                                       OBJECTIONS TO NON-PARTY'S
                                Defendant.
              18                                       APRIL 30 2024
                                                       SUPPLEMENTAL DECLARATION
              19
              20
                                                       HEARING:
              21                                       Dept: Courtroom 5, 17th Floor (Virtual)
              22                                       Date: May 16, 2024
              23                                       Time: 1:30 p.m.

              24
              25
              26
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              28

                                                            i
                   PLAINTIFF'S OBJECTIONS TO DECLARATION AT DOCKET NO. 66           MAY 1 2024
                   3:23-CV-04597-EMC                                              ERVIII 173
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               1
                   RESPONSE TO DOCKET NO. 66
               2
                          1.      Plaintiff, Ashley Gjovik, submits these Objections to the "Supplemental
               3
                   Declaration" filed by a non-party to Docket No. 66, and in support of Plaintiffs Motion to Strike
               4
               5   at Docket No. 64. The Motion to Strike should now be extended to cover Docket No. 62 and 66.

               6   Plaintiffs objections are as follows:
               7    NON-PARTY           PLAINTIFF'S OBJECTION                               COURT RULING
               8    EVIDENCE

               9    1                   Improper non-party filing (claims filing is not
                                        an amicus 913 and also swears she has "no stake
              10    IMPROPER            in the outcome of the case" 113, thus a request Sustained:
                    FORM AND            for Intervention would also be prohibited. Fed.
              11    PROCEDURE           R. Civ. Pro 24(a)(2). (Non-party also has no Overruledl
              12                        privacy interest as a pseudonym was
                                        intentionally used and she deliberately publicly
              13                        announced her own involvement.)
              14                        A "witness statement" must be filed by a party
              15                        to the lawsuit, and is not appropriate for a
                                        12(b)(6) motion. In re NVIDIA Corp. See. Litig.,
              16                        768 F.3d 1046, 1051 (9th Cir. 2014).

              17                        Introduction of deposition or interrogatory
                                        statements requires Requests for Admission by
              18                        a party to the lawsuit and in compliance with the
              19                        Federal Rules of Evidence.

              20    2                   Improper Declaration filed from non-party
                                        without consent of parties and providing
              21    IMPROPER            improper legal conclusions and arguments . Sustained:
                    AMICUS BREIF Local Civil Rule 7-5(b); FRCP Rule 56(c)(4);
              22    / NON-PARTY  Fed. R. Evid. §§ 403, 602, 701, 703, See, Silver Overruledl
              23    DECLARATION v. Executive Car Leasing Long-Term Disability
                                 Plan, 466 F.3d 727, 731 n.2 (9th Cir. 2006).
              24
                                        ("I]9led a non-party witness declaration, " "not
              25                        an amicus" 'H 3, "I am not part of Apple," 913
                                        "validity of my testimony," 91 4 "its entirely
              26
                                        irrelevant," 915 "the appellate court decided..."
              27                        91 5 "the appellate court... proffered a
                                        motivation, " 915 "Apple was not involved." 915
              28                        "decidedl am a Public Figure..." 1] 5).


                                                                      1
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               1    3                  Plaintiffs Docket No. 63 (re: Banko v Apple)
                                       is not in response to or related to the non-party.
               2    FALSE                                                                    Sustained:
                                       "Plain tzfffiled two responses to my declaration
               3                          Dockets No. 63 & 64." 912                          Overruledl
               4
                                       Docket No. 64 Declaration and Exhibits is 98
               5                       pages long and includes all formal petitions,
                                       court minutes, and Orders from the related
               6                       litigation.
               7                       "Plaint added a partial record... in the
               8                       n1atter...It is entirely irrelevant and hundreds of
                                       pages long." 915
               9
                    4                  Proffering Hearsay evidence from men-parties.
              10                       (Fed. R. Evid. §§ 106, 801).
                    HEARSAY                                                                  Sustained:
              11                       ("the appellate court decided " "the appellate
                                       court... proffered a motivation" 1] 5).        Overruledl
              12
              13    5                  Improper request to the Court to consider
                                       unsolicited non-party evidence at all, but
              14    NON-PARTY          especially for a l2(b)(6) motion. Improper Sustained:
                    REQUESTS TO        requests by non-party with no standing or "stake
              15    THE COURT          in the outcome of the case" requesting to Overruledl
              16                       "introduce exhibit[s]." (Fed. R. Pro. §§
                                       12(b)(6), Rule 24(b)o).
              17
                                       "(I ask the court so show the utmost care in
              18                       considering the validity of my testimony," "I am
                                       introducing Exhibit A") <II 4, 5 .
              19
              20    6            Inconsistent statements made between
                                 Declarations in Docket No. 62 and 66. (Fed. R.
              21    INCONSISTENT Evid. §§ 801(d)(1)(A)).                        Sustained:
                    STATEMENTS
              22                 Docket 62: "I met the Plainly in June 202] Overruledl
              23
                                 while we were both employed by Apple..." 914

              24                       Docket 66: "The plaints and I did not work
                                       together and never met each other in the course
              25                       of our work." 91 3      "A person I have never
                                       even met. " 914
              26
                                       Docket 62: "The only counsel I could afford to
              27                       seek that was helpful advised that I may speak
              28                       to the facts about myself in support of
                                       striking.. ." 912

                                                                       2
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               1                      Docket 66: "There is no one representing me...
                                      I have no legal education." 'H 4 Etc.
               2
                    7                  Exhibit A is not part of the court record, has not
               3
                                      been referenced by either party's arguments,
               4    NO                and contains prejudicial, out of context hearsay . Sustained:
                    FOUNDATION        (Fed. R. Evid § 106, 403, 801). Provides no
               5                      basis for the contents other then the documents Overruledi
                                      themselves. (Fed. R. Evid. §§ 602, 701, 703).
               6
                                      "I am introducing Exhibit A" 915 .
               7
               8
               9   Dated: MAY 1 2024
              10   Signature:
              11
              12                        \
              13
              14
                   s/ Ashley M. Gjovik
              15
                   Pro Se Plaintiff
              16   Email: legal@ ashleygjovilacom
                   Physical Address: Boston, Massachusetts
              17   Mailing Address: 2108 N St. Ste. 4553 Sacramento, CA, 95816
                   Phone: (408) 883-4428
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               3   (408) 883-4428
                   legal@ ashleygjovik.com
               4
               5
               6                         UNITED STATES DISTRICT COURT
               7
                                         NORTHERN DISTRICT OF CALIFORNIA
               8
               9
              10
              11                                                Case No. 3:23-CV-04597-EMC
              12
              13   ASHLEY GJOVIK, an individual,                PLAINTIFF'S MOTION TO STRIKE
              14                                                IMPROPER NON-PARTY AMICUS BRIEF
                                  Plaintiff,
                                                                IN SUPPORT OF DEFENDANT'S MOTION
              15                  v.                            TO STRIKE
              16                                                (DOCKET no. 62)
                   APPLE INC, a corporation,
              17
                                                                 NOTICE OF MOTION
                                  Defendant.
              18
                                                                MEMORANDUM OF POINTS &
              19
                                                                AUTHORITIES IN SUPPORT OF MOTION
              20
              21
              22                                                 HEARING:
                                                                 Dept: Ceurtreem 5, 17th Floor (Virtual)
              23
                                                                 Date: May 16, 2024
              24
                                                                Time: 1:30 p.m.
              25
              26
              27
              28

                                                                      i
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               1                                                 CASES
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               3   Banerjee v. Bd. of Trustees of Smith College, 648 F.2d 61, 65 n. 9 (1st Cir. 1981).           -5
               4   Born Hall Corporation v. General Motors Corporation, 124 F.2d 822 (C.C.A. 2d Cir. 1942).--- 7
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               7   Faiveley Transport USA, Inc. v. Wabtec Corp., 758 F. Supp. 2d 211, 216 (S.D.N.Y. 2010). ,     -7
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                   Hoy v. Progress Pattern Co., 217 F.2d 701 (6th Cir. 1954). ,                                  -7
              11   In re Enron Creditors Recovery Corp., Case No. 01-16034 (AJG), Adv. No. 03-92677, Adv. No.
              12      03-92682, 2 (Bankr. S.D.N.Y. May. 20, 2008).-                                              -5
              13   In re Marriage of Heggie, 99 Cal. App. 4th 28, 30, n.3 (2002). ,                              -4

              14   Leigh v. Engle, 535 F. Supp. 418, 420 (N.D. Ill. 1982).                                       -5
                   Lewis v. ACB Business Services, Inc., 135 F.3d 389, 39 Fed. R. Serv. 3d 1376 (6th Cir. 1998). - 8
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              19   Medevae MidAtlantie, LLC v. Keystone Mercy Health Plan, 817 F. Supp. 2d 515, 520 (E.D. Pa.
              20      2011).                                                                                     -6

              21   NGV Gaming, Ltd. v. Upstream Point prolate, LLC, 355 F. Supp. 2d 1061, 1068 (N.D. Cal.

              22      2005).                                                                                     -5
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                   Proverb v. Miller, 102 F.3d 1478, 1483 (9th Cir. 1996).                                       15
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              27   Runnion ex rel. Runnion v. Girl Scouts of Greater Cnieago and Northwest Indiana, 786 F.3d 510
              28     (7th Cir. 2015).                                                                            .9
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               1   Sony v. Susquehanna Corp., 419 F.2d 1112 (7th Cir. 1970). -                                  -8

               2   Silver v. Executive Car Leasing Long-Term Disability Plan, 466 F.3d 727, 731 n.2 (9th Cir.
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               6   Sweigert v. Cable News Network, Inc., 20-cv-12933, 20-21 (E.D. Mich. Mar. 21, 2022).-        -6
               7   Titan America, LLC v. Darrell, NO. 7:11-CV-52-FL, 9 (E.D.N.C. Sep. 2, 2011).-                -7
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               9   Wilderman v. Nelson, 467 F.2d 1173 (8th Cir. 1972).-                                         -8

              10   Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir. 2007)..                                        14

              11
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               1
               2   1.     NOTICE
               3          1.      PLEASE TAKE NOTICE that on MAY 16 2024 at 1:30PM, in Judge Chen's
               4
                   virtual courtroom, before the Honorable Judge Edward Chen, I will, and hereby do, move for an
               5
                   order granting a Motion to Strike the improper amicus document filed to Docket No. 62. The
               6
                   motion is based on this Memorandum, and Plaintiff" s concurrently filed Declaration with
               7
               8   attached Exhibits at Docket No. 64-1.

               9
                   II.    PLAINTIFF'S MEMORANDUM In SUPPORT oF PLA1NTIFF'S MOTION
              10
                          TO STRIKE
              11
                          2.      Plaintiff, Ashley Gjovik, respectfully submits the following Memorandum of
              12
                   Points and Authorities in support of Plaintiff" s Motion to Strike the documents at Docket No. 62.
              13
              14   A.     STATEMENTS OF FACTS

              15          3.      On April 19 2024, under Docket NO. 62, a non-party filed a Declaration of "In
              16
                   Support of Defendant's Motor to Strike" at (motion located at Docket No. 49). The document was
              17
                   dated April 16 2024 and mailed to this Court, arriving on April 19 2024 and entered to the docket
              18
                   on April 23 2024, per the docket notes .
              19
              20          4.      The non-party identified herself as the person described in Plaintiff's Complaint as

              21   "Joanna Appleseed." Non-Party Decl at 91 1. Appleseed explained she used to work for Apple's
              22
                   Global Security team. Id at 914. Appleseed also explained she sued Gjovik in 2022. Id at 915-6.
              23
                          5.      Appleseed explained she filed the Amicus Declaration after this lawsuit was
              24
                   "brought to [her] attention" by someone but she does not say who. Id at913. Appleseed also notes
              25
              26   she "emailed Apple's attorney" about Gjovik's lawsuit asking for "options" to "have [herself]

              27   removed from [the] ease." Id at 913. Appleseed notes that Apple's counsel "did not reply" to her.

              28   Id. Appleseed requested in her Declaration that the Court force Plaintiff to remove claims from

                                                                       1
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               1   Plaintiff's federal lawsuit alleging that Appleseed engaged in unlawful activity which harmed
               2   Plaintiff. Id at at 91 2 and 9. Finally, Appleseed also noted that she did not contact Gjovik after
               3
                   learning of the litigation and prior to filing this Declaration. Id at 913. Plaintiff denies, disputes,
               4
                   and objects to all other facts alleged in the non-party's Declaration.
               5
                           6.      Plaintiffs Third Amended Complaint references Appleseed as one of the multiple
               6
               7   agents of Apple Inc under Plaintiff" s claims for violations of the RICO Act (TAC at 91 112), Bane

               8   Act (TAC at 91 187), Ralph Act (TAC at 91 197), and IIED/NIED (TAC at 91 252-253). Plaintiff
               9   notes the various vicarious liability theories she plans to argue at TAC 91 ill and which includes
              10
                   theories such as negligence, conspiracy, condonation, non-employment agency, ratification, and
              11
                   other theories (in addition to Respondeat superior). Id. Gjovik also argues association-in-fact
              12
                   Enterprise membership at TAC 91 118-120, applicable here to at least the 18 U.S. Code §§ 1512,
              13
              14   1513 Predicate Act claims .

              15           7.      Apple's Motion to Dismiss at Docket No. 48 references Appleseed in several
              16   sections, including the Bane Act section, writing: "PIaintw'previousIy pled that in 2022 Joanna
              17
                   Appleseed '-while no longer employed at Apple ...-filed an FBI report about Plaintzff ...and
              18
                    'retaliatory litigation' against Plaints      Even if such conduct were to violate the Bane Act,
              19
              20   Apple would not be liable as a matter flaw. " Def's Mot. to Dismiss Plaintiffs TAC at pages 18-

              21   19. Apple also references Appleseed in the Ralph Act section, writing: "Plainly alleges that
              22    'Joanna Appleseed ']9ledfalse reports about Plaints         Even zfAppleseed 's conduct amounted
              23
                   to a Ralph Act violation, Apple is not liable for Appleseed 's conduct because, as discussed above,
              24
                    Plainly acknowledges that Appleseed was no longer employed at Apple when any suen
              25
                    purportedly false report was]9led. " Defs Mot. to Dismiss Plaintiffs SAC at page 21. Gjovik and
              26
              27   Apple Inc have not disputed that Appleseed did the things Gjovik alleged in her TAC, but Apple

              28   does dispute it should be held liable for Appleseed's conduct.


                                                                         2
                   PLAINTIFF 'S MOTION TO STRIKE IMPROPER AMICUS BRIEF                              APRIL 23 2024
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               1           8.      Plaintiff did not use Appleseed's true name in her Complaints out of fear, as noted

               2   in Plaintiffs Complaints: "Joanna Appleseed... who worked in Apple's Worldwide Loyalty
               3
                   team"... "alias because this person tried to sue Gjovik in 2022 for naming her in charges and
               4
                   legal]9lings alleging witness intimidation, and Gjovikfears she might try to do it again." OC at 91
               5
                   132, FAC at ii 630, SAC at al 430. It is clear Apple knew who Plaintiff was referring to by Apple's
               6

               7   responses »

               8   B.      ISSUES TO BE DECIDED
               9
                           9.      First, this Court should decide whether the "Declaration" is a proper filing, and
              10
                   whether the non-party is allowed to file the document, and if net, the entry at Docket No. 62 should
              11
                   be stricken in its entirety. Next, if the entry is not stricken in entirety, then this Court should decide
              12
              13   whether parts of the document at Docket No. 62 should be stricken.

              14           10.     Then, if the entire document is net stricken, this Court should decide whether to
              15   consider the remainder of the document as part of its consideration of Defendant Apple's Motion
              16
                   to Strike Plaintiffs TAC. The Court must also consider if this would convert Apple's Motion to
              17
                   Dismiss to into a Motion for Summary Judgment.
              18
                           11.     Finally, the Court may decide if the Amicus Declaration can be used as evidence
              19
              20   by Plaintiff in support of her claims of violations of the RICO Act, Bane Act, and Ralph Act

              21   through interference and attempted interference with Plaintiff" s federal litigation and testimony.
              22
                   c.      THE DOCUMENT IS AN IMPRQPER DECLARATION.
              23
                           12.     The Amicus Declaration contains numerous legal arguments and attempts to
              24

              25
                   summarize and characterize legal matters. This is not what Declarations are for. "The purpose of

              26   a declaration is to submit evidence, it is improper to use a declaration to present legal argument."

              27   Silver v. Executive Car Leasing Long-Term Disability Plan, 466 F.3d727, 731 n.2 (9th Cir. 2006).
              28


                                                                          3
                   PLAINTIFF 'S MOTION TO STRIKE IMPROPER AMICUS BRIEF                                APRIL 23 2024
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               1    In re Marriage of Heggie, 99 Cal. App. 4th 28, 30, n.3 (2002). The Amicus Declaration offers
               2   very few facts and provides no supporting evidence such as exhibits.
               3
                          13.     A declaration "must be viewed just as counsel would view live testimony, and may
               4
                   be attacked for any admissibility deficiency. " § 37:39. Opposition papers-Evidence, 4 Bus. &
               5
                   Com. Litig. Fed. Cts. § 37:39 (Sth ed.) Local Civil Rule 7-5(b) explains: "An a]§9davit or
               6

               7   declaration may contain only faets, must conform as much as possible to the requirements offed.

               8   R. Civ. P. 56(e), and must avoid conclusions and argument. Any statement made upon information

               9   or belief must speey'y the basis therefor. An affidavit or declaration not in compliance with this
              10
                   rule may be stricken in whole or in part. " The Federal Rules of Civil Procedure Rule 47 and Rule
              11
                   56 a1s0 explains a similar expectation. l
              12
                          14.     Affidavits from the moving party may only be considered on a motion to dismiss
              13
              14   where they raise ne fact controversy but only a question of law. Data Disc, Inc. v. Systems
              15   Technology Associates, Inc., 557 F.2d 1280 (9th Cir. 1977). This Amicus Declaration is in support
              16   of Apple's Motion to Dismiss so it's subject to this expectation.
              17
                   D.     THE DOCUMENT Is AN IMPRQPER AMICUS BRIEF.
              18
              19          15.     An amicus curiae is not a party and has no control over the litigation and no right

              20   to institute any proceedings in it, nor can it file any pleadings or motions in the case. See, e.g.,

              21   United States v. Michigan, 940 F.2d 143, 163-64 (6th Cir. 1991) (disapproving of the "legal
              22
                   mutant characterized as `litigating amicus curiae"' because it impinged on the inherent rights of
              23
                   the real parties in interest). NGV Gaming, Ltd. v. Upstream Point prolate, LLC, 355 F. Supp. 2d
              24
                   1061, 1068 (N.D. Cal. 2005).
              25

              26
                   l See, Federal Rules of Civil Procedure, Rule 47, Notes of Advisory Committee on Rules-
              27
                   1944, point 3: "...authorize the use of affidavits when affidavits are appropriate to establish a
              28   fact." Rule 56(c)(4), "An affidavit or declaration used to support or oppose a motion must be
                   made on personal knowledge, set out facts that would be admissible in evidence, and show that
                   the affiant or declarant is competent to testify on the matters stated."
                                                                         4
                   PLAINTIFF 'S MOTION TO STRIKE IMPROPER AMICUS BRIEF                            APRIL 23 2024
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               1           16.      The vast majority of amicus curiae briefs are filed by allies of litigants and
               2   duplicate the arguments made in the litigants' briefs, in effect merely extending the length of the
               3
                   litigant's brief. United States v. Michigan, 940 F.2d 143, 164-65 (6th Cir. 1991). Ryan v.
               4
                   Commodity Futures Trading Com'n, 125 F.3d 1062, 1063 (7th Cir. 1997). This Amicus
               5
                   Declaration did support Apple's arguments in their Oppositions and as such essentially provides
               6

               7   them additional pages and allows them to evade the Rules of Evidence that would have prevented

               8   them from making these types of allegations in their Reply.
               9           17.      The amicus curiae should present an "objective, dispassionate, neutral discussion
              10
                   of the issues." In re Enron Creditors Recovery Corp., Case No. 01-16034 (AJG), Adv. No. 03-
              11
                   92677, Adv. No. 03-92682, 2 (Bankr. S.D.N.Y. May. 20, 2008). If the information offered
              12
                   conflates or confuses the issues before the court, the request for leave to file it should be denied. Id.
              13
              14   Long Island Soundkeeper Fund, Inc. v. New York Athletic Club, NO. 94 Civ. 0436, 1995 WL
              15   358777, at *1 (S.D.N.Y. June 14, 1995).
              16           18.      If the proffer comes from an individual with a partisan, rather than impartial view,
              17
                   the motion for leave to file an amicus brief is to be denied, in keeping with the principle that an
              18
                   amicus must be a friend of the court and not a friend of a party to the cause. C. Rembar, The Law
              19
              20   of The Land 330 (1980). Leigh v. Engle, 535 F. Supp. 418, 420 (ND. 111. 1982). Where a

              21   petitioner's attitude toward a litigation is patently partisan, they should not be allowed to appear
              22   as amicus curiae. Liberty Lincoln Mercury, Inc. v. Ford Marketing Corp., 149 F.R.D. 65, 82
              23
                   (D.N.J. 1993).
              24
                           19.      The purpose of an amicus curiae brief is "to assist the court on matters of
              25
                   law." Banerjee v. 8d. of Trustees of Smith College, 648 F.2d 61, 65 n. 9 (1st Cir. 1981). It is not,
              26

              27   however, to be used to assist with respect to evidentiary claims, therefore, it should not offer

              28   factual information favoring a particular party. Id., see also Strayer v. Doorley, 432 F.2d

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               1   567 (Sth Cir. 1970). "An amicus who argues facts should rarely be welcomed." Id. at *15

               2   (quoting Strayer v. Doorley, 432 F.2d 567, 569 (1st Cir. 1970)). See also, Reynolds v. United
               3
                   States Gov 't, 7:22-CV-00178-FL, 8 (E.D.N.C. Jul. 21, 2023).
               4
                          20.     Similar to Sweigert v. Cable News Network, Inc., this case also has a non-party
               5
                   submitting an amicus brief wanting to "share facts and evidence" without seeking concurrence
               6
               7   from either party and the Plaintiff actively opposes the Amicus document. In that case the Court

               8   agreed to strike the amicus filing noting it contained "contain conclusory allegations of Plaintiff
               9   conspiring with a court employee to commit fraud on the court." Sweigert v. Cable News Network,
              10
                   Inc., 20-cv-12933, 20-21 (E.D. Mich. Mar. 21, 2022). Appleseed's Amicus Declaration is of the
              11
                   same character and should be stricken.
              12
              13   E.     APPLE DID NOT FILE APPLESEED'S DECLARATION AND APPLESEED
                          WAS NOT APPROVED TO FILE AN AMICUS BRIEF.
              14
              15          21.     There is no right of nonparties generally to submit an amicus brief." 16AA C.

              16   Wright & A. Miller, Federal Practice and Procedure § 3975, pg. 383 (2021). Instead, "the amicus
              17   must file a motion for leave to file the brief" when consent cannot be obtained. Id. The amicus
              18
                   brief itself must accompany the motion for leave, Fed. R. App. P. 29(a)(3), and the filings must
              19
                   be served on all parties. Fed. R. App. P. 25(b). Sweigert v. Cable News Network, Inc., 20-cv-
              20
                   12933, 19-20 (E.D. Mich. Mar. 21, 2022). Appleseed did not request leave to file the
              21
              22   brief/declaration, nor did she obtain consent from the parties, thus it is improper.

              23   F.     An AMICUS BRIEF OR DECLARATION IS NOT APPROPRIATE FOR A
              24          MOTION TO STRIKE.

              25          22.     "Motions to strike are to be decided on the pleadings alone." Medevac MidAtlantic,
              26
                   LLC v. Keystone Mercy Health Plan, 817 F. Supp. 2d 515, 520 (E.D. Pa. 2011). If there is a
              27
                   disputed question of fact or law on a motion to strike, the court should defer action on the motion
              28
                   and leave the sufficiency of the allegations for a determination on the merits. Oneida Indian Nation
                                                                        6
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               1   of New York v. New York, 194 F. Supp. 2d 104 (N.D. N.Y. 2002). Appleseed's request is not
               2   appropriate for a 12(f) motion to strike or a 12(b)(6) motion to dismiss .
               3
                   G.     An AMICUS BRIEF OR DECLARATION IS NOT APPROPRIATE FOR A
               4          MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM.
               5
                          23.     The Court making a Motion to Dismiss for failure to state a claim determination
               6
                   must assume that the plaintiffs allegations are true, construe the complaint in a light most
               7
               8   favorable to the plaintiff, and resolve every doubt in the plaintiffs favor. Grid Systems Corp. v.

               9   Texas Instruments Inc., 771 F. Supp. 1033, 1036, 20 U.S.P.Q.2d (BNA) 1207 (ND. Cal. 1991).
              10   Affidavits cannot be treated as proof contradictory to well-pleaded facts in the complaint. Slagle
              11   v. U.S., 228 F.2d 673 (Sth Cir. 1956). The court may take cognizance of and consider facts
              12
                   disclosed otherwise than in the complaint, such as in an affidavit, brief, or argument, only where
              13
                   such facts are undisputed or the parties consent to their consideration. Born Hall Corporation v.
              14
              15   General Motors Corporation, 124 F.2d 822 (C.C.A. 2d Cir. 1942).

              16          24.     The Court "is normally required to look only to the allegations on the face of the
              17   complaint" when adjudicating a motion to dismiss. Roth v. Jennings,489 F.3d 499, 509 (Zd Cir.
              18
                   2007). Accordingly, the Court generally cannot consider affidavits and exhibits on a motion to
              19
                   dismiss. Faiveley Transport USA, Inc. v. Wabtec Corp., 758 F. Supp. 2d 211, 216 (S.D.N.Y. 2010) .
              20
                   For the purpose of testing whether the complaint states facts sufficient to constitute a cause of
              21
              22   action, the allegations of fact cannot be challenged by affidavits to the contrary. Hoy v. Progress

              23   Pattern Co., 217 F.2d 701 (6th Cir. 1954).
              24          25.     Among other issues, this inquiry is not one that is appropriate for resolution at the
              25
                   Federal Rules of Civil Procedure Rule l2(b)(6) stage, where the court is to determine only whether
              26
                   a claim is stated, and is not to resolve factual contests or determine the applicability of
              27
              28   defenses. Titan America, LLC v. Darrell, NO. 7:11-CV-52-FL, 9 (E.D.N.C. Sep. 2, 2011).


                                                            7
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               1           26.     In considering a motion to dismiss for failure to state a claim, the court will not
               2   consider or pass on extraneous matters or questions or issues not proper for determination. Schy
               3
                   v. Susquehanna Corp.,419 F.2d 1112 (7th Cir. 1970). Further, where, in an action by an employee
               4
                   against the employer, the pleadings raise a triable issue of fact, a motion to dismiss the complaint
               5
                   will be denied. Wilderman v. Nelson, 467 F.2d 1173 (Sth Cir. 1972).
               6

               7           27.     While it might be appropriate for the court to consider additional facts or legal

               8   theories as serted in a response brief to a motion to dismiss if they are consistent with the facts and
               9   theories advanced in the complaint, the court may not consider allegations or theories that are
              10
                   inconsistent with those pleaded in the complaint. Hayes v. Whitman, 264 F.3d 1017 (10th Cir.
              11
                   2001). Ner may the court consider conclusions of law and unwarranted inferences of fact. Lewis
              12
                   v. ACB Business Services, Inc., 135 F.3d 389, 39 Fed. R. Serv. 3d 1376 (6th Cir. 1998).
              13
              14           28.     Substantive defenses on the merits of the complaint may not be raised in a motion

              15   to dismiss for failure to state a claim. Skala v. Sataloj 301 F. Supp. 304 (E.D. Pa. 1969). For
              16   defenses such as statute of limitations to be raised on a Fed. R. Civ. P. 12(b)(6) motion to dismiss,
              17
                   the complaint must clearly show on its face that the affirmative defense is applicable and bars the
              18
                   action. El-Shaddai v. Zamora, 833 F.3d 1036 (9th Cir. 2016). ASARCO, LLC v. Union Paci]9c R.
              19
              20   Co., 765 F.3d 999, 89 Fed. R. Serv. 3d 554 (9th Cir. 2014).

              21           29.     Even though affidavits usually constitute "matters outside the pleading" within the

              22   meaning of Fed. R. Civ. P. 12(b), an affidavit filed by the plaintiff which merely reiterates the
              23
                   claim stated in the complaint in general and conclusery language does not convert a Fed. R. Civ.
              24
                   P. 12(b)(6) motion to one for summary judgment. Aldahonda-Rivera v. Parke Davis & Co., 882
              25
                   F.2d 590, 14 Fed. R. Serv. 3d 713 (1st Cir. 1989). Further, in opposition to a motion to dismiss for
              26

              27   failure to state a claim, a plaintiff may submit materials outside the pleadings to illustrate the facts

              28   that the plaintiff expects to be able to prove, even if such materials were not attached as exhibits


                                                            8
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               1   to the complaint. Fed.Rules Civ.Proc.Rule 12(b)(6), 28 U.S.C.A. Runnion ex rel. Runnion v. Girl

               2   Scouts of Greater Chicago and Northwest Indiana,786 F.3d510 (7th Cir. 2015). Plaintiff attaches
               3
                   several exhibits to her concurrently filed Declaration to show some of the facts she expects to be
               4
                   able to prove and which are in direct contraction with the unsubstantiated allegations in the Amicus
               5
                   Declaration .
               6
               7   H.     THE AMICUS DECLARATION VIOLATES THE RULES OF EVIDENCE.

               8          30.      Plaintiff objects to numerous statements made in the Amicus Declaration. Many of
               9
                   the non-party's allegations are false, and most are unsubstantiated and misleading. Fed. R. Evid.
              10
                   § 403 requires a declarant to bear the burden of producing evidence as to the existence of a
              11
                   preliminary fact, including where the preliminary fact is "the personal knowledge of a witness
              12
              13   concerning the subject matter of his testimony." Fed. R. Evid. § 403(a)(2). Neither Defendant nor

              14   the non-party have substantiated any of non-party's allegations. Plaintiffs objections are as
              15   follows:
              16
                    Objection      Material Objected To          Grounds for Objection         Ruling
              17    No.

              18    1              Docket No. 62914              Irrelevant (Fed. R. Evid. §
                                                                 401)
              19                   Location of non-party's                                     Sustained:
              20                   previous residence.           Confusion (Fed. R. Evid.
                                                                 § 403)                        Overruledz
              21
                    2              Docket No. 62 'H4             Irrelevant (Fed. R. Evid. §
              22                                                 401)
                                   Allegations about when or                                   Sustained:
              23                   how non-party met Plaintiff. Confusion (Fed. R. Evid.
                                                                § 403)                         Overruledr
              24
              25
                    3              Docket No. 62914              Improper Opinion /
              26                                                 Speculative (Fed. R. Evid.
                                   Allegations and conclusions   §§ 602, 701, 703)          Sustained:
              27                   about non-party's financial
                                   interest in Defendant's       Out of Context (Fed. R.       Overruledl
              28                   business                      Evid. § 106)

                                                            9
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               1                                                     Argumentative (Fed. R.
                                                                     Evid. § 403)
               2
                    4            Docket No. 62914                    Opinion and legal
               3                                                     arguments. Civil L.R. 7-
               4                 Legal arguments about               5(b)                         Sustained:
                                 Apple's vicarious liability
               5                 for actions of non-party.           Improper Opinion /         Overruledr
                                                                     Speculative (Fed. R. Evid.
               6                                                     §§ 602, 701, 703)
               7                                                     Argumentative (Fed. R.
               8                                                     Evid. § 403)

               9    5            Docket No. 62914                    Improper Opinion /
                                                                     Speculative (Fed. R. Evid.
              10                 Legal argument about                §§ 602, 701, 703)          Sustained:
                                 propriety of naming non-
              11                 party in this lawsuit.              Argumentative (Fed. R.       Overruledl
              12                                                     Evid. § 403)

              13    6            Docket No. 62915                    Opinion and legal
                                                                     arguments. Civil L.R. 7-
              14                 Allegations and                     5(b)                         Sustained:
                                 characterization about
              15                 Plaintiff" s TAC as "false,"        Argumentative (Fed. R.       Overruledz
              16                 "misleading" its "veracity,    79
                                                                     Evid. § 403)
                                 "improper."
              17                                                     Improper Opinion /
                                                                     Speculative (Fed. R. Evid.
              18                                                     §§ 602, 701, 703)
              19    7            Docket No. 62 'H 5                  Argumentative (Fed. R.
              20                                                     Evid. § 403)
                                 Unsubstantiated allegations                                      Sustained:
              21                 about conduct and                   Improper Opinion /
                                 statements by Plaintiff - any       Speculative (Fed. R. Evid. Overruledl
              22                 of which would have been            §§ 602, 701, 703)
                                 statements Plaintiff did not
              23                 make to the non-party and           Out of Context (Fed. R.
                                 thus are Hearsay.                   Evid. § 106)
              24
              25                                                     Hearsay (Fed. R. Evid.
                                                                     801)
              26
                    8            Docket No. 62 'H 5                  Argumentative (Fed. R.
              27                                                     Evid. § 403)
                                 Allegations about the                                            Sustained:
              28                 nature, outcome, and merit

                                                            10
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               1                 of the non-party's lawsuit     Improper Opinion /         Overruledl
                                 against Plaintiff.             Speculative (Fed. R. Evid.
               2                                                §§ 602, 701, 703)
               3                                                Out of Context (Fed. R.
               4                                                Evid. § 106)

               5                                                False or Misleading (See
                                                                Decl. of Ashley Gjovik 91
               6                                                2-10)
               7    9            Docket No. 62915               Opinion and legal
               8                                                arguments. Civil L.R. 7-
                                Allegations against Plaintiff   5(b)                         Sustained:
               9                accusing Plaintiff of
                                conduct that is                 Argumentative (Fed. R.       Overruled :
              10                "defamatory," "false light,"    Evid. § 403)
                                "fabricated narrative,"
              11                                                Improper Opinion /
                                "threaten," "destructive,"
              12                "harassed," "severely,"         Speculative (Fed. R. Evid.
                                "maliciously."                  §§ 602, 701, 703)
              13
                    10           Docket No. 62 'H 5             Argumentative (Fed. R.
              14                                                Evid. § 403)
                                Allegations about                                            Sustained:
              15
                                Defendant's status as a         Improper Opinion /
              16                "witness in defense" for        Speculative (Fed. R. Evid. Overruledl
                                Apple.                          §§ 602, 701, 703)
              17
                                                                Lacks Foundation
              18
              19
              20    11           Docket No. 62916               Opinion and legal
                                                                arguments. Civil L.R. 7-
              21                More arguments about            5(b)                         Sustained:
                                Apple's vicarious liability
              22                for non-party's actions.        Argumentative (Fed. R.       Overruledl
                                                                Evid. § 403)
              23
                                                                Improper Opinion /
              24
                                                                Speculative (Fed. R. Evid.
              25                                                §§ 602, 701, 703)

              26
              27    12           Docket No. 62916               Irrelevant (Fed. R. Evid.
                                                                401)
              28                                                                             Sustained:

                                                                     11
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               1                Unsubstantiated allegations     Confusion (Fed. R. Evid.     Overruledl
                                of conduct and statements       § 403)
               2                by Plaintiff.
                                                                Out of Context (Fed. R.
               3                                                Evid. § 106)
               4
                                                                Hearsay (Fed. R. Evid.
               5                                                801)

               6                                                False or Misleading (See
                                                                Decl. of Ashley Gjovik 91
               7                                                2-10)
               8
                    13          Docket No. 62916                Argumentative (Fed. R.
               9                                                Evid. § 403)
                                Claim that Plaintiff has                                     Sustained:
              10                "clear knowledge" of            Improper Opinion /
                                something.                      Speculative (Fed. R. Evid. Overruledl
              11                                                §§ 602, 701, 703)
              12
                                                                Hearsay (Fed. R. Evid.
              13                                                801)

              14    14          Docket No. 62916                Opinion and legal
                                                                arguments. Civil L.R. 7-
              15                Allegations against Plaintiff   5(b)                         Sustained:
                                accusing Plaintiff of
              16                conduct that "misleads,"        Argumentative (Fed. R.       Overruled :
              17                and is "harassing"              Evid. § 403)

              18                                                Improper Opinion /
                                                                Speculative (Fed. R. Evid.
              19                                                §§ 602, 701, 703)
              20                                                Out of Context (Fed. R.
              21                                                Evid. § 106)

              22    15          Docket No. 62915                Opinion and legal
                                                                arguments. Civil L.R. 7-
              23                Legal arguments and             5(b)                         Sustained:
                                characterization of a lawsuit
              24                filed against Plaintiff.        Hearsay (Fed. R. Evid. §     Overruledl
              25                                                801)

              26                                                Improper Opinion /
                                                                Speculative (Fed. R. Evid.
              27                                                §§ 602, 701, 703)
              28

                                                                     12
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               1                                                Argumentative (Fed. R.
                                                                Evid. § 403)
               2
                                                                False or Misleading (See
               3                                                Decl. of Ashley Gjovik 91
               4                                                2-10)

               5                                                Out of Context (Fed. R.
                                                                Evid. § 106)
               6
                    16          Docket No. 62916                Opinion and legal
               7                                                arguments. Civil L.R. 7-
                                Legal arguments and             5(b)                         Sustained:
               8
                                characterization of the
               9                appeal of a lawsuit filed       Hearsay (Fed. R. Evid.       Overruledr
                                against Plaintiff.              801)
              10
                                                                Improper Opinion /
              11                                                Speculative (Fed. R. Evid.
              12                                                §§ 602, 701, 703)

              13                                                Argumentative (Fed. R.
                                                                Evid. § 403)
              14
                                                                False or Misleading (See
              15                                                Decl. of Ashley Gjovik 91
              16                                                2-10)

              17                                                Out of Context (Fed. R.
                                                                Evid. § 106)
              18
                    17          Docket No. 62919                Opinion and legal
              19                                                arguments. Civil L.R. 7-
                                Allegations against Plaintiff   5(b)                         Sustained:
              20                accusing Plaintiff of
              21                conduct and statements          Improper Opinion /         Overruledl
                                characterized as                Speculative (Fed. R. Evid.
              22                "improperly," "improperly,      §§ 602, 701, 703)
                                "improper judicial record,"
              23                "unconstitutionally," "not      Argumentative (Fed. R.
                                proper," "not rooted in any     Evid. § 403)
              24
                                valid legal theory."
              25
              26    18          Docket No. 62919                Argumentative (Fed. R.
                                                                Evid. § 403)
              27                Characterization of alleged                                  Sustained:
                                comments by an "Assistant
              28                Attorney General."                                           Overruledl

                                                            13
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               1                                                Improper Opinion /
                                                                Speculative (Fed. R. Evid.
               2                                                §§ 602, 701, 703)
               3                                                Hearsay (Fed. R. Evid. §
               4                                                801)

               5                                                Out of Context (Fed. R.
                                                                Evid. § 106)
               6
                    19           Docket No. 62912               Argumentative (Fed. R.
               7                                                Evid. § 403)
                                 Request to strike content in                                Sustained:
               8
                                 Plaintiff" s TAC related to    Improper request of non-
               9                 non-party »                    party                        Overruledr

              10                                                Obstruction
              11    20           Docket No. 62919               Argumentative (Fed. R.
                                                                Evid. § 403)
              12                 Request: "The inclusion of                                  Sustained:
              13                 [non-party] ... should be      Improper request of non-
                                 stricken from the record in    party                        Overruledl
              14                 this proceeding"
                                                                Obstruction
              15
              16
              17          31.     Further, the Amicus Declaration introduces new facts and arguments in support of

              18   a Reply, and as such the Court need not consider those allegations and arguments as they were not
              19   raised prior to the Reply. Zamani v. Cames, 491 F.3d 990, 997 (9th Cir. 2007).
              20
                          32.     Plaintiff intentionally resisted Defendant's attempt to force her to detail her
              21
                   vicarious liability theories in her Opposition, as her TAC and Opposition page limits did not
              22
                   support fully developing those theories, but her Complaint did include enough facts to show there
              23
              24   can be a basis, and those theories can be argued after discovery. Plaintiff" s Opposition to

              25   Defendant's Motion to Dismiss at 918, 15, 41, 42-43, 47-48, 50.
              26          33.     New facts in a Reply cannot be used to "prove" the original Motion's allegations
              27
                   if it was not argued in the Opposition. Proverb v. Miller, 102 F.3d 1478, 1483 (9th Cir. 1996).
              28


                                                                     14
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               1   Thus, there is currently no basis for any allegations in this Amicus Declaration, even if they were

               2   legitimate, which they are net.
               3
                   1.     PREJUDICE
               4
                           34.     The attempt to introduce this Amicus Declaration is yet another attempt to "poison
               5
               6   the well," "stack the deck," and attack Plaintiff" s character. This matter should be decided on the

               7   merits - not a legal street fight. Plaintiff should not have to immediately defend her integrity and
               8   character at the beginning of her own lawsuit.
               9
                           35.     Finally, in addition, the non-party expressed she wants to testify - and she will get
              10
                   that chance, as will others alleged to have acted as agents of Apple - but in the normal cadence
              11
                   and operations of civil litigation, not in whatever this is.
              12
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                   PLAINTIFF 'S MOTION TO STRIKE IMPROPER AMICUS BRIEF                            APRIL 23 2024
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               1   111.   CONCLUSION
               2          36.     Considering all of the above, Plaintiff respectfully asks the Court to strike Docket
               3
                   No. 62 in its entirety, and if net, then to strike the improper statements made within the Amicus
               4
                   Declaration. Plaintiff requests that this type of "evidence" not be considered for Apple's
               5

               6   preliminary Motion to Dismiss or Motion to Strike. Plaintiff also asks for the Amicus Declaration

               7   to be used as evidence in support of Plaintiffs allegations of violations of the RICO Act, Bane

               8   Act, and Ralph Act later in this lawsuit. Plaintiff specifically requests consideration of:
               9
                                  a. Appleseed's admission she directly contacted Apple's lawyers to try to discuss
              10                     how to reduce Apple's liability in this lawsuit.
                                  b. Appleseed's allegation that Apple's lawyers never replied to her - which means
              11
                                     Apple never warned her not to interfere, despite knowing her prior actions.
              12                  c. Appleseed's admission that someone tipped her off about this lawsuit which
                                     incited her to file this Amicus Declaration.
              13
                                  d. Appleseed's admission of being a "witness in defense" for Apple in the NLRB
              14                     matter.
                                  e. Appleseed's requests to force Plaintiff to have to withdraw allegations and
              15
                                       evidence against Apple in Plaintiff" s federal lawsuit.
              16                    f. Appleseed admitting all of the above in "support" of Apple's Motion to Strike
                                       Plaintiff" s Third Amended Complaint.
              17
                   Plaintiff also respectfully requests if the Motion to Dismiss is converted to a Motion for Summary
              18
                   Judgment, that Plaintiff have more time and an opportunity to present additional relevant
              19
              20   evidence.

              21   Dated: April 23 2024
                   Signature:
              22
              23
                                           \
              24

              25

              26   s/ Ashley M. Gjovik
                   Pro Se Plaintiff
              27   Email: legal@ ashleygjovilccom
              28   Physical Address: Boston, Massachusetts
                   Mailing Address: 2108 N St. Ste. 4553 Sacramento, CA, 95816
                   Phone: (408) 883-4428
                                                                 16
                   PLAINTIFF 'S MOTION TO STRIKE IMPROPER AMICUS BRIEF                             APRIL 23 2024
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              legal@ashleygjovik.com



                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFQRNIA


              ASHLEY M. GJOVIK, an individual,                 Case No. 3:23-CV-04597-EMC


                   Plaintiff,                                   PLAINTIFF'S MEMORANDUM
                                                                OF POINTS & AUTHORITIES
                  vs.                                           IN SUPPORT OF MOTION TO
                                                                STRIKE IMPROPER AMICUS
                                                                DECLARATION
              APPLE INC. a corporation,
                                7



                                                                MOTION TO STRIKE
                   Defendant.                                   Fed. R. Civ. p. 1zlf)

                                                               Motion Hearing & Case
                                                               Management Conference:
                                                               Dept: Courtroom 5
                                                               Judge Edward M. Chen
                                                               Date: August 28, 2024
                                                               Time: 9:30 AM PT




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       16        harass and intimidate the Plaintiff, in continuance of the multi-year
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        3    Banerjee v. Bd. of Trustees of Smith College, 648 F.2d 61, 65 n. 9 (1st Cir. 1981).      7
        4    Bono Hall Corporation v. General Motors Corporation, 124 F.2d 822 (C.C.A. 2d
        5      Cir. 1942).                                                                           10
       6     Data Disc, Inc. v. Systems Technology Associates, Inc., 557 F.2d 1280 (9th Cir.
        7      1977).                                                                                 5

        8    Faiveley Transport USA, In. v. Wabteo Corp., 758 F. Supp. 2d 211, 216 (S.D.N.Y.
        9      2010).                                                                                 9
       10    Grid Systems Corp. 7). Texas Instruments In., 771 F. Supp. 1033, 1036, 20
        11     U.s.p.Q.2d (BNA) 1207 (nD. Cal. 1991).                                                 9

        12   Hoy v. Progress Pattern Co., 217 F.2d 701 (6th Cir. 1954).                               9

        13   In re Enron Creditors Recovery Corp., Case No. 01-16034 (A]G), Adv. No. 03-
        14     92677, Adv. No. 03-92682, 2 (Bankr. S.D.N.Y. May. 20, 2008).                           7
       15 In re Marriage of I-Ieggie, 99 Cal. App. 4th 28, 30, n.3 (2002).                            4
       16    Leigh 7). Engle, 535 F. Supp. 418, 420 (N.D. Ill. 1982).                                 7
       17    Lewis v. ACB Business Services, In., 135 F.3d 389, 39 Fed. R. Serv. 3d 1376 (6th
       18      Cir. 1998).                                                                            9

        19 Liberty Lincoln Mercury, In. v. Form Marketing Corp., 149 F.R.D. 65, 82 (D.N.].
        20     1993).                                                                                 7

       21    Long Island Sounakeeper Fund, In. v. New York Athletic Club, No. 94 Civ. 0436,
        22     1995 WL 358777, at *1 (s.D.n.y. ]one 14, 1995).                                        7
       23    McKay v. Sazerao Co., 23-cv-00522-EMC, 4 (N.D. Cal. May. 17, 2023).                     12
       24    Meaevao MiaAtlantio, LLC 2). Keystone Merry Health Plan, 817 F. Supp. 2d 515,
        25     520 (E.D. Pa. 2011).                                                                  10
       26    NGV Gaming, Ltd. 2). Upstream Point Molate, LLC, 355 F. Supp. 2d 1061, 1068
        27     (n.D. Cal. 2005).                                                                      6

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       1     Oneidd Indidn Notion of New York v. New York, 194 F. Supp. 2d 104 (N.D. N.Y.
        2      2002).                                                                               10
        3    Reynolds 7). United Stdtes Gov 't, 7:22-CV-00178-FL, 8 (E.D.N.C. ]ul. 21, 2023). 8
        4    Rosenberg-Wonl v. Stdte Form Fire é5' Cos. Co., 20-cv-09316-DMR, 6 (N.D. Cal.
        5      Mar. 28, 2022).                                                                       6

       6     Rnnnion ex rel. Rnnnion v. Girl Sports of Gredter CNiodgo dnd Northwest Indidnd ,
        7      786 F.3d 510 (7th Cir. 2015).                                                        10
        8    R3idn v. Commodity Fntnres Trdding Com'n, 125 F.3d 1062, 1063 (7th Cir. 1997).          6
        9    Silver v. Exeontive Cdr Ledsing Long-Term Disdbilitji Pldn, 466 F.3d 727, 731 n.2
        10     (9th Cir. 2006).                                                                      4

        11 Sldgle v. U.S., 228 F.2d 673 (Sth Cir. 1956).                                             9

        12   Strdsser v. Doorley, 432 F.2d 567 (5th Cir. 1970)                                       8

        13   Sweigert v. Coble News Network, In., 20-cv-12933, 19-20 (E.D. Mich. Mar. 21,
        14     2022).                                                                                5

       15    Sweigert v. Coble News Network, In., 20-cv-12933, 20-21 (E.D. Mich. Mar. 21,
        16     2022).                                                                                8

        17   United Stdtes v. MioNigdn, 940 F.2d 143, 163-64 (6th Cir. 1991)                         6

        18   Rules
        19   Fed. R. App. P. 25(b).                                                                  5
        20   Fed. R. App. P. 29(a)(3)                                                                5
        21 Fed. R. Civ. P. 12(f)                                                                     i
        22   Fed.Rules Civ.Proc.Rule 12(b)(6),                                                      10
        23   Federal Rules of Civil Procedure Rule 47 and Rule 56                                    4
        24 Local Civil Rule 7-5(b)                                                                   4

        25   Treatises
        26   §37:39. Opposition papers-Evidence, 4 Bus. & Com. Litig. Fed. Cts. § 37:39
        27     (5th ed.)                                                                             4

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       1 16AA C. Wright & A. Miller, Federal Practice and Procedure § 3975, pg. 383
       2   (2021).                                                                                  5
       3 C. Rembar, The Law of The Land 330 (1980).                                                 7
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       1                          POINTS & AUTHORITIES
        2          1.     PLEASE TAKE NOTICE that on AUGUST 28 2024 at 9:30AM, in
        3    ]udge Chen's virtual courtroom, before the Honorable ]udge Edward Chen, I will,
        4    and hereby do, move for an order granting a Motion to Strike the improper non-
        5    party document filed to Docket No. 99. The motion is based on this Memorandum,
        6    and Plaintiff's concurrently filed Declaration.
        7          2.     Plaintiff, Ashley Gjovik, respectfully submits the following
        8    Memorandum of Points and Authorities in support of Plaintiff's Motion to Strike
        9    the documents at Docket No. 99. Plaintiff also requests the Court consider issuing
       10 an Order prohibiting non-parties from unilaterally filing declarations to the docket
       11 for this case; as otherwise, based on prior conduct, this kind of disruptive and
       12 prejudicial harassment of the Plaintiff is likely to continue throughout the entire
       13 lawsuit.
        14    III. STATEMENTS OF FACTS
       15
       16          3.     A non-party filed a Declaration "In Objection to PZuin tiff 's Omnibus
        17   Motion Dot #93 and Request for Juiiieiul Notice Dot #96" at Docket No. 99. The
       18 document was dated August 20 2024, then submitted to this court and docketed
             on August 27 2024, the day before the motion hearing; which was the first time
       19 Plaintiff was made aware of the filing.
        20         4.     On April 19 2024, under Docket No. 62, the same non-party filed a
        21 Declaration "In Support of Defenilunt's Moton to Strike." The document was dated
        22 April 16 2024 and mailed to this Court, arriving on April 19 2024 and entered to
        23 the docket on April 23 2024, per the docket notes. The non-party identified herself
        24 as the person described in Plaintiff's Complaint as "]oanna Appleseed." 4/19
        25 Non-Party Decl at 'H 1. Appleseed explained she used to work for Apple's Global
        26 Security team. Id at (II 4. Appleseed also explained she sued Gjovik in 2022. Id at
        27 'H 5-6. Appleseed explained she filed the declarations after this lawsuit was
        28
                                                       _ 1 _
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       1    "hroaght to [her] attention" by someone but she does not say who. Id at 'H 3.
       2     Appleseed also notes she "emailed Apple's attorney" about Gjovik's lawsuit asking
       3     for "options" to "have [herself] removed from [the] ease." la at 'H 3. Appleseed notes
       4     that Apple's counsel "aid not reply" to her when she contacted them about this.
       5     Id. Appleseed requested in her declaration that the Court force Plaintiff to remove
       6     claims from Plaintiff's federal lawsuit alleging that Appleseed engaged in unlawful
       7     activity, which benefited the Defendant, and which harmed Plaintiff. Id at (II 2 and
       8     9. Appleseed filed a second Declaration on April 30 2024 at Docket No. 66. This
       9     second declaration included additional allegations, contradictions, and unlawful
       10    requests.
       11         5.      Plaintiff filed a Motion to Strike both Declarations (Docket No. 64,
       12    67) which was granted by the Court on May 20 2024 (Docket No. 73). Appleseed
       13    has now filed her third declaration on August 20 2024 (Docket No. 99). Appleseed
       14    is not a party to this lawsuit, nor is she expected to be a party in this lawsuit in
       15    the future. Plaintiff denies, disputes, and objects to all other facts alleged in the
       16    non-party's three declarations.
       17         6.      Plaintiff's complaints allege Appleseed caused Plaintiff harm and did
       18    so as an agent of Apple under various vicarious liability theories. Apple's Motion
       19    to Dismiss at Docket No. 48 references Appleseed in several sections, including
       20    the Bane Act section, writing: "Plaintiff previously pled that in 2022 'Joanna
             Appleseed'-vnhile no longer employed at Apple      -Idled an FBI report shoat Plaintiff
       21
                and 'retaliatory litigation' against Plaintiff.... Even ifsaoh oondaot were to violate
       22
             the Bane Act, Apple would not he liable as a matter of law." Def's Mot. to Dismiss
       23
             Plaintiff's TAC at pages 18-19. Gjovik and Apple Inc have not disputed that
       24
             Appleseed did the things Gjovik alleged in her complaints, but Apple does dispute
       25
             it should be held liable for Appleseed's conduct. Pl's MTS at Docket No. 64, 67.
       26
             There is no factual dispute between par ties on this matter at this point in the
       27
             proceeding, and thus it is completely inappropriate for a non-party to attempt to
       28
                                                        _ 2 _
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       1     inject their own version of events into the court record.
        2          7.     As noted in her April 24 and May 1 2024 Motions to Strike, Plaintiff
        3    did not use Appleseed's name in her Complaints out of fear; as noted in Plaintiff's
        4    Complaints: "Joanna Appleseed... who worked in Apple's Worldwide Loyalty/ team"...
        5    "alias heoanse this person tried to see Gjovile in 2022 for naming her in charges and
        6    Lego! filings alleging witness intimidation, and Gjovile fears she might try to do it
        7    again." OC at (II 132; FAC at 'H 630; SAC at (II 430. Further, for 8 months in 2022,
        8    it was a crime punishable by incarceration for Plaintiff to say or write Appleseed's
        9    "names" in any medium other than "testij§ling in administrative or jndieial
        10   proceedings." Docket 64-1 Declaration, Exhibit I, Page 71.
       11          8.     In Appleseed's August 20 2024 declaration, Appleseed complains
       12    that Plaintiff is speaking about Appleseed. "Plaintiff oontinnes to reference me and
        13   make allegations against me in this lawsuit. "        Appleseed 8/27 Declr. at 'H 3.
       14 Appleseed complains about Plaintiff's request to file a sur-reply at Docket No. 93
       15 and Plaintiff's Request for ]udicial Notice at Docket No. 96, and asks again for
       16 the Court to remove references to her, or discussion about her actions, from this
       17 litigation.
       18          9.     Appleseed frames her latest filing as an " Ohjeetion" and
       19 "De€Zaraz'ion." Id. The Request for ]udicial Notice referenced is a request to
        20 consider recent 9th Circuit decision establishing new precedent and expanded
        21 protection for workers from online harassment by their coworkers and managers.
        22 Appleseed appears to take issue with Plaintiff's inclusion of excerpts from the
        23 legal memorandum Plaintiff drafted in ]anuary 2022 and which Appleseed sued
        24 her over in February 2022, demanding the document be removed from public view.
        25 Docket 64-1 Declaration, Exhibit A, Page 6; Pl's Req. for ]udidical Notice at
        26 Docket 96, Exhibit W. Appleseed complains again of this document in her latest
             declaration at issue.
        27
        28    IV. IssUEs To BE DECIDED
                                                        _ 3_
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       1            10. First, this Court is to decide whether the "Declaration" is a proper
       2     filing, and whether the non-party is allowed to file the document; and if not, the
       3     entry at Docket No. 99 should be stricken in its entirety.
       4            11. Next, if the entry is not stricken in entirety; then this Court should
       5     decide whether parts of the document at Docket No. 99 should be stricken, and if
        6    any content remains, this Court should decide whether to include the document
        7    as part of its consideration of Defendant Apple's pending Motions to Strike and
       8 Dismiss, and/or Plaintiff's Request for ]udicial Notice.
       9        12. The Court must also consider if doing so would convert Apple's
       10 Motion to Dismiss to into a Motion for Summary ]udgement, and if so, would
       11 please allow Plaintiff to adequately prepare for such a motion.
       12       13. Finally, the Court may decide if Appleseed's Declarations can be used
       13 as evidence by Plaintiff in support of her claims against Apple.
        14      v. ARGUMENTS
       15
                    A. The document is an improper declaration & improper amicus.
        16
       17          14.    Appleseed's August 20 2024 declaration contains numerous legal
       18 arguments and attempts to summarize and characterize legal matters. This is not
       19 what Declarations are for. "The purpose of a declaration is to submit evidence; it
       20 is improper to use a declaration to present legal argument." Silver 7). Executive Car
       21 Leasing Long-Term Disability Plan, 466 F.3d 727, 731 n.2 (9th Cir. 2006). In re
       22 Marriage of Heggie, 99 Cal. App. 4th 28, 30, n.3 (2002). Further, the Amicus
        23 Declaration offers very few facts and provides no supporting evidence such as
        24 exhibits.
        25       15.    A declaration "mast be vievaeajnst as counsel would vievn live testimony,
           ana may be attackeafor any admissibility aej9ciency." § 37:39. Opposition papers -
        26 Evidence, 4 Bus. & Com. Litig. Fed. Cts. §37:39 (sth ed.) Local Civil Rule 7-5(b)
        3; explains: "An afj9aavit or aeclaration may contain only facts, mast conform as mach

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        1    as possible to the requirements ofFer. R. Cid. P. 56(e), and must avoid oonolusions and
        2    argument. Any statement make upon information or belief must specify the basis
        3    therefor. An afj9aavit or aeolaration not in compliance with this rule may be stricken
        4    in whole or in part." The Federal Rules of Civil Procedure Rule 47 and Rule 56 also
        5    explains a similar expectation. Affidavits from the moving party may only be
        6    considered on a motion to dismiss where they raise no fact controversy but only a
       7     question outlaw. Data Dist, In. v. Systems Technology Associates, In., 557 F.2d 1280
        8    (9th Cir. 1977). This Amicus Declaration is in opposition to Plaintiff's filings and
        9    thus in support of Apple's Motion to Dismiss so it's subject to this expectation.
        10         16.    There is no right of nor parties generally to submit an amicus brief.
        11   16AA C. Wright & A. Miller, Federal Practice and Procedure § 3975, pg. 383
        12   (2021). Instead, "the amicus must file a motion for leave to file the brief" when
        13   consent cannot be obtained. la. The amicus brief itself must accompany the
        14   motion for leave, Fed. R. App. P. 29(a)(3), and the filings must be served on all
        15   par ties. Fed. R. App. P. 25(b). Szveigert v. Cable News Network, In., 20-cv-12933,
        16   19-20 (E.D. Mich. Mar. 21, 2022). Appleseed did not request leave to file the
        17   brief/declaration, nor did she obtain consent from the par ties, thus it is improper.
        18   She also did not serve the parties, and it was only brought to the Plaintiff's
        19
             attention one day before the hearing.
        20         17.    An amicus curiae is not a party and has no control over the litigation

        21
             and no right to institute any proceedings in it, nor can it file any pleadings or
             motions in the case. See, e.g., United States v. Michigan, 940 F.2d 143, 163-64 (6th
        22
        23   Cir. 1991) (disapproving of the "legal mutant oharaoterizea as `litigaz'ing amicus
             curiae"' because it impinged on the inherent rights of the real parties in interest).
        24
             NGV Gaming, Lta. 2). Upstream Point prolate, LLC, 355 F. Supp. 2d 1061, 1068
        25
             (n.D. Cal. 2005).
        26
                   18.    The vast majority of amicus curiae briefs are filed by allies of litigants
        2;   and duplicate the arguments made in the litigants' briefs, in effect merely

                                                       _ 5_
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       1     extending the length of the litigant's brief. United States v. Michigan, 940 F.2d 143,
        2    164-65 (6th Cir. 1991). Ryan v. Commodity Futures Trading Com'n, 125 F.3d 1062,
        3    1063 (7th Cir. 1997). This Amicus Declaration did support Apple's arguments in
        4    their Oppositions and as such essentially provides Apple additional pages and
        5    allows them to evade the Rules of Evidence that would have prevented them from
        6    making these types of allegations in their Reply.
        7          19.    The amicus curiae should present an "objective, dispassionate,
        8    neutral discussion of the issues." In re Enron Creditors Recovery Corp., Case No.
        9    01-16034 A G , Adv. No. 03-92677, Adv. No. 03-92682, 2 Bankr. S.D.N.Y. May.
       10 20, 2008). If the information offered conflates or confuses the issues before the
       11 court, like it does here, the request for leave to file it should be denied. Id. Long
        12   Island Soandkeeper Fund, In. v. New York Athletie CiaO, No. 94 Civ. 0436, 1995 WL
       13 358777, at *1 (s.D.n.y. ]one 14, 1995).
       14          20.    If the proffer comes from an individual with a partisan, rather than
       15 impartial view, like here, the motion for leave to file an amicus brief is to be
       16 denied, in keeping with the principle that an amicus must be a friend of the court
       17 and not a friend of a party to the cause. C. Rembar, The Law of The Land 330
       18    (1980). Leigh v. Engle, 535 F. Supp. 418, 420 (N.D. Ill. 1982). Where a petitioner's
       19 attitude toward a litigation is patently partisan, they should not be allowed to
        20 appear as amicus curiae. Liberty Lincoln Mere fry, In. v. Ford Marketing Corp., 149
        21 F.R.D. 65, 82 (D.n.]. 1993).
        22         21.    The purpose of an amicus curiae brief is "to assist the court on
        23 matters of law." Bdnerjee v. Bd. of Trustees of Smith College, 648 F.2d 61, 65 n. 9
        24 (1st Cir. 1981). It is not, however, to be used to assist with respect to evidentiary
             claims; therefore, it should not offer factual information favoring a particular
        25
             party. Id.; see also Strdsser v. Doorley, 432 F.2d 567 (sth Cir. 1970). "An amicus
        26
             who argues facts should rarely be welcomed." Id. at *15 (quoting Strdsser v.
        27
             Doorley, 432 F.2d 567, 569 (1st Cir. 1970)). See also, Reynolds v. United Stdtes
        28
                                                      _ 6_
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       1     Gov 't, 7:22-Cv-00178-FL, 8 (E.D.n.c. ]ul. 21, 2023).
        2          22.    Similar to Sweigert v. Cable News Network, In., this case also has a
        3    non-party submitting an amicus brief wanting to "share facts and evidence"
        4    without seeking concurrence from either party and the Plaintiff actively opposes
        5    the Amicus document. In that case the Court agreed to strike the amicus filing
        6    noting it contained "oonolnsory allegations of Plaintiff conspiring with a eonrt
        7    employee to commit frana on the court." Sweigert v. Cable News Network, In., 20-cv-
        8    12933, 20-21 (E.D. Mich. Mar. 21, 2022). Appleseed's Amicus Declaration is of
        9    the same character and should be stricken, as her prior two were.
        10          B.   An amicus brief or declaration is not appropriate for motions to
        11               dismiss or to strike.

       12            When making a Motion to Dismiss for failure to state a claim
                   23.
       13 determination, the Court must assume that the plaintiff's allegations are true,
       14 construe the complaint in a light most favorable to the plaintiff, and resolve every
       15 doubt in the plaintiff's favor. Grid Systems Corp. v. Texas Instruments In., 771 F.
       16 Supp. 1033, 1036, 20 U.S.P.Q.2d (BNA) 1207 (N.D. Cal. 1991). Affidavits cannot
       17 be treated as proof contradictory to well-pleaded facts in the complaint. Slagle v.
       18    U.S., 228 F.2d 673 (sth Cir. 1956). The court may take cognizance of and consider
       19 facts disclosed otherwise than in the complaint, such as in an affidavit, brief, or
        20 argument, only where such facts are undisputed or the par ties consent to their
        21 consideration. Bono Hall Corporation v. General Motors Corporation, 124 F.2d 822
        22 (C.C.A. 2d Cir. 1942).
        23         24.    The Court "is normally required to look only to the allegations on the
        24 face of the complaint" when adjudicating a motion to dismiss. Roth v. Jennings,489
        25 F.3d 499, 509 (2d Cir. 2007). Accordingly, the Court generally cannot consider
        26 affidavits and exhibits on a motion to dismiss. Faiveley Transport USA, In. v.
        27   Wabtee Corp., 758 F. Supp. 2d 211, 216 (S.D.N.Y. 2010). For the purpose of testing
        28 whether the complaint states facts sufficient to constitute a cause of action, the
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       1     allegations of fact cannot be challenged by affidavits to the contrary. Hoy v.
        2    Progress Pattern Co., 217 F.2d 701 (6th Cir. 1954). Nor may the court consider
        3    conclusions of law and unwarranted inferences of fact. Lewis v. ACB Business
        4    Services, In., 135 F.3d 389, 39 Fed. R. Serv. 3d 1376 (6th Cir. 1998).
        5          25.    "Motions to strike are to be decided on the pleadings alone." Meaevae
        6    MiaAtlantie, LLC 2). Keystone Mere); Health Plan, 817 F. Supp. 2d 515, 520 (E.D.
        7    Pa. 2011). If there is a disputed question of fact or law on a motion to strike, the
       8     court should defer action on the motion and leave the sufficiency of the allegations
       9     for a determination on the merits. Oneida Indian Nation of New York v. New York,
       10    194 F. Supp. 2d 104 (N.D. N.Y. 2002). Appleseed's request is not appropriate for
       11    a 12(f) motion to strike or a 12(b)(6) motion to dismiss.
       12           26. Even though affidavits usually constitute "matters outside the
       13    pleading" within the meaning of Fed. R. Civ. P. 12(b), an affidavit filed by the
       14    plaintiff which merely reiterates the claim stated in the complaint in general and
       15    conclusory language does not convert a Fed. R. Civ. P. 12(b)(6) motion to one for
       16    summary judgment. Alaahonaa-Rivera 2). Parke Davis 8 Co., 882 F.2d 590, 14 Fed.
       17    R. Serv. 3d 713 (1st Cir. 1989). Further, in opposition to a motion to dismiss for
       18    failure to state a claim, a plaintiff may submit materials outside the pleadings to
       19    illustrate the facts that the plaintiff expects to be able to prove, even if such
       20    materials were not attached as exhibits to the complaint. Fed.Rules Civ.Proc.Rule
       21    12(b)(6), 28 U.S.C.A. Rnnnion ex rel. Rnnnion v. Girl Sports of Greater Chicago and
        22   Northwest Indiana, 786 F.3d 510 (7th Cir. 2015). Plaintiff attached several exhibits
       23 to her prior Motion to Strike in order to show some of the facts she expects to be
       24 able to prove and which are in direct contraction with the unsubstantiated
       25 allegations against her in these Amicus Declarations.
       26        27. This latest attempt by Appleseed to introduce another Amicus
          Declaration is yet another attempt to "poison the well ) "stack the deck," and
                                                                       as




       3; attack Plaintiff's character. This matter should be decided on the merits - not a

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       1     legal street fight. Plaintiff should not have to immediately defend her integrity and
        2    character at the beginning of her own lawsuit.
        3
                    C. The sur-reply was denied, so there is nothing to respond to.
        4
        5          28.    The Court denied Plaintiff's request for leave to file a sur-reply on
        6    August 22 2024 (Docket No. 98). Therefore, the non-party "response" to
        7    Plaintiff's proposed sur-reply is moot and should be denied.

        8           D. Appleseed's non-party filings in this case are unlawful attempts
                       to harass and intimidate the Plaintiff, in continuance of the multi-
        9              year campaign to get Plaintiff to drop claims and change her
        10               testimony.
       11          29.    Appleseed is one of the actors who has undertaken a multi-year effort
       12 to silence the Plaintiff, to get Plaintiff to drop/reduce legal claims against Apple,
       13 and to change her testimony against Apple. Appleseed has been transparent about
       14 these aims - citing the reason behind her incessant stalking and harassment of
       15    Plaintiff as including: Plaintiff's NLRB charge against Apple, Plaintiff's
       16 whistleblower disclosures to the US SEC about Apple, a legal memo Plaintiff
       17 drafted for federal law enforcement alleging criminal conduct by Apple, and
          Plaintiff's claim that Apple's termination of her employment was retaliation - and
       18 refusal by Plaintiff to say, as Appleseed has repeatedly demanded, that Plaintiff
       19 was fired "because [Plaintiff] leaked IP.". (See prior Motion to Strike and exhibits,
        20 see also dozens of allegations in the Plaintiff's 2nd Amended Complaint).
        21         30.  Appleseed alleges in her uninvited and unwelcome unilateral filings
        22 to this lawsuit, for which she is not party, that this lawsuit is intended to harass
        23 her. She's also claimed that Plaintiff's prior legal activities were also about
        24 Appleseed. First, none of this is about Appleseed as she's not a party, and she
        25 would no longer be relevant in the matter if she had just left the Plaintiff alone,
        26 as the Plaintiff repeatedly requested. Second, Appleseed tried to sue Plaintiff
        27 directly, filling the filings and testimony with Plaintiff's protected activity and
        28 claims against Apple, and losing that lawsuit. Now, Appleseed has invited herself
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       1     to this lawsuit, which she is not a party, and is attempting to make herself a party
        2    by filing three separate declarations over the last five months.
        3           31.    If Appleseed thought Plaintiff's actions were actually targeting her,
        4
             one would think she would have attempted to take additional legal action directly
             against the Plaintiff, and would not have publicly announced her involvement in
        5
             this litigation, defending Apple Inc and opposing the Plaintiff, and filing
        6
             identifying statements to the permanent, public court record.
        7
                    32. All of Appleseed's justifications for harassing the Plaintiff are based
        8
             on Plaintiff's protected activity directly related to Apple Inc. Despite Appleseed's
        9
             incessant reference to the now-overruled and vacated March 1 2022 unwritten,
        10   oral Decision of a Limited Court of ]urisdiction in the state of Washington, that
        11   did not include an evidentiary proceeding, and was primarily based on less than
        12   an hour of Appleseed's oral testimony -even that proceeding revolved around
       13    Apple Inc, not Appleseed. Furthering this conduct, today Appleseed now alleges
        14   that Plaintiff's Complaint in this lawsuit against Apple Inc is "unlawful." Docket
       15    No. 99, 'II 12.
       16            In this matter, from the start, Plaintiff attempted to avoid using
                   33.
       17 Appleseed's name in hope that Appleseed would not try to interfere with her
       18 lawsuit, or retaliate against her due to her lawsuit, as Appleseed has tried to do,
          or threatened to do, with her prior charges. Despite not using Appleseed's name,
       19
          Appleseed has now repeatedly, unilaterally, publicly declared her involvement in
       20
          this matter. Plaintiff does not need to talk about Appleseed specifically because
       21
          Appleseed is not a party, and the actions complained of by Plaintiff are all directly
        22
             related to and for the benefit of Apple Inc. The only person insisting that
        23
           Plaintiff's lawsuit is about Appleseed, is Appleseed.
        24        34. This is a continuation of a pattern of harassment against Plaintiff by
        25 Appleseed. (Docket 64-1 Declaration). Two witness statements were submitted in

        26   support of Plaintiff, against Appleseed, during that 2022 proceeding. Both
        27 statements attested to a pattern of trying to silence Plaintiff about her complaints
        28 about Apple, and both attested that they witnessed Appleseed's harassment of
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       1     Plaintiff, which centered around Plaintiff's government charges against Apple. Id.
        2    Further, it appears Apple still has not told Appleseed to stop interfering with this
        3    lawsuit. The ratification standard for vicarious liability is relevant even in these
        4    improper filings.
        5           35.    Appleseed has also attended at least one of the prior hearings on for
        6    this lawsuit, naming herself on the Zoom and clearly attempting to intimidate the
             Plaintiff. Plaintiff was intimidated, did feel harassed, and did report Appleseed's
        7    interference in this lawsuit and continued stalking to law enforcement. Over the
        8    last three years, Plaintiff has reported Appleseed's conduct to multiple
        9    government bodies and law enforcement agencies, including all of these latest acts
        10   of intimidation and harassment, as they continue to occur. That is all that can be
        11   said in this forum.
        12
                     E.   The amicus declaration violates the rules of evidence.
        13

       14           36.    Plaintiff objects to many statements made in the Amicus Declaration.
       15    Many of the non-party's allegations are false, and most are unsubstantiated and
        16   misleading. Fed. R. Evid. § 403 requires a declarant to bear the burden of
       17 producing evidence as to the existence of a preliminary fact, including where the
       18    preliminary fact is "the personal knowledge of a witness concerning the subject
       19 matter of his testimony." Fed. R. Evid. § 403(a)(2). Neither Defendant nor the
        20 non-party have substantiated any of non-party's allegations.
        21          37.    Plaintiff's objections are as follows:1
        22
              Objection       Material Objected To           Grounds for Objection              Ruling
        23      No.
        24
              1           Docket No. 99 'H 4              Irrelevant (Fed. R. Evid. §
        25                                                401).
                                                                                        Sustained:
        26

        27
             1 Note: Plaintiff will not comment on Appleseed's allegations about her own protected
        28   activities as that is irrelevant here and does not concern the Plaintiff.
                                                         _   11 _
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        1                Details of Appleseed's alleged        Confusion (Fed. R. Evid. §    overruled:
                         interests, hobbies, and               403).
        2                achievements.
        3
              2          Docket No. 99 'H 4                    Irrelevant (Fed. R. Evid. §
        4                                                      401).
                         Allegations about when or how                                       Sustained:
        5                Appleseed met Plaintiff, or   Confusion (Fed. R. Evid. §
                         communicated with Plaintiff,  403).                                 overruled:
        6
                         more than three years ago.
        7

        8     3          Docket No. 99 'H 3, 5, 11            Improper Opinion /
                                                              Speculative (Fed. R. Evid.
        9                Legal arguments about                §§ 602, 701, 703).             Sustained:
        10               Apple's vicarious liability for
                         actions of Appleseed. Legal          Opinion and legal              Overruled:
        11               argument about the propriety         arguments. Civil L.R. 7-
                         of Plaintiff making any              5 (b) .
        12
                         reference to Appleseed in this
        13               lawsuit.                              Argumentative (Fed. R.
                                                               Evid. § 403.
        14               Statements assessing Apple's
                         legal liability: "Nor have I any
        15
                         legal eonneetlon with Apple Ink, "
        16               "Apple .. has no stake in the
                         way Plalntajreharaeterlzes me, "
        17               etc.
        18
              4          Docket No. 99 'H 5-6                  Argumentative (Fed. R.
        19                                                     Evid. § 403).
                         Complaints that Plaintiff                                           Sustained:
        20               allegedly talks about             Improper Opinion /
                         Appleseed too much; and           Speculative (Fed. R. Evid.        ()verruled:
        21
                         concurrently, complaints that     §§ 602, 701, 703).
        22               Plaintiff also allegedly does not
                         talk about Appleseed enough. Opinion and legal
        23                                                 arguments. Civil L.R. 7-
                                                           5 (b) .
        24

        25    5          Docket No. 99 'H 5                    Argumentative (Fed. R.
                                                               Evid. § 403)
        26               Allegations of misconduct,                                          Sustained:
                         dishonestly, corruption,
        27                                                                                   Overruled:
                         wrongdoing, and criminal
        28
                                                              _   12 _
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       1                 conduct by Plaintiff - without     Improper Opinion /
                         basis.                             Speculative (Fed. R. Evid.
       2                                                    §§ 602, 701, 703).
       3                                                    Opinion and legal
       4                                                    arguments. Civil L.R. 7-
                                                            5 (b) .
       5
                                                                Harassment; Defamation.
       6
       7      6          Docket No. 99 'H 5, 6, 7, 8        Argumentative (Fed. R.
                                                            Evid. § 403)
       8                 Allegations against Plaintiff,                                   Sustained:
                         re: "€on€eaZs," "Cher¢j/pitks,"    Improper Opinion /
       9                 "bad faith/' "maZi€iously,"        Speculative (Fed. R. Evid.    overruled:
       10                "false lighz; " "lies, "           §§ 602, 701, 703).
                         "omissions/' "tategoritally
       11                false, " etc.                      Opinion and legal
                                                            arguments. Civil L.R. 7-
       12                                                   5 (b) .
       13
                                                                Harassment; Defamation.
       14
              7          Docket No. 99 'H 6                 Out of Context (Fed. R.
       15                                                   Evid. §106).
                         Opinions on the content in                                       Sustained:
       16                Plaintiff's "legal memo" and       Argumentative (Fed. R.
       17                Plaintiff's intent in drafting     Evid. § 403).                 Overruled:
                         said memo. Opinions about
       18                Plaintiff's behavior related to    Improper Opinion /
                         the memo, including                Speculative (Fed. R. Evid.
       19                                                   §§ 602, 701, 703).
                         comparing the publication of a
       20                legal memo on a website like a
                         law firm does as unlawfully        Opinion and legal
       21                "Publicizing" something.           arguments. Civil L.R. 7-
                                                            5 (b) .
       22
       23     8          Docket No. 99 'H 5, 6, 8, 9, 10,   Out of Context (Fed. R.
                         11, 12                             Evid. §106).
       24                                                                                 Sustained:
                         Commentary about things            Argumentative (Fed. R.
       25                Plaintiff may have said or         Evid. § 403).                 Overruled:
       26                things people may have said to
                         Plaintiff occurring during the     Opinion and legal
       27                prior 34 months - during           arguments. Civil L.R. 7-
                         which time Plaintiff has not       5 (b) .
       28
                                                            _     13 _
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       1                 initiated contact with         Hearsay (Fed. R. Evid. 801).
                         Appleseed, has refused to
        2                respond to Appleseed trying to Implication of stalking /
                         contact Plaintiff, and any     surveillance
        3
                         comments by Appleseed about
        4                Plaintiff are based on         Irrelevant (Fed. R. Evid. §
                         information gathered during    401).
        5
                         Appleseed's stalking of the
        6                Plaintiff activity.

        7     9          Docket No. 99 'H 5                Improper Opinion /
                                                           Speculative (Fed. R. Evid.
        8                Opinion on complex vicarious                                     Sustained:
                                                           §§ 602, 701, 703).
        9                liability and agency legal
                         theories, presented as a "false   Opinion and legal              Overruled:
        10               narrative" and alleging           arguments. Civil L.R. 7-
                         Plaintiff supposedly alleged      5 (b) .
        11
                         Appleseed is "a secret agent of
        12               Apple... "                        Hearsay (Fed. R. Evid. 801).

        13   10          Docket No. 99 'H 7, 8 9, 10       Obstruction; Harassment.
        14              Denial of Appleseed's own          Improper Opinion /             Sustained:
       15               transcribed testimony from         Speculative (Fed. R. Evid.
                        ]anuary 31 2022. Unilateral        §§ 602, 701, 703).             ()verruled:
        16              claims that "People" have told
                        Plaintiff certain things           Opinion and legal
        17                                                 arguments. Civil L.R. 7-
                        " numerous times. " Disputing
       18               facts alleged in the Plaintiff's   5 (b) .
                        complaints and filings. Claims
        19              of knowledge of conversations      Argumentative (Fed. R.
                        occurring between Plaintiff        Evid. § 403).
        20
                        and a lawyer, protected under
        21                                                 Hearsay (Fed. R. Evid. 801).
                        Attorney Client Privilege.
                        False statements made about
        22
                        the webform incident.
        23
             12          Docket No. 99 'H 9                Obstruction; Intimidation
        24
                         Details of alleged charges        Improper Opinion /             Sustained:
        25
                         Appleseed claims to have filed    Speculative (Fed. R. Evid.
        26               with the government about         §§ 602, 701, 703).             Overruled:
                         Apple Inc or her other
        27               employers. Opinions on
        28               whether Plaintiff is allowed to

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       1                 talk about events in her own        Opinion and legal
                         life, and if so how she may talk    arguments. Civil L.R. 7-
        2                about them, if they relate to       5 (b) .
        3                those claims.
                                                             Hearsay (Fed. R. Evid. 801).
        4
             13          Docket No. 99 'H 10                 Obstruction; Harassment.
        5
                         Presenting a defense as to why      Improper Opinion /             Sustained:
        6                Appleseed says she did not          Speculative (Fed. R. Evid.
                         intend to file a complaint about    §§ 602, 701, 703).             Overruled:
        7
                         Plaintiff's legal filing claiming
        8                it was a specific felony, but       Opinion and legal
                         instead intended to report the      arguments. Civil L.R. 7-
        9                                                    5 (b) .
                         protected federal legal filing as
        10               a different crime, and
                         presenting opinion that she         Hearsay (Fed. R. Evid. 801).
        11               claims she proved it was not
                                                             Out of Context (Fed. R.
        12               intentional to report the memo
                                                             Evid. § 106).
                         as that specific felony (despite
        13               all evidence to the contrary).
        14    14         Docket No. 99 'H 10                 Obstruction; Intimidation
       15
                         Assertions of insider               Improper Opinion /             Sustained:
        16               knowledge outlaw enforcement        Speculative (Fed. R. Evid.
                         activities including                §§ 602, 701, 703).             ()verruled:
        17               investigations or lack of
       18                investigations into the Plaintiff   Opinion and legal
                         on certain topics.                  arguments. Civil L.R. 7-
        19                                                   5 (b) .
        20    14         Docket No. 99 'H 12                 Obstruction; Intimidation;
        21                                                   Coercion; Harassment.
                         Allegations that Plaintiff's                                       Sustained:
        22               Complaint and filings in this       Improper Opinion /
                         lawsuit are " unlawful. "           Speculative (Fed. R. Evid.     Overruled:
        23                                                   §§ 602, 701, 703).
        24
                                                             Opinion and legal
        25                                                   arguments. Civil L.R. 7-
                                                             5 (b) .
        26
             15          Docket No. 99                       Improper request ofnon-
        27
                                                             party
        28
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       1                 Requests to censor, strike, or   Obstruction; Intimidation;   Sustained:
                         otherwise restrict Plaintiff's   Harassment.
       2                 claims and allegations in this                                Overruled:
       3                 lawsuit.

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       1       VI. CONCLUSION
        2          38.   This court commented to Plaintiff in ]anuary that "Plaintiff is not
        3    expected to try the entirety of her case in the complaint." Gjovik v. Apple Inc., 23-
        4    cv-04597-EMC, 3 (N.D. Cal. ]an. 30, 2024). The court should have more insight
        5    now, based on the motions and declarations from Apple's counsel and Appleseed,
        6    as to why Plaintiff felt it necessary to try to argue her entire case in her complaint.
        7          39. Considering all of the above, Plaintiff respectfully asks the Court to
        8    strike Docket No. 99 in its entirety; and if not, then to strike the improper
        9    statements made within the Amicus Declaration as outlined in the objections
        10   above.
       11          40.    Plaintiff requests that this type of "evidence" cannot be considered
       12 for Apple's preliminary Motion to Dismiss or Motion to Strike. Plaintiff also asks
       13 that the Amicus Declaration can be used as evidence in support of Plaintiff's
       14 allegations of violations of IIED and other claims later in this lawsuit.
       15        41. Plaintiff specifically requests consideration of:
        16                a. Appleseed's admission she directly contacted Apple's lawyers to
       17                    try to discuss how to reduce Apple's liability in this lawsuit.
       18                    (Docket No.'s 62, 66, 99).
       19                 b. Appleseed's allegation that Apple's lawyers never replied to her -
        20                   which means Apple never warned her not to interfere, despite
        21                   knowing her prior actions. (Docket No.'s 62, 66).
        22                c. Appleseed's admission that someone tipped her off about this
        23                   lawsuit which incited her to file the first Amicus Declaration.
        24                   (Docket No.'s 62, 66).
        25                d. Appleseed's claim of being a "witness in defense" for Apple in the
        26                   NLRB matter. (Docket No.'s 62, 66).
        27
        28
                                                      _   17 _
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       1                  e. Appleseed's requests to force Plaintiff to have to withdraw
       2                     allegations and evidence against Apple in Plaintiff's federal
        3                       lawsuit. (Docket No.'s 62, 66, 99).
        4                 f. Appleseed admitting all of the above in "support" of Apple's
        5                    Motions to Strike and Dismiss Plaintiff's Complaint (Docket
        6                       No.'s 62, 66, 99).
        7          42.    Plaintiff requests consideration of 'closing' the docket for non-party
       8     filers who are not pre-approved amicus curiae. Plaintiff also respectfully requests
       9     if the Motion to Dismiss is converted to a Motion for Summary ]udgement, that
       10    Plaintiff have more time and an opportunity to present additional relevant
       11    evidence.
        12
       13 Dated: August 27 2024
        14
       15 Signature:
        16
        17
        18
                                Da- -
                                         \
        19
        20
        21
             /s/ Ashley M. Gjovik
        22   Pro Se Plaintiff

        23 Email: legal@ashleygiovik.com
        24 Physical Address:
        25 Boston, Massachusetts
        26 Mailing Address:
        27 2108 N St. Ste. 4553 Sacramento, CA, 95816
        28 Phone: (408) 883-4428

                                                       _   18 _
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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFQRNIA




              ASHLEY M. GJOVIK, an individual,          Case No. 3:23-CV-04597-EMC


                   Plaintiff,                           DECLARATION OF ASHLEY
                                                        GJOVIK IN SUPPORT OF
                 vs.                                    PLAINTIFF'S MOTION TO
                                                        STRIKE

                                                        Motion Hearing & Case
              APPLE INC. a corporation,
                                7
                                                        Management Conference:
                                                        Dept: Courtroom 5
                                                        Judge Edward M. Chen
                   Defendant.
                                                        Date: August 28, 2024
                                                        Time: 9:30 AM PT




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       1     DECLARATION OF ASHLEY GJOVIK
        2    Pursuant to 28 U.S.C.§ 1746, I, Ashley M. Gjovik, hereby declare as follows:
        3
        4          My name is Ashley Marie Gjovik. I am a self-represented Plaintiff in this
        5    above captioned matter. I make this Declaration based upon my personal
        6    knowledge and in support of my concurrently filed Motion to Strike. I have
        7    personal knowledge of all facts stated in this Declaration, and if called to testify,
        8    I could and would testify competently thereto.
        9
       10          On August 27 2024 I filed a Motion to Strike a docket entry from a non-
        11   party at Docket No. 99. I filed this motion in good faith, I believe all of the
       12 statements I made are true, and I have not made any allegations in this proceeding
       13 for an improper purpose or in bad faith.
       14
       15          If ave reported the lawfare-style harassment by Apple and Appleseed to law
       16 enforcement multiple times prior to this, and I do believe their actions are
       17 unlawful. I have been intimidated and demoralized by the frequent accusations of
       18 dishonesty, incompetence, and misconduct made by Apple, and also in
       19 Appleseed's three declarations filed to this court docket. I have repeatedly asked
        20 all actors engaging in this type of conduct towards me to stop, but they have not
        21 ceased the conduct.

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              P's DECLARATION IN SUPP. oF MOTION TO STRIKE | CASE NO. 3:23-CV-04597-EMC
                                                                                     ERVIII 224
(225 of 261), Page 225 of 261
                    Case 3%8b           %M30%%%3%e%t% '|3n%uR6'89E1933 °l>%8é 3 of 3




       1            I spent hours today preparing this response instead of spending those hours
        2    preparing for the hearing tomorrow, as I had initially planned. Similarly, instead
        3    of focusing on discovery in this case, a great amount of time had to be spent
        4    responding to Apple's pending motions. I am behind schedule on my initial
        5    discovery activities due to Apple's actions and inactions including having to draft
        6    and file an appellate brief to US Dept. of Labor last week. (See Notice of Pendency
        7    at Docket No. 100). The request for appellate review was accepted today, August
        8    27 2024, and the appeal is now docketed at ARB-2024-0060.
        9
       10           I declare under penalty of perjury under the laws of the United States that
       11 the foregoing is true and correct, and that this declaration was executed on August
        12   27 2024.
       13
       14    Executed on: August 27 2024 in Boston.
       15 Signature:
        16
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        19
        20
             /s/ Ashley M. Gjovik
        21
        22   Pro Se Plaintiff

        23   Email: legal@ashleygiovik.com
        24   Physical Address:
        25   Boston, Massachusetts
        26 Mailing Address:
             2108 N St. Ste. 4553 Sacramento, CA, 95816
        27   Phone: (408) 883-4428
        28
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              P's DECLARATION IN SUPP. oF MOTION TO STRIKE | CASE NO. 3:23-CV-04597-EMC
                                                                                   ERVIII 225
(226 of 261), Page 226 of 261
                           Case: 25-2028, 05/09/2025, DktEntry: 17.3, Page 226 of 261




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(227 of 261), Page 227 of 261
                   Case 3%8b             %M30%%93%e%9-W l4aTe8= 8'8§8/337 853811 of 98


                    Ashley M. Gj ovik, JD
               1    Pro Se Plaint
               2    2108 N St. Ste. 4553
                    Sacramento, CA, 95816
               3    (408) 883-4428
                    lega1@ashleygjovik.com
               4
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                                        UNITED STATES DISTRICT COURT
               7
               8                        NORTHERN DISTRICT OF CALIFORNIA
               9
              10
              11
                                                          Case No. 3:23-CV-04597-EMC
              12
              13
                   ASHLEY GJOVIK, an individual,          DECLARATION OF ASHLEY GJOVIK
              14
                                 Plaintiff,               IN SUPPORT OF PLAINTIFF'S
              15
                                 v.                       MOTION TO STRIKE
              16
                                                          AN IMPROPER AMICUS DECLARATION
              17   APPLE INC, a corporation,
              18                 Defendant.               Dept: Courtroom 5, 17th Floor (Virtual)
              19                                          Date: May 16, 2024
              20                                          Time: 1:30 p.m.

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                   DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF'S             EPWWQQ8/24
                   MOTION TO STRIKE 3:23-CV-04597-EMC
(228 of 261), Page 228 of 261
                   Case 3%8b              %M30%%93%e%9-W l4aTe8= 8'8§8/338 8fa2g812 of 98



               1      I.        DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF'S
               2                      MOTIGN To STRIKE AN IMPRGPER AMICUS BRIEF

               3   Pursuant to 28 U.S.C.§ 1746, I, Ashley M. Gjovik, hereby declare as follows:
               4           1.      My name is Ashley Marie Gjovik. I am the self-represented Plaintiff in this above
               5
                   captioned matter. I make this Declaration based upon my personal knowledge and in support of
               6
                   Plaintiff" s Motion to Strike. I have personal knowledge of all facts stated in this declaration, and
               7
               8   if called to testify, I could and would testify competently thereto.

               9           2.     On January 31 2022, the non-party declarant who filed the Amicus Declaration at

              10   Docket No. 62 requested a restraining order against me in the state of Washington. Attached as
              11
                   EXHIBIT A is a true and correct copy of the document.
              12
                           3.      On February 1 2022, a Judge in a Court of Limited Jurisdiction denied the non-
              13
                   party declarant's ex part request for a temporary restraining order against me. Attached as
              14
              15   EXHIBIT B is a true and correct copy of the document.

              16           4.     On February 14 2022, I filed my Reply brief in the lawsuit. Attached as EXHIBIT
              17   Q is a true and correct copy of the document
              18
                           5.     On February 25 2022, I filed a copy of a second witness statement in the lawsuit.
              19
                   Attached as EXHIBIT D is a true and correct copy of the document.
              20
                           6.     On February 28 2022, I filed a copy of a witness statement in the lawsuit. Attached
              21
              22   as EXHIBIT D is a true and correct copy of the document.

              23           7.     On March 1 2022, the non-party declarant testified during the hearing. Attached as
              24   EXHIBIT E is a true and correct copy of excerpts from the transcript.
              25
                           8.     On March 4 2022 and April 6 2022, law firms requested copies of the court records
              26
                   of non-party declarant's lawsuit against me. One of the law firms is the same firm Apple hired to
              27
              28   defend it from my NLRB charges starting back in August of 2021. Attached as EXHIBIT F is a

                   true and correct copy of the document
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                   DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF'S
                   MOTION TO STRIKE 3:23-CV-04597-EMC                                           E9zP¥l4|4|2 23824
(229 of 261), Page 229 of 261
                   Case 3%8b             %M30%%93%e%9-W l4aTe8= 8'8§8/339 853813 of 98



               1          9.      On June 31 2022, the US District Court of the Western District of Washington
               2   dismissed a Constitutional challenge lawsuit I had filed over the statute underlying non-party's
               3
                   lawsuit against me. Attached as EXHIBIT G and EXHIBIT H are a true and correct copy of the
               4
                   documents ,
               5
                          10.     On September 26 2023 a state Superior Court Judge granted my appeal and
               6
               7   reversed the decision against me, finding it to be without merit. It was transmitted to the District

               8   Court on November 17 2022. Attached as EXHIBIT I is a true and correct copy of the document.

               9          11.     On December 2 2022, I filed a notice of intent to file motions if the case was
              10
                   remanded. Attached as EXHIBIT J is a true and correct copy of the document
              11
                          12.     On December 12 2022, a state District Court Judge agreed with the appellate
              12
                   decision, dismissed the case against me, and vacated the order. Attached as EXHIBIT K is a true
              13
              14   and correct copy of the document.

              15          13.     On December 7 2022, Plaintiff" s successful appeal was discussed in three pages of

              16   an amicus curiae brief for the SCOTUS Petition for Writ of Certiorari for Barton v State of Texa5.1
              17
                   Attached as EXHIBIT L is a true and correct copy of pages 1-2 and 10-12 of the document.
              18
                          14.     I have reviewed each document and confirmed it is the true and correct copy of
              19
              20   each document mentioned herewithin this Declaration and the Motion to Strike. No documents

              21   were altered or manipulated other than minor redactions .
              22
              23
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              28   l Barton v State of Texas, Amicus Curiae Brief of Electronic Frontier Foundation in Support of
                   Petitioners, https2//www.supremecourt.gov/DocketPDF/22/22-430/249364/20221207141747388_22-
                   430%20Amicus%20Electronic%20Frontier%20Foundation.pdf
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                   DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF'S                       EFeP6"|4|2é3@¥4
                   MOTION TO STRIKE 3:23-CV-04597-EMC
(230 of 261), Page 230 of 261
                   Case 3%8b             %M30%%93%e%9-W l4aTe8= 389&/330 853814 of 98



               1          15.    I declare under penalty of perjury under the laws of the United States that the
               2   foregoing is true and correct and that this declaration was executed on APRIL 24 2024.
               3
               4
               5   Executed on: APRIL 24 2024
               6   Signature:
               7
               8
               9
              10                         Da-
                                                        \
              11
              12
                   s/ Ashley M. Gjovik
              13
              14   Pro Se Plaintiff

              15
                   Email: legal@ashleygjovik.com
              16   Physical Address: Boston, Massachusetts
              17   Mailing Address: 2108 N St. Ste. 4553 Sacramento, CA, 95816
                   Phone: (408) 883-4428
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                   DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF'S                   EFeP6"|4|2é8@94
                   MOTION TO STRIKE 3:23-CV-04597-EMC
(231 of 261), Page 231 of 261
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             Ashley M. Gjovik, _ID
             In Propria Personal
            2108 N St. Ste. 4553
            Sacramento, CA, 95816
            (408) 883-4428
            legal@ashleygjovik.com




                            UNITED STATES DISTRICT COURT
                            NQRTHERN DISTRICT OF CALIFORNIA




             ASHLEY GJOVIK, an individual,                           Case No. 3:23-CV-04597-EMC

                   Plaintiff,

                                                                     DECLARATION
                                                                     oF ASHLEY GJOVIK
                 vs.
                                                                     Civil L.R. 7-3, 7-5

             APPLE INC, a corporation,
                                                                     MOTION HEARING &   CASE
                   Defendant.                                        MANAGEMENT CONFERENCE:
                                                                     Dept: Courtroom 5 (Zoom)
                                                                     judge Edward M. Chen
                                                                     Date: August 28, 2024
                                                                     Time: 9:30 AM PT




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                            ZND   DECLARATION & EXHIBITS | 3:23-CV-04597-EMC
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(232 of 261), Page 232 of 261
                    Case 933'2'é£82lEl'39'iE(l9££)9L8888m'8'8lEdllWt33a30§'8%'F;332p'3'g%63 of 18




             DECLARATION OF ASHLEY G]OVIK

             Pursuant to 28 U.S.C.§ 1746, I, Ashley M. Gjovik, hereby declare as follows:



             My name is Ashley Marie Gjovik. I am a self-represented Plaintiff in this above

             captioned matter. I have personal knowledge of all facts stated in this Declaration,

             and if called to testify, I could and would testify competently thereto.



             I make this Declaration based upon my personal knowledge and in support of
             Plaintiff's Opposition (Docket No. 84 and 85) to Defendant's Motion to Dismiss

             (Docket No. 78) and Motion to Strike (Docket No. 79), and in Support of
             Plaintiff's Motion for Leave to file a sur-reply.



             The prior ]uly 31 2024 Declaration is integrated here, including statements and
             Exhibits A-F.



             Attached as Exhibit G is a true and correct copy of the email I sent US EPA when

             I started looking into the Superfund site next to 3250 Scott Blvd in January 2023,

             and when I discovered the tab at 3250 Scott in February 2023.



             Attached as Exhibit H are true and correct captures of the Public Records Act

             request I filed to city of Santa Clara that led to the discovery of 3250 Scott Blvd,

             and the two requests filed by AEI Consulting prior.

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                         ZND    DECLARATION & EXHIBITS | 3:23-CV-04597-EMC
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             Attached as Exhibit I are true and correct images captured of Gobbler still trying

             to access my personal i Cloud account for years after I was fired.



             I declare under penalty of perjury under the laws of the United States that the

             foregoing is true and correct and that this declaration was executed on August 18
             2024 in Boston, Massachusetts.



             Executed on: August 18 2024

            Signature:


                                          \

             /s/ Ashley M. Gjovik
             Pro Se Plaintiff

             Email: legal@ashleygjovik.com
             Physical Address: Boston, Massachusetts
             Mailing Address: 2108 N St. Ste. 4553 Sacramento, CA, 95816
             Phone: (408) 883-4428




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                         ZND DECLARATION & EXHIBITS | 3:23-CV-04597-EMC

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                    Case 93§'?é£82ll989'3E'l9££)9'8888m'8knlEdH'Y¢a13a3o§'8%?;?\34p'3'g%6l of 18




             Appendix: Table of Exhibits




                                       RECORD DESCRIPTION


                                       First Declaration (July 31 2024)

               EXHIBIT A                Gjovik V Apple, claim & 12(b)(6) history


               EXHIBIT B               Table of Contents copied from all filed complaints

               EXHIBIT C               Indexes created (after the fact) for all complaints

               EXHIBIT D                Emails: attempt to meet/confer

               EXHIBIT E                Emails: NLRB & prior hearing

               EXHIBIT F                Wikipedia vandalism about this case




                                       Second Declaration (August 18 2024)


               EXHIBIT G               3250 SOL Discovery: US EPA Emails


               EXHIBIT H               3250 Scott Public Records Request


               EXHIBIT I                com.apple.vetap.gobbler




                          DECLARATION & EXHIBITS | 3:23-CV-04597-EMC
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          Public Record Requests


          City of Santa Clara

          Request 22-1148 l~71
          Dates                                                                              Request
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           October 11, 2022 via web
                                                                                          I My n a m e      Steve Peck and I work at A: CZ:1* sultants and I am working of
                                                                                            property coalition assessment report;            two properties site located in Santa
                                                                                            Cl ara. I ha=.~E ;~CJ 'Ne building code compliance questions regarding these
          Staff assigned
                                                                                            property s i tes .
        Departm ents

         No departments assigned
                                                                                            Property Information:
        Point of c o n t a c t
         Stephanie Davis
                                                                                            Site Address 1: 3250 Scott Blvd, Santa Clara, CA 95054

                                                                                            Site Address 2: 3260 Scott Blvd, Santa Clara, CA 95054



                                                                                            Buildlng Code Compliance Questions



                                                                                            1. Are there outstanding building code violations associated with the
                                                                                            Property? If"Yes", please provide relevant documentation via email.


                                                                                            2. Are there pending building code requirements associated with the
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                                                                                                  The City of Santa Clara has released responsive document(s) pursuant
                                                                                                  to the California Public Records Act and are available for download




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           Public Record Requests


           City of Santa Clara

           Request 22-1149                           m
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                                                                                               Hello:
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            O c t ob er I ., .022 via web

                                                                                               My name is Steve Peck and I work at AEI Consultants and I am working on
                                                                                               property condition assessment reports for two properties site located in Santa
                                                                                               Clara. I have some fire code compliance questions regarding these property
           Staff assigned
                                                                                               sites.
         Departm ents

          No departments assigned
                                                                                               Property Information:
         Point of contact
          Stephanie Davis                                                                      Site Address 1 : 3250 Scott Blvd, Santa Clara, CA 95054

                                                                                               Site Address 2: 3260 Scott Blvd, Santa Clara, CA 95054



                                                                                               Flre Code Compliance Questions



                                                                                              1. Are there outstanding fire code violations associated with the Property? If
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                                            ZND DECLARATION & EXHIBITS                                     |   3:23-CV-04597-EMC
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      I. Declaration Exhibit I: Gobbler still trying to Access Plaintiff's Account



                                Documents      Look Me Up By Email

          Apps that allow other people to look you up by your Apple ID will appear here:




                                                                                                                     Look Me Up By Email
                                                                                                                     Allow people to look you up by your Apple ID, and see your first and last
                                                                                                                     name, in the apps you use.


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                                                                     Choose the apps you w l                    by the email address associated with your Apple ID will appear here. Anyone
                                                                                                                    who looks you up can also see your first and last name. Learn more 71

                                                                     Customize Home page'


                                                                      pole Me Up By Email                       You can prevent any listed app from showing your name and email address to
                                                                                                                other users by deselecting the app's checkbox.


             102574                                                                                                            com.apple.vetap.thegobbler


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               Apps that have requested permissions to look you up
               by your Apple ID will appear here. People who look
               you up will see your first and last name.




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         1 EXHIBIT B: Transcript Excerpts from March 1 Hearing
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             EMR. MOTION FOR. INJ,                                                                  PO BOX 119 SANTA CLARA, CA 95050
             CASE no. 2:22-CV-00807-RAJ-BAT                                                                             (408) 883-4428
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        18           22          whi¢h Lhnri L: no nvidnnci that I h:9n harassed them, and I
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                     24          what that has to do Hith En . Gju4LI': harassumnt it mn
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                     25             '1'1l:E IIGEIFCT'          En l.M:l11's up

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             EMR. MOTION FOR. INJ,                                                           PO BOX 119 SANTA CLARA, CA 95050
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             EMR. MOTION FOR. INJ,                                                         PO BOX 119 SANTA CLARA, CA 95050
             CASE no. 2:22-CV-00807-RAJ-BAT                                                                   (408) 883-4428
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             EMR. MOTION FOR. INJ,                                                               PO BOX 119 SANTA CLARA, CA 95050
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             EMR. MOTION FOR. INJ,                                                            PO BOX 119 SANTA CLARA, CA 95050
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                   1      snmnumn to trial down and rind Nn: at her hon; and hand her
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         3         3      Ll'L:l.l; lEE -- not nncnssarillr 11111 on L:Lns, hut complnstrn
                   4     mis :1nejl:-rwnsnntations that -:la :l1»:-Lrling but to try to m11 inlmsLy
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                   5      tram-it U11,=. I fila dnni 5-um¢LI1.1:r1.-g' Thai, I hiviiEI ' t dgunn-
         5         E         'i\i':l Ll1. the 1'lZ.R.E :h:l'l."g'ql -- I'm :nu-t bringing up tm: 94:94

         6         T      wpncifiullly-              1"l1 talking r.pl=be:i:l'1.l::ILL§l' about Ashley --

                   8      wvcu-14 mn, Hs- '|.ij|:|v1h:, l.:"q'l.l;i:n.g' -- ].:'uJ:IJ.1Ih;l.ng thu-1»il LrL:l.:".g's on
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                   5      .. plntic-:1:l l:;ILlid Ecriucl, -a-.mi-:11 :utunLLy rnnouwacl it to:-r:
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         9        ];1     guonmmnnt 'u9J:ls11;lils that 14 hosting thnsn, tl.'l4=lslil or-ir things

        10        12      l;rL:l.t Jll.':J1J.n§,' -- that m- as-nvilc is writing hnrsnli .mn
                  13      p1,IJ;»1   i6:l'Ling hnrsnlt that HM in ¢L11nLng :in rqlat'li=':I 1;.;.-. trlnsn
        11
                  14      f-ndqtral uhargns. But 11h¢III"r:¢ :u1LLy just her, and 1;rL:Lt":
        12        15      -;.,lh,;.-. is 'ol:lhLish1 fig' this inincmntion-        Ehn's just on-ing it;
        13        1E     under Lhn guise that it in I¢4¢r.LLy protnqtga-

        14 March 1 2022 Transcript: Page 15
        15
              El          Cm. January 11tl.'l'            'I r-nqnnmmmuj you :and this d.l:l-exumml:
        16   1D         :4tm1t:l.v:-r.l notice and sl:l1:14 in:-Et 4:-1' l:8:ll:8 and. d.»:ls 1st: m:lr.r:1vn

        17   11         to Lynn m m )

        18   March I 2022 Transcript: Page 17

        19   SEE EXHIBIT E
        20

        21

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        24
             EMR. MOTION FOR. INJ,                                                    PO BOX 119 SANTA CLARA, CA 95050
             CASE no. 2:22-CV-00807-RAJ-BAT                                                              (408) 883-4428
                                                                      15
                                                                                                                    ERVIII 257
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                 c@aee2:3z§£%3§335é§                              A%6            98T%ie8&                                     88384 £19257



         1                                                 Exhibit G: Web Host Complaint

         2     [B] Web.com Customer Support [OEML-136079]

         3                                                                                                                                                     o
                From    4->   a r\orc=pl~,f@wun.com                                                                                   *in*   l   8 march 2nd,2022

                TG      Ashley Gjovik <ashleygLn\rik@iclnud.cam>                                                                                               ..p».

         4
                Wednesday, March 2nd, 2022 at 6256 AM

         5           This- email has failed its domain's authentication requirements. It may De spoofeO or improperly forwarded! Learn more



         6       4     89              t    o     <>                                                                                               <-. n In n ->



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         9
                                    web.com'
        10                          DearAshley

                                    Thank you for contacting Web.~:om. We are committed to assisting people in: taking action against
        11                          fraudulent activity.

                                    Web.com has received the complaint below regarding website activities associated with your
        12                          domain name ashleygjovik.com. Please take a moment to review the complaint and respond
                                    directly to the Complainant to address any issues to resolve the complaint.
        13                          From: me@cher.dev

                                    Subject: Inappropriate Conteif - Child pornography complaint
        14                          Domain: ashleygjovikcom
                                                                                                        »


                                    Description: I have a protection order (attached) against the person who owns this domain and
        15                          posted this document. This disallows her from continuing to post about me and my family, which is
                                    the majority of this document.

                                    The file is located
        16
                                    here: Mp5:1'1"-'¢'nvif.ashley.glovik.comfuploadsl1ISHTKOI13?EI08339lashl9Lg_lovik v al;3ple inc
                                     intimidation and threats evidence rel3rLI:m
        17                          Attachments: c3E65Ae?-5Aec-4865-BA13-349i30F2A94132jpg, F?A1s629-3BA3-4s5A-ee8i3-
                                    5FEOF?591243JPg

        18
                                    Ihope this inf-:nrmatien has been helpful. We eppreciate your business!
        19

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             ORIGINAL COMPLAINT                                                   PAGE 129-                                   ASHLE\E1 g                               8
(259 of 261), Page 259 of 261
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             ORIGINAL COMPLAINT                                  PAGE 94                           ASHLE\E1 g   9
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                    12. Is men my diet litigation between the vigOr and the respomienl? This hdudu all muses -
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         3             cliapugas. If yes. puwitle cane number's tfknownL type Mass. and num of com:              _ _ .

         4             NLRB Charge CA-288816 - dmargc against Apple, Inc. Maid: contains 5ll$Mll\isIndilll
                       information about me mule in bod faith by Ashley Gjovik
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             ORIGINAL COMPLAINT                                   PAGE 95                             ASHLE\E1 g          0
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                           Case: 25-2028, 05/09/2025, DktEntry: 17.3, Page 261 of 261




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